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                        Exhibit 3
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                     COMP/39.309 LCD (Liquid Crystal Displays)




     Parts of this text have been edited to ensure that confidential information is not
 disclosed; those parts are enclosed in square brackets and marked with an asterisk: [*]




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                    EUROPEAN COMMISSION




                                                    Brussels, 8.12.2010
                                                    C(2010) 8761 final




                                 COMMISSION DECISION


                                         of 8.12.2010


     relating to a proceeding under Article 101 Treaty on the Functioning of the European
            Union and Article 53 of the Agreement on the European Economic Area
                      (COMP/39.309 – LCD - Liquid Crystal Displays)


                             (Only the English text is authentic)

                                 (Text with EEA relevance)



                                      To be notified to

                               Samsung Electronics Co Ltd
                            Samsung Electronics Taiwan Co Ltd
                                  LG Display Co., Ltd.
                               LG Display Taiwan Co., Ltd.
                                AU Optronics Corporation
                               Chimei InnoLux Corporation




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     THE EUROPEAN COMMISSION,



     Having regard to the Treaty on the Functioning of the European Union1,

     Having regard to the Agreement on the European Economic Area,

     Having regard to Council Regulation (EC) No 1/2003 of 16 December 2002 on the
     implementation of the rules on competition laid down in Articles 81 and 82 of the Treaty2,
     and in particular Article 7 and Article 23(2) thereof,

     Having regard to the Commission decision of 27 May 2009 to initiate proceedings in this
     case,

     Having given the undertakings concerned the opportunity to make known their views on the
     objections raised by the Commission pursuant to Article 27(1) of Regulation (EC) No 1/2003
     and Article 12 of Commission Regulation (EC) No 773/2004 of 7 April 2004 relating to the
     conduct of proceedings by the Commission pursuant to Articles 81 and 82 of the EC Treaty3,

     After consulting the Advisory Committee on Restrictive Practices and Dominant Positions,4

     Having regard to the final report of the Hearing Officer in this case,5

     Whereas:




     1
            With effect from 1 December 2009, Article 81 of the EC Treaty has become Article 101 of the Treaty
            on the Functioning of the European Union. The two provisions are, in substance, identical. For the
            purposes of this Decision, references to Article 101 of the TFEU should be understood as references to
            Article 81 of the EC Treaty where appropriate.
     2
            OJ L 1, 4.1.2003, p.1.
     3
            OJ L 123, 27.4.2004, p. 18.
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     1.        INTRODUCTION

     1.        This Decision relates to a cartel in the world-wide market for thin film transistor-
               liquid crystal display panels for information technology and television applications.


     2.        THE INDUSTRY SUBJECT TO THE PROCEEDINGS

     2.1.      The product

     2.        The liquid crystal display panel is the main component of thin, flat monitors used for
               televisions, computers, digital watches or pocket calculators. The thin film transistor
               liquid crystal display is a variant of liquid crystal display that uses thin film transistor
               technology to improve image quality of flat monitors. Thin film transistor-liquid
               crystal displays will be hereinafter referred to as "LCD".

     3.        LCD panels consist of a lower glass plate (a thin-film transistor or "TFT"), an upper
               glass plate (colour filter formation) and an injected liquid crystal between the two
               glass plates, which is placed in front of a light source to serve as a screen on an
               electronic device.6 According to Samsung Electronics Corporation, Ltd, market entry
               requires high investments and know-how given that this market represents some
               integration of five different technologies which include semi-conductor processes,
               schematics, liquid, optics and tooling.7

     4.        LCD has various applications. Its main applications include mobile displays,
               information technology, such as notebooks and PC monitors (hereinafter referred to
               as "IT"), and televisions (hereinafter referred to as "TV"). This Decision concerns
               two categories of LCD applications: (a) IT and (b) TV. Within those applications,
               only panels of 12" and above are concerned.

     2.2.      The market players

     2.2.1.    Samsung Electronics Co Ltd and Samsung Electronics Taiwan Co Ltd,

     5.        Samsung Electronics Co Ltd (hereinafter referred to as "SEC"), with registered office
               at Samsung Electronics Building, 1320-10, Seocho 2-dong, Seocho-gu, Seoul, Korea,
               137-857, is the ultimate parent company of a group of companies established and
               operating world-wide, which manufactured and sold, inter alia, LCD panels.

     6.        SEC engages in the manufacture and sale of LCD products also through, inter alia,
               its fully owned sales subsidiary Samsung Electronics Taiwan Co Ltd (hereinafter
               referred to as "Samsung Taiwan").8

     7.        Since at least October 2001, and still to date, SEC owned 100% of the shares of
               Samsung Taiwan.

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     8.        In the financial year ending on 31 December 2009, SEC had a consolidated world-
               wide turnover of EUR 76 874 million (KRW 136.29 trillion).9

     9.        For the purposes of this Decision, the relevant EEA turnover of the addressees is
               defined as those sales where the first sale of the LCD panel to a third party (the first
               "real" sale) - as such or integrated in a final IT or TV product - was made into the
               EEA by that undertaking. That is (i) where the LCD panel for IT or TV applications
               was directly sold to an other undertaking in the EEA (hereinafter referred to as
               "Direct EEA Sales") and/or (ii) where the LCD panel was first transformed within
               the same group into a final IT or TV product, and then sold to another undertaking in
               the EEA (hereinafter referred to as "Direct EEA Sales Through Transformed
               Products").10

     10.       The Direct EEA Sales of the Samsung group of companies (as delivered to customers
               into the EEA), between October 2001 and February 2006, amount to EUR [*]. The
               relevant Direct EEA Sales Through Transformed Products (as delivered to customers
               into the EEA), in the same period, amount to EUR [*]. The relevant EEA turnover of
               the Samsung group companies for LCD Panels for IT and TV applications delivered
               into the EEA between October 2001 and February 2006 was therefore EUR [below 3
               billions].

     11.       In this Decision, and unless otherwise specified, companies of the Samsung group
               which participated in the cartel will be referred to as "Samsung".

     12.       The individuals representing Samsung and who are relevant for the purpose of this
               Decision are listed in Annex I.

     2.2.2.     LG.Philips LCD Co., Ltd. and LG.Philips LCD Taiwan Co., Ltd.

     13.       LG.Philips LCD Co., Ltd. (now "LG Display Co., Ltd."11, hereinafter referred to as
               "LPL" (in the supporting evidence also referred to as "LGD" or "LGP"), with
               registered office at 18Fl., LG Twin Towers (West Tower), 20, Yeoido-dong,
               Youngdungpo-gu, Seoul 150-721, Korea12, is the parent company of a group of
               companies established and operating world-wide, which manufactured and sold, inter
               alia, LCD panels. It was formed on 26 July 1999 through a joint venture agreement
               between LG Electronics, Inc. (with registered office at 20, Yeoido-dong,
               Youngdungpo-gu, Seoul 150-721, Korea hereinafter referred to as "LGE") and
               Koninklijke Philips Electronics N.V. (with registered office at Groenewoudseweg 1
               5621 BA Eindhoven, The Netherlands hereinafter referred to as "Philips"). LGE and
               Philips owned 50% each of LPL from 26 July 1999 until 23 July 2004. As from that
               moment their respective shares lowered in subsequent steps to 37.9% (LGE) and to
               32.87% (Philips) by the end of the infringement.13


     9
              [*] Average exchange rate EUR/KRW for 2009 (ECB): 1772.9 KRW stands for South Korean won.
     10
              EEA sales data were requested with due regard to the 2004 enlargement of the Union.
     11
              LG Display Co., Ltd. is the recently changed name of LG Philips LCD Co., Ltd. This is a change of
              name only and does not reflect a merger, acquisition or a sale of assets, cfr. [*]
     12
              [*]
     13
              [*]



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     14.       LG.Philips LCD Taiwan Co., Ltd. (hereinafter referred to as "LPLT") (now renamed
               "LG Display Taiwan Co., Ltd."14, incorporated on 12 April 1999) was at all times
               prior to 31 December 2006 active in manufacturing and/or supplying in the LCD
               sector and was and still is a wholly owned subsidiary of LPL.15

     15.       In the financial year ending on 31 December 2009, LPL had a consolidated world-
               wide turnover of EUR 8 000-15 000 million (KRW 18 000 – 25 000 million).16

     16.       The relevant EEA turnover (see recital 9) of the LPL group companies (as delivered
               into the EEA) between October 2001 and February 2006 amounted to EUR [between
               2 and 3 billion]. The relevant EEA turnover of LPL derives from Direct EEA Sales
               (of LCD panels for IT and TV applications into the EEA) and includes sales to its
               shareholders, LGE, Philips, and their subsidiaries. LPL had no Direct EEA Sales
               Through Transformed Products.

     17.       In this Decision, and unless otherwise specified, companies of the LPL group which
               participated in the cartel will be referred to as "LPL".

     18.       The individuals representing LPL and who are relevant for the purpose of this
               Decision are listed in Annex I.

     2.2.3.    AU Optronics Corporation

     19.       AU Optronics Corporation, with registered office at 1 Li-Hsin Rd. 2, Hsinchu
               Science Park, Hsinchu, Taiwan, is the ultimate parent company of a group of
               companies established and operating world-wide, which manufactured and sold, inter
               alia, LCD panels. It was formed on 1 September 2001 as a result of the merger
               between Acer Display Technology, Inc. and UNIPAC Optoelectronics Corporation.
               On 1 October 2006, AU Optronics Corporation merged with Quanta Display Inc.17

     20.       In the financial year ending on 31 December 2009, AU Optronics Corporation had a
               consolidated world-wide turnover of EUR 7 000-11 000 million.18

     21.       The relevant EEA turnover (see recital 9) of the AU Optronics Corporation group
               companies for LCD Panels for IT and TV applications between October 2001 and
               February 2006 was EUR [less than 1 billion].19 AU Optronics Corporation had no
               Direct EEA Sales Through Transformed Products.

     22.       In this Decision, and unless otherwise specified, companies of the AUO group which
               participated in the cartel will be referred to as "AUO".

     23.       The individuals representing AUO and who are relevant for the purpose of this
               Decision are listed in Annex I.

     14
              LG Display Taiwan Co., Ltd. is the new name of LG Philips LCD Taiwan Co., Ltd. [*]
     15
              [*]
     16
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     17
              [*]
     18
              [*]
     19
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     2.2.4.    Chimei InnoLux Corporation

     24.       Chi Mei Optoelectronics Corporation ("CMO "), with registered office at No. 3, Sec.
               1, Huanshi Rd., Tainan Science-Based Industrial Park, Tainan County 74147,
               Taiwan, was the parent company of a group of companies established and operating
               world-wide, which manufactured and sold, inter alia, LCD panels.20

     25.       In the financial year ending on 31 December 2009, CMO had a consolidated world-
               wide turnover of EUR 6 400 million (295 405 375 000 NTD).21

     26.       The relevant EEA turnover (see recital 9) of the CMO group companies between
               October 2001 and February 2006 stems from Direct EEA Sales with a value of EUR
               [less than 1 billion] and Direct EEA Sales Through Transformed Products with a
               value of EUR [less than 1 billion] for panels delivered into the EEA.22 The relevant
               EEA turnover of the CMO group companies for LCD Panels for IT and TV
               applications delivered into the EEA between October 2001 and February 2006 was
               therefore EUR [less than 2 billions].

     27.       On 20 November 2009, CMO, InnoLux Display Corporation (hereinafter referred to
               as "InnoLux") and TPO Displays Corporation (hereinafter referred to as "TPO")
               entered into a merger agreement. InnoLux merged with both TPO and CMO, and as
               of the Merger Date (18 March 2010), TPO and CMO ceased to exist. InnoLux is the
               surviving legal entity, but on the Merger Date, it changed its name from InnoLux
               Display Corporation to Chimei InnoLux Corporation (hereinafter referred to as
               “CMI”).

     28.       In this Decision, and unless otherwise specified, companies of the CMO group which
               participated in the cartel will be referred to as "CMO".

     29.       The individuals representing CMO and who are relevant for the purpose of this
               Decision are listed in Annex I.

     2.2.5.    Chunghwa Picture Tubes

     30.       Chunghwa Picture Tubes Ltd., (hereinafter referred to as "CPT") with registered
               office at 1127 Heping Road, Bade City, Taoyuan, Taiwan 334, Republic of China, is
               the ultimate parent company of a group of companies established and operating
               world-wide, which manufactured and sold, inter alia, LCD.23

     31.       According to its audited estimation, in the financial year ending on 31 December
               2009, CPT had a consolidated world-wide turnover of EUR 1 251 802 047 (NTD 57
               704 000 000).24



     20
              [*]
     21
              [*]. NTD stands for "New Taiwan Dollar".
     22
              [*]
     23
              [*]
     24
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     32.       The relevant EEA turnover (see recital 9) of CPT for panels delivered into the EEA
               between October 2001 and February 2006 was EUR 49 354 739.25 CPT had no
               Direct EEA Sales Through Transformed Products.

     33.       In this Decision, and unless otherwise specified, companies of the CPT group which
               participated in the cartel will be referred to as "CPT".

     34.       The individuals representing CPT and who are relevant for the purpose of this
               Decision are listed in Annex I.

     2.2.6.    HannStar

     35.       HannStar Display Corporation (hereinafter referred to as "HannStar" or "Hannstar"),
               with registered office at 12th Floor, 480, Rueiguang Road, Neihu District, Taipei,
               114 Taiwan, R.O.C., is a company which operated world-wide in the market for
               LCD panels throughout the period of its participation in the infringement.

     36.       In the financial year ending on 31 December 2009, HannStar had a consolidated
               world-wide turnover of EUR 1 103 223 511 (NTD 50 855 013 000).26

     37.       The relevant EEA turnover (see recital 9) of HannStar companies between October
               2001 and 6 January 2006 stems from Direct EEA Sales with a value of EUR
               39 349 461 and from Direct EEA Sales Through Transformed Products delivered in
               the EEA, with a value of EUR 2 634 037. The relevant EEA turnover of the
               HannStar group companies for LCD Panels for IT and TV applications delivered into
               the EEA between October 2001 and February 2006 was therefore EUR 41 983 498.

     38.       The individuals representing HannStar and who are relevant for the purpose of this
               Decision are listed in Annex I.

     2.3.      Description of the sector

     2.3.1.    Supply

     39.       The LCD industry is characterized by a very rapid and strong growth.27 According to
               Samsung, the world-wide market has grown from USD 6 500 million in 1998 to
               USD 45 000-55 000 million in 2006.28 Samsung also mentions that this growth was
               not stable over the whole period as there were "ups periods", such as the year 1999,
               2002 and 2004 and other periods of "downs" such as the year 2001.29

     40.       The LCD producers are active world-wide and are predominantly located in Korea,
               Japan and Taiwan.




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              [*]
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     41.          Suppliers for IT and TV applications can be distinguished between those who
                  primarily sell to the general market and those who manufacture LCDs primarily for
                  internal use.30

     42.          As already indicated (see recital 4), this Decision concerns two specific categories of
                  LCD applications: (a) IT and (b) TV and within those categories only panels not
                  smaller than 12" are concerned.

     43.          The addressees of this Decision had a joint share in the world-wide sales of large size
                  LCD panels of [65-80%] during the period of the infringement.31 According to the
                  parties' own estimations at the time of the infringement their joint share was [around
                  70%].32 Table 1 sets out the relevant sales values of the addressees of this Decision
                  concerning LCD panels of IT and TV applications with panels of 12" and above in
                  the EEA based on the information provided by them. As indicated in recital 9, as
                  relevant EEA sales value, the Commission takes those sales where the first "real"
                  sale of the LCD panel was made into the EEA by the addressees of this Decision,
                  that is where it was directly sold as such to third companies or where it was
                  transformed intra-group and the final product was put on the market in the EEA.

     Table 1: Sales of LCD panels in the period October 2001-January 2006 in the EEA

                           From
                         October                                                                          January
                           2001            2002            2003            2004             2005            2006
                         (in euro)       (in euro)       (in euro)       (in euro)        (in euro)       (in euro)
          Samsung      [Less than        [Less than      [Less than     [Less than 1    [Less than 2     [Less than
                       100 million]     500 million]    500 million]      billion]         billion]     200 million]
            LPL        [Less than 10     [Less than    [Less than       [Less than 1     [Less than 2    [Less than
                         million]       100 million]   500 million]       billion]          billion]    200 million]
           AUO         [Less than 10   [Less than 10   [Less than 50     [Less than     [Less than 1     [Less than
                         million]         million]        million]      500 million]       billion]     200 million]

           CMO          [Less than       [Less than      [Less than      [Less than    [Less than 1       [Less than
                          50000]        100 million]    500 million]    500 million]      billion]       150 million]
            CPT         [Less than       [Less than    [Less than 10   [Less than 50     [Less than     [Less than 50
                          10000]          100000]         million]        million]      100 million]       million]
          HannStar     [Less than 10   [Less than 10    [Less than 1    [Less than 1   [Less than 50    [Less than 10
                         million]         million]        million]        million]     million]         million]


     2.3.2.       Demand

     44.          Direct customers of LCD panels for IT and TV applications are manufacturers of
                  televisions, computer monitors and notebooks. Customers include (i) brand

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               In 2001 they considered that Korean and Taiwanese companies represents [70-80%] of the world-wide
               market (see recital 107). For 2002 they assess their joint share as amounting to [60-70%] on the world-
               wide market [*] and, within that, [75-95%] in the flat panel monitor segment (see recital 138). They
               estimate the Korean and Taiwanese capacities as amounting to [70-80%] (see recital 137). In 2003
               Samsung estimates the share of Korean companies in TFT LCD as amounting to [45-55%] and expects
               [45-55%] in 2004 (see recital 157).



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               customers, who purchase panels, along with other inputs, to incorporate into finished
               products that are sold under their brand name; (ii) original equipment manufacturers
               (hereinafter referred to as "OEMs"), contract manufacturers or system integrators,
               who purchase LCD panels and other components and sell the assembled finished
               products; and (iii) electronic parts distributors, who resell the panels unchanged. In
               addition, some LCD panel manufacturers, including Samsung, CMO and Hannstar,
               have corporate affiliates or divisions that incorporate LCD panels into finished
               products, and sell finished products into the EEA. Some of these corporate families
               purchase panels from unaffiliated manufacturers.33

     45.       These customers may conclude long term contracts with suppliers for periods
               covering two or three years. For instance, [*] "had concluded a long term agreement
               (LTA) with [*]" for a period of two to three years.34

     46.       [*] also explains the "pricing process" with customers as follows: "first the customer
               contacts the account manager and requests a particular price. The account manager
               then provides a counter quote and if the customer isn't satisfied with that counter
               quote, then the customer sometimes provides competitors' quotes. These quotes may
               or may not be truthful and accurate."35 Similarly, [*] describes that "the buyer
               approaches several suppliers with its volume requirements, technical specifications,
               and target price for an anticipated shipment. The buyer's target price is set based
               primarily on its own assessment of the then-prevailing market conditions (i.e. supply
               and demand) […]".36

     47.       According to[*], "customers are spread out over the world [*]." Some customers are
               located in Europe.37

     2.3.3.    The geographic scope

     48.       The LCD suppliers and major customers are global actors. LCD panels are sold
               world-wide and prices are set on a world-wide basis.38

     2.4.      Inter-state trade

     49.       It is clear from the evidence at hand that from October 2001 to January 2006, LCD
               panels were sold directly by the addressees to customers in the EEA (Direct EEA
               Sales). Those customers can be producers of notebooks, monitors and TVs such as
               [*] or [*] that sell the transformed products in other Member States to retail
               distributors that may further resell the final products incorporating the panels in
               several Member States.

     50.       On the other hand, a number of panels were incorporated and transformed in the final
               IT and TV products for sale in the EEA by the addressees and/or their subsidiaries

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              (Direct EEA Sales Through Transformed Products). This is particularly the case for
              Samsung which owned and supplied factories in the EEA, namely an LCD panel
              fabrication plant (hereinafter also referred to as "fab") in the United Kingdom that
              existed until 2004 and one established in Slovakia in 2004, which later distributed
              the final products mostly within the EEA. The figures relating to Direct EEA Sales
              and Direct EEA Sales Through Transformed Products are provided in Table 1.

     51.      In addition, the LCD panels produced by the addressees may also be purchased by
              customers in the EEA as part of IT and TV final products sold in the EEA by third
              parties (hereinafter referred to as "Indirect Sales"). These indirect sales were of
              significant magnitude as more than 16 million LCD TVs were sold in Europe during
              the infringement period. With their joint world-wide market share of around [65-
              80%] in large LCD panels (see recital 43), the sales of TVs manufactured with the
              incorporation of LCD panels of the parties could be estimated at more than 12
              million units,39 while LCD Monitors incorporating the parties' products and sold in
              Europe, the Middle East and Africa ("EMEA") amounted to around 200 million
              pieces.40

     52.      Europe represented a significant share of the world-wide market of final LCD
              products. Sales of LCD TVs to Europe went from [5-10%] of total world-wide sales
              in the last quarter of 2001 to [35-45%] by the end of 2005. Sales of LCD Monitors to
              Europe went from [30-40%] of world-wide sales at the end of 2001 to [20-30%] by
              the third quarter of 2003. Monitor sales to the EMEA represented [30-40%] of the
              world-wide market in the third quarter of 2004, increasing to [35-45%] by the end of
              2005.41

     53.      Together, the Direct EEA Sales, the Direct EEA Sales of Transformed Products and
              the indirect sales, during the infringement period led to important trade flows
              between Member States and between the Contracting Parties to the EEA Agreement
              for LCD panels and final products including LCD panels originally supplied by the
              parties (see also recital 43).

     54.      There is accordingly a substantial volume of trade between Member States, as well
              as between the Contracting Parties to the EEA Agreement as regards the product
              concerned.


     3.       PROCEDURE

     55.      On [*], Samsung submitted an application under the Commission Notice on
              immunity from fines and reduction of fines in cartel cases (hereinafter referred to as
              "the Leniency Notice").42 [*]. On 23 November 2006, Samsung was granted
              conditional immunity.



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     56.      On [*], LPL submitted an immunity and leniency application. On 23 November
              2006, LPL's request for immunity was rejected.[*]43

     57.      On 7 December 2006, requests for information pursuant to Article 18 of Regulation
              (EC) No 1/2003 were addressed to AUO, CMO and Hannstar. As CMO contested the
              jurisdiction of the Commission to request documents held in Taiwan, on 16 February
              2007, a decision pursuant to Article 18(3) of Regulation (EC) No 1/2003 was
              addressed to its European subsidiaries, CMO Europe B.V. and Chi Mei
              Optoelectronics UK Limited, requesting the submission of documents relating to the
              infringement period, and enumerating 39 specific contacts. The same questionnaire
              was sent pursuant to Article 18(2) of Regulation (EC) No 1/2003 to CMO. On 19
              February 2007, a request for information was also addressed to CPT. On all instances
              the scope of the questionnaires covered the infringement period in general and
              contained a list of meetings. In the case of the first request for information sent to
              CMO on 7 December 2006, the list only mentioned a bilateral meeting with
              Samsung.

     58.      Several requests for information44 were also sent to HannStar, which did not reply to
              those requests. It was only in February 2009 that HannStar replied to a request for
              information that was sent simultaneously to HannStar and one of its European
              subsidiaries (Hannspree) on 27 January 2009.

     59.      On[*], AUO filed a leniency application [*].

     60.      On 27 May 2009, a Statement of Objections (hereinafter referred to as "the SO") was
              addressed to Samsung Electronics Co Ltd, Samsung Electronics Taiwan Co Ltd,
              Samsung Semiconductor Europe GmbH, Samsung Semiconductor Europe Limited,
              LG Electronics, Inc., Koninklijke Philips Electronics N.V., LG Display Co., Ltd., LG
              Display Taiwan Co., Ltd., LG Display Germany GmbH, AU Optronics Corporation,
              AU Optronics Europe B.V., Chi Mei Optoelectronics Corporation, Chi Mei
              Optoelectronics Europe B.V., Chi Mei Optoelectronics UK Limited, Chunghwa
              Picture Tubes, Ltd. and HannStar Display Corporation. The parties simultaneously
              received a CD-Rom that contained the accessible parts of the Commission's file.

     61.      Legal representatives of the addressees made use of their right of access to the parts
              of the Commission's file that were only available at the Commission's premises.

     62.      The addressees made known in writing to the Commission their views on the
              objections raised against them by the prescribed deadlines.

     63.      LPL contested that the access to file exercise appropriately ensured the exercise of its
              rights of defence as it was not suitable to provide complete information on the
              identity of the submitting party and the date of the submission for every document. It
              also claimed that through the disproportionate acceptance of confidentiality claims,
              the Commission applied excessive reductions with regard to Samsung documents. It
              also claimed that documents were missing from the file.
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             [*]
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             On 7 December 2006, on 2 March 2007 and on 16 May 2007 and set a new deadline for the first
             questionnaire on 26 June 2007.



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     64.       All the addressees of this Decision availed themselves of their right to be heard
               orally. An Oral Hearing was held on 22 and 23 September 2009.

     65.       At the Oral Hearing LPL announced that it intended to submit a "partial immunity"
               application, for which it needed further information on the file. With the involvement
               of the Hearing Officer, LPL obtained the necessary information and submitted its
               application for leniency under point 23, sub (b), last subparagraph of the Leniency
               Notice on [*]. The Hearing Officer confirmed in a letter of 11 February 2010 that all
               the issues raised in connection with access to the file had been dealt with and that
               LPL's rights of defence had been respected.

     66.       By letter of 6 April 2010, the parties were invited to comment on the supplementary
               evidence submitted by [*] in its reply to the SO. They were also invited to comment
               on the value of sales (outlined in the letter) to be taken into account for the
               calculation of the basic amount of the fines.

     67.       Samsung, LPL and HannStar replied to the letter on [*]. CMO replied on [*] and
               AUO on [*].

     68.       The following addressees of the Statement of Objections are no addressees of this
               Decision: LGE and Philips (the two shareholders of LPL, see recital 13), Samsung
               Semiconductor Europe GmbH; Samsung Semiconductor Europe Limited; Chi Mei
               Optoelectronics UK Limited, Chi Mei Optoelectronics Europe B.V., AU Optronics
               Europe B.V. and LG Display, Germany (respectively, Samsung's, CMOs, AUO's and
               LPL's European subsidiaries, not directly involved in the cartel).


     4.        DESCRIPTION OF EVENTS

     4.1.      Evidence

     69.       The evidence on which this Decision is based comprises, first, numerous documents
               ([*]) and corporate statements provided by the immunity and leniency applicants
               and, second, replies to the Commission's requests for information. The documents
               provided constitute evidence drafted at the time the events were taking place, that is,
               in tempore non suspectu, covering the entire period of the infringement from
               October 2001 to February 2006 (see Section 7). In this connection, the Commission
               also obtained evidence which was submitted by a company and originated from
               another competitor.45 [*]

     4.2.      General remarks on the anti-competitive arrangements

     70.       The parties to the infringement engaged in bilateral and multilateral meetings and
               other contacts in relation to LCD panels for IT and TV applications from 5 October
               2001 until at least 1 February 2006.

     45
              For instance, [*] provided the Commission with "presentation material" dated 15 November 2001 (that
              is the date of a Crystal Meeting) which was prepared by [*] and circulated to the other parties. [*]
              provided the Commission with the same kind of evidence from [*] concerning the meeting of 8 March
              2002; [*].



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     71.      The infringement involved interaction between the major Korean suppliers Samsung
              and LPL, and their Taiwanese counterparts AUO, CPT, CMO and HannStar.

     72.      Anti-competitive practices included price fixing in the form of agreements on future
              prices, price ranges and minimum prices, on pricing and commercial matters for
              specific accounts, on future production planning and future capacity utilisation,
              exchange of information on pricing and other commercial aspects including sales
              volumes or capacity plans, as well as exchange of price information and price
              coordination for customers focused on GAMs (global accounts). Application of those
              practices took place at world-wide and at EEA level, directly or indirectly, and was
              not restricted to specific geographic areas or shipment destinations.

     73.      Interaction amongst suppliers covered IT (notebooks and PC monitors) and TV
              applications of LCD. It involved high, middle and lower levels of personnel. Their
              interaction was regular: between October 2001 and February 2006, meetings took
              place once or twice a month.46 Meetings took place not only in order to enter into
              anti-competitive practices in the future but also, as is shown by their regularity and
              the reporting of data of the previous month, in order to ensure compliance with the
              arrangements previously entered into.

     74.      [*] submits that the so called "Crystal Meetings" were multilateral meetings among
              Samsung, LPL, AUO, CMO, CPT and Hannstar, held in Taiwan. Those meetings
              were [*] (i) high level multilateral Crystal meetings between high level management
              (occasionally referred to as Green Meetings) and (ii) working level commercial
              Crystal Meetings.47

     75.      [*]

     76.      [*], the Taiwanese LCD panel producers agreed to the basic rules of the cartel and
              institutionalized the Crystal Meetings. According to the [*] minutes of the meeting,48
              it was established that:

              "Principal (sic) for pricing: the list prices are net prices. Each maker can adjust
              according to situation, but the prices cannot be lower than the net price. The upper
              limit for discount on intra-group sales is [*] and can be offered using after-sale
              rebates, in order to avoid disturbing the order of market prices.

              Principals (sic) for meetings: Each maker takes turn organising each quarter. The
              order is H[ann]S[tar], CPT, CMO and AU[O]. Established Commercial Meetings
              will be done by vice presidents of sales set at each month to discuss how to stabilize
              prices and exchange necessary supply and demand information

              Others: Do not talk about this meeting, not even to colleagues – keep low profile."

     77.      The parties also discussed output issues "Establish a loading rate. The Utilization
              rate doesn't have to be 100%."

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             Most of those meetings are indicated in further details in Section 4.3 of the Decision.
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     78.      According to the same minutes, [*] proposed to "establish a rule similar to the
              "yellow flag" rule in car racing, all the makers would, through discussions,
              determine a common method together (such as raising the yellow flag) and obey this
              rule to maintain order".

     79.      At that meeting the issue of involving the Korean suppliers was also raised

     80.      At the meeting on 5 October 2001, a further step was taken in the institutionalisation
              of the meetings. It was agreed to exchange information on a real time basis through
              the Hot Line, consisting of a list with phone numbers of the participants.49

     81.      The issue of potential cheating and the maintenance of order was an issue seriously
              considered and raised by the parties. Immediately after the October meeting, when
              Hannstar and AUO quoted lower price for 14" panels, [*] called for an explanation
              and internally noted that "there is concern that such problem could arise again in the
              future. Each problem should be raised when it occurs so that there is improvement. It
              would be good to have this type of information earlier in the future."50 In an internal
              note [*] acknowledges again that "it is hard to control or learn price because (a)
              there are big differences in price by customer or by dealing time and (b) they are
              using irregular methods". The note suggests that "if a minimum price guideline is
              established, it may be possible to prevent a completely unreasonable price although
              the guideline is not binding. Therefore, set minimum price guideline. If a more
              effective and powerful measure is sought, we need to hold a Top Management
              Meeting".51

     82.      [*] confirms the Crystal Meetings and explains that the reasoning behind them was
              that "there had been an oversupply situation in the LCD industry throughout 2001,
              due to the large number of new factories that had been built in Taiwan".52 This
              situation led to a high degree of instability in the market. [*] also stated that in
              October 2001, CPT's representatives approached [*], to "request that LPL attended
              meetings that had already been organised among the Taiwanese LCD panel
              manufacturers".53 In similar vein, [*] asserts that "TFT-LCD is a complex business to
              manage. Constant updates are required in order to monitor how the market develops
              and what the other suppliers are doing"…As a result of these market conditions,
              TFT-LCD suppliers undertook significant efforts to ascertain how the market was
              developing, what components were available in the market, which volumes, and at
              what price. This included regular interaction between competitors."54 Based on the
              above, LCD suppliers tried to reduce uncertainty and instability in the market as
              much as possible.




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     83.      According to [*] the following six undertakings actively55 attended those regular
              multilateral meetings from October 2001 to February 2006: CPT, CMO, AUO, LPL,
              Hannstar and Samsung Taiwan. As will be seen in the chronology of contacts in
              Section 4.3, those contacts are confirmed by contemporaneous evidence in the form
              of the minutes of the Crystal Meetings submitted by [*] and confirmed by other
              participants.

     84.      [*] also submits that "the Taiwanese suppliers had two types of supplier meetings-
              working level meetings and top meetings. Lower level employees from the Taiwanese
              companies and the Korean companies' Taiwanese subsidiaries attended the working
              level meetings; higher-level employees of the Taiwanese companies and the Korean
              companies' Taiwanese subsidiaries attended the top meetings….While two kinds of
              meetings existed, the topics discussed in the meetings were similar".56 [*] confirms
              the two types of meetings.57

     85.      As to the regularity and the language of the meetings, [*] states that the "supplier
              meetings generally occurred once a month. The Taiwanese companies hosted [them]
              on a rotating basis and the company hosting the meeting would prepare the format
              for exchange of sales and marketing information. The supplier meetings took place
              primarily in English as a common language between Chinese and Korean speakers,
              although Chinese was used at times."58 This point is confirmed by [*].59

     86.      As regards the subject matter of the Crystal Meetings, [*] explained that "the two
              main pieces of information shared […] were price and shipment volume for the
              current and coming month."60 The minutes of the meetings presented in Section 4.3
              confirm that statement in showing that the participants agreed on their future
              behaviour for the next month or next term and sometimes even further, in particular
              as far as pricing, production, or capacity utilisation plans were concerned.

     87.      [*] provides a detailed description of the subject matter and arrangements of the
              monthly meetings stating that "pricing issues were discussed and a consensus on a
              minimum price was reached. Initially, each supplier projected its prices for the
              following month. Then there was a comparative analysis of all the suppliers' prices.
              In particular, the price discussions focused on those suppliers whose future prices
              were not within the price ranges of other suppliers (i.e. where it emerged that a
              particular vendor was intending to offer a much lower price than other suppliers).
              Individual suppliers who were identified as intending to offer too low a price would
              ultimately agree to increase their price, and bring them more in line with the other
              suppliers' prices. After checking each other's prices, suppliers would reach a
     55
             Out of 58 Crystal Meetings which are proved to have been held, actual participants can be identified in
             52 cases. At those 52 meetings Hannstar was absent twice, namely on 4 November 2004 and 8
             December 2004. Samsung was absent twice, namely on 5 October 2001 and 6 April 2005. AUO was
             absent twice, namely on 5 or 6 May 2005 and 4 November 2005.
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             [*] states that "the majority of the meetings were conducted in the English language even though, for
             the most part, the participants were not native English speakers, because English was the only
             language that was common among the multinational attendees." [*].
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             [*]



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              consensus on a minimum price. The group's scrutiny of future prices allowed
              suppliers to keep prices within certain price ranges. The suppliers verified price
              compliance at the following monthly meeting when participants were required to
              update their current month's prices (i.e. it was possible to check whether an
              individual supplier had, in fact, raised its current monthly prices to the previously
              discussed levels). In short, the suppliers ensured that price projections stayed within
              a reasonable "ball park" figure. There was usually also a Q&A session at the
              "Crystal Meeting". The suppliers would discuss industry "rumors" that a particular
              supplier had for example quoted a specific low price to a particular customer: the
              identified supplier then typically offered some explanation for its low pricing, for
              example, its clearance of certain product items from its inventory had caused prices
              to fall. The supplier in question usually also provided some reassurance that the
              price reduction was temporary, and that it would shortly increase prices, for
              example, after its inventory had been cleared".61

     88.      That the agreements have been implemented can be demonstrated with an example
              of price arrangements in 2002 concerning [*]

              [*]

     89.      [*]

     90.      Another example of the implementation of the agreement is [*]

     91.      Other contemporaneous cartel documents also confirm the parties' implementation of
              the agreement. [*]

     92.      There is also evidence that as the parties [*] they were continuously discussing the
              effects of their agreements both on the immediate downstream level and that of the
              final customers. In this framework:

                 a) they closely followed and analysed the reactions of the downstream IT and TV
                    market and beyond: [*] "the distribution channel price for 15" FPM is close to
                    the range[*] , determined to be the ceiling price that consumers can tolerate"
                    [June 2002];62

                 b) they adjusted their strategy accordingly: [*]

     93.      The cartelists also discussed the effect of their (cartelised) prices on the demand for
              PC sets, notebooks and TVs: [*].

     94.      The agreement did not target any specific geographic area [*]. Participants were,
              however, aware of and sought effects on the European market. First, Europe as a
              specific market was discussed. [*].

     95.      The parties were also clearly aware of the illegality of the cooperation from the first
              meetings, [*].

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             See recital 130.



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     96.      Though there was no formal system for sanctioning deviations, it is clear that the
              companies were aware from the beginning of the threat of cheating (see the "yellow
              flag" rule proposed by [*] in recital 78). They monitored each other's pricing and
              occasionally stated that such behaviour could entail consequences: [*].

     97.      As to the modus operandi, [*] submits that "no written materials were exchanged at
              the meetings". [*] attendees typically went to the meetings with blank price and
              shipment charts and they filled in the information given by the other competitors.
              Later, the information would be put into pre-prepared charts called "Price Trends"
              and "Capacity Utilisation" which were circulated internally within the company.63
              This is confirmed by contemporaneous evidence containing those charts.

     98.      In the light of the above, the objective of the anti-competitive arrangements was to
              increase and maintain prices of the LCD panels for IT and TV applications. The
              control of prices took place at two levels, that is, directly by agreeing and entering
              into price fixing,64 and indirectly by adopting a common understanding of the future
              strategy on the parameters which determine prices such as production, capacity,
              shipments and demand. There was regular, monthly, checking of the price,
              production volume, capacities and other parameters. The establishment of a common
              basis for future prices allowed the suppliers to verify compliance at the following
              monthly meeting when participants were required to update their current month's
              prices.65 The parties also made attempts to keep the level of output under control (see
              recital 102, 103, 116, 120, 139, 141, 148, 156, 174, 179, 192, 197).

     99.      The crux of the arrangements was that the control of price parameters ensured the
              future sustainability of the price fixing that was agreed upon in the first place. More
              specifically, in the course of the Crystal Meetings, the participants established a
              common understanding of the past and present situation of the market (prices,
              demand, production and capacity). During the same meetings, the participants
              adopted a common understanding for the future market situation on the evolution of
              prices, production and capacity, thereby deciding together on their common future
              pricing strategy.

     100.     The adoption of a common understanding on the past and present situation of the
              sector as well as decisions on the common future strategy took place on a regular,
              continuous (monthly) basis. In this context, the regularity of the meetings was
              critical. First, in order to be able to decide on the common future pricing strategy, a
              common understanding on the past and present market situation must be established
              to serve as the basis for the future evolution of the mentioned market parameters.
              Second, through that direct/indirect, regular and continuous pricing mechanism, the
              participants ensured that prices would not decrease, thus causing an increase in
              demand and a corresponding increase in production which in turn would have the
              effect of a subsequent price decrease. Third, that regularity served as a means of
              monitoring compliance with all the collusive arrangements concluded.
     63
             [*] The evidence shows that these pre-prepared charts were the same for all participants.
     64
             This was achieved through price increases, price ranges and/or minimum prices.
     65
             See recitals 103, 105, 106, 107, 112, 113, 115, 116, 119, 122, 124, 128, 130, 131, 137, 139, 141, 146,
             148, 149, 150, 152, 153, 154, 155, 157, 159, 160, 165, 166, 167, 168, 174, 176, 177, 178, 179, 182, 185,
             186, 192, 196, 200, 205, 207, 209, 210, 214, 217, 218, 220, 222, 225, 227.



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     101.      The particular anti-competitive means used to control the prices, as further detailed
               in Section 4.3, were as follows:

                        --        multilateral contacts: formalized multilateral Crystal Meetings (see
                                  recitals 70-86) among six suppliers from October 2001 onwards
                                  until February 2006;

                        --        bilateral contacts: according to [*], suppliers tried to verify the
                                  information provided by customers, in particular as far as prices
                                  were concerned. "Once targets (prices) were issued, competitor
                                  contact would occur to check the different prices".66 [*] also states
                                  that "a number of [*] individuals…engaged in bilateral discussions
                                  with competing suppliers […] at various points in time"67. Further,
                                  according to [*], "[its] ground level salespeople contact their
                                  counterparts at the competing firm in an effort to confirm the buyer's
                                  representation regarding the competing offer."68 This took place
                                  because suppliers were aware that information on competitor's offers
                                  coming from customers may be "false";

     4.3.      Chronology of contacts

               2001

     102.      [*] submits69 that on 5 October 2001 a Crystal Meeting took place at the Westin
               Taipei Hotel, Taiwan. Attendees were from CPT ([*]), CMO ([*]), AUO ([*]),
               HannStar ([*]) and LGP ([*]). According to an internal report of [*]70 the agenda
               consisted of exchanging the results of the introduction of new prices in October and
               the negotiation of the November price.71. The six parties, presented their October
               prices for 14.1" and 15.x" panels and indicated from which day those prices were to
               be effective. The parties stated that their planned price increase was successful:
               "Although every maker has faced customers' resistance against the price-hike, the
               price-hike has been carried out coherently among makers and market demand
               exceeds supply, so the price level for October has reached the original target at
               about [*]." Under the second point of the agenda it was discussed, that as "the result
               of price-hike is quite satisfactory this month […] every maker is inclined to try price
               increase in November. After discussion, the common understanding is 15"[*] and
               14.1".[*]" It was agreed that customers should be notified about the increase
               immediately. Concerning prices after November the following agreement was
               reached: "price for December 2001 - March 2002: considering that after December
               the arrival of low season will cause price drop, it would be difficult to raise the price
               again once it slides. Therefore, decided to maintain the November price of 15"[*]

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              The introduction of the October prices was agreed at a meeting on 21 September 2001, where all the six
              parties were present ([*]). Though [*] could not attend the meeting on 5 October 2001 meeting, it did
              submit its price data showing that it kept the agreed price line.



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             until the first quarter of next year." In order to secure favourable market conditions
             for the price increase the parties decided to consider the reduction of capacities: "To
             achieve this target, every maker must review how to maintain an optimum loading
             rate, lowering production capacity." In the end of the meeting it was agreed that the
             CEO Meeting of October 19 would have to discuss the optimum loading rate for that
             period and the November price. The minutes made by [*]72 also confirm that the
             meeting concerned prices and the adjustment of the loading plan "agreed on the Nov
             minimum price[…]; consensus on over supply in Dec and 1Q 2002; consensus on
             loading rate adjustment (about [*]) → will decide at the Top Meeting on Oct 19".
             To ease the expected oversupply [*]was requested to delay its 5th generation line
             investment. The parties agreed to exchange information on a real time basis through
             a "Hot Line" and prepared a list with phone numbers of contact persons.

     103.    [*] has submitted a document showing that on 19 October 2001, a multilateral
             Crystal "CEO/Top Management" meeting took place in the Howard Plaza Hotel in
             Taipei between AUO ([*]), Samsung ([*]), CMO ([*]), HannStar ([*]), LGP ([*])
             and CPT ([*]). The minutes state that "all 4 Taiwan companies [were] represented
             by [*] , showing the importance of the cooperation at this moment".73 The points
             raised at the meeting concerned supply and demand forecasts, future pricing and
             loading adjustment plan. The minutes show agreement on minimum prices: "Despite
             the presence of [*], there was frank criticism and confirmation regarding prices […]
             Nov Min 14"[*]; 15" (M) [*] agree - Dec Min 14" [*]; 15" (M) [*] agree." The
             minutes also show that the parties carefully analysed the output situation if capacity
             reduction was needed to maintain favourable supply-demand situation: "Loading
             adjustment: Taiwanese companies plan shutdown for 8 days during Chinese New
             Year holidays, asked plans for Korean companies […] → [*]: no shut down plan –
             will not affect Taiwanese companies' market.→ consensus: if demand/supply is
             balanced, no reason to reduce production – let's wait and see" –. The parties also
             discussed how previous price agreements were put into effect. The parties agreed to
             have the next Top Meeting on 5 November and the next Crystal Meeting on 30
             October.74 That meeting is confirmed by [*] which identifies the meeting in [*]
             calendar.75

     104.    An internal e-mail of [*] of 24 October 2001, likely relating to prices quoted by [*]
             and [*] for 14" panels shows that the parties also monitored the implementation of
             the agreement in bilateral contacts. The [*] sends the message to [*] to "report this
             price issue and formally complain to [*] and [*]. Please report back on the result."
             [*] replies that he has "already raised about the problem relating to this matter with
             both companies. Even though both companies admitted to it, they have asked for our
             understanding as they had already committed to it early October. Therefore, it will
             be corrected from December."76



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     105.    [*] confirms that, as planned on 19 October, a CEO meeting was held on 30 October
             2001 in the Sherwood Hotel with the participation of AUO, CMO, CPT, Hannstar,
             LPL and Samsung.77 The parties discussed November and December price and
             production and capacity status. [*] accused [*] and [*] of deviating from the agreed
             price but the two companies denied this. [*] stated that "it will do everything to keep
             the price over [*], including giving away a part of its market share." It was
             established that as the capacity of [*] dominated the market in Taiwan for 14.1",
             everything it did affected price. It was therefore stressed that "[*] must please
             maintain price". It was established that on the [*] project in November [*] and [*]
             had "all quoted over [*]". The parties agreed that December total delivery exceeded
             November and that capacity and purchase orders are balanced, "therefore everyone
             agreed to small increase by [*][*] explained that it expected a loss of [*] millions for
             the year, but it considered the stabilisation of the prices more important than
             grabbing shares. The parties agreed to have an operation meeting on 13 November
             and a CEO meeting on 15 November with an agenda including 2002 supply-demand
             report, factory shut down schedule and 2002 price discussion.

     106.    In an internal e-mail of [*] dated 13 November 2001 copied to [*] summarises to [*],
             the discussions between competitors at the Suppliers Working Level Meeting held on
             the same day in Holiday Inn Rebar Crowne Plaza.78 The agenda of the meeting
             includes the state of demand and supply until the 3rd quarter of 2002 with the
             competitors' estimates and their production plans. Another point of the discussion
             concerned the next year's capacity expansion plan for [*] and [*]. As regards price,
             the e-mail states inter alia that the price increase was implemented: "- in the case of
             15" (M), above [*] is being quoted in general". The e-mail also presents the
             competitors' pricing to a number of clients and for several types of LCDs, including
             deviations from the agreed price level. It states inter alia that [*] complained that it
             could not have business with [*] at [*] due to the low price ([*]) offered by [*]. It is
             also stated that [*] failed to increase monitor price to [*] for [*] (the price agreed
             upon in the October meeting). The e-mail informs about the next agreed Top meeting
             scheduled to take place on 15 November 2001, the proposed agenda and certain of
             the prospective attendees.

     107.     [*] has provided documentation showing that on 15 November 2001, a CEO or top
             management meeting did take place between competitors in the Crowne Plaza Hotel
             in Taipei.79 Attendees were: AUO ([*]), CPT ([*]), CMO ([*]), HannStar ([*]), LPL
             (according to [*], most probably [*]) and Samsung (according to [*] was planning to
             attend). [*] has submitted a meeting report prepared by the [*]. The report was sent
             on 16 November 2001 to [*] and the other cartel participants as an attachment to an
             e-mail from [*] of [*]. In the e-mail [*] indicated that the meeting report had been
             revised in the light of the clarifications given by [*] the same morning. The report
             begins with the agenda of the meeting with items on November price review,
             demand and supply situation in 2002, optimal loading rate, December and 2002 price
             ideas, the issue of cooperation with the Japanese competitors and a schedule for the
             next meetings. The report contains a table indicating the agreed minimum November

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             price, rumours on deviating prices and the explanation given by the allegedly
             deviating party. The power point presentation states: "In general, we have raised
             price successfully, but there's still exceptional case!!!". The report shows that
             discussion took place on the expected output for each quarter of 2002 by each
             company, on the forecasted demand, on the expected oversupply rate and on price
             projections for monitor and notebook panels for November and December and a
             tentative price projection for 2002. The table on projected prices ends with the
             conclusion: "We have to reach mini [*]" in Dec". The e-mail indicates that the parties
             considered that the market share of Korean panel makers was [*], while the
             Taiwanese makers had [*] share on the market. The report bears the warning "Please
             do not copy and release to anyone!!!" as well as "Confidential". The e-mail to which
             the report was attached also calls on recipients "to keep it confidential and can not be
             released to ou[t]sides strictly!!!". An internal note of [*] also provides an overview
             on the discussion stating that "Generally speaking, November market price has
             successfully risen [*]". It also refers to the deviations from the agreed price. The note
             mentions: "To avoid vicious price competition, several suggestions as follows:
                        1) Must follow target price for new orders
                        2) Use Hot Line to contact other makers in the industry, to prevent being
                        tricked by customers into cutting price.
                        3) Even though each maker has strategic clients, internal clients and
                        commitments that are exceptional case, try to gradually decrease these
                        exceptional cases.
                        4) With the same client, makers can each control price with supply.
                        5) Sufficiently remind Monitor makers not to grab orders with low price
                        and never support such conduct."

     108.     The parties agreed that the loading rate needed no adjustment, due to existing
             shortage on the market. In order to be able to regulate the market it was suggested to
             keep inventories instead of reducing price.

     109.    [*] confirms the this meeting of 15 November 2001 by submitting the same e-mail of
             15 November 2001 from [*], the agenda of the CEO Crystal Meeting as well as the
             diary of [*], an [*] participant, which shows that the event took place.80 [*] also
             confirms the meeting.81

     110.    [*] submits that on 7 December 2001, a working level or operational meeting took
             place at the Howard Plaza Hotel in Taipei.82 [*] and [*] confirm the meeting83 and
             the latter states that the attendees were: CPT ([*]), AUO ([*]), Samsung ([*]), CMO
             ([*]), LPL ([*]) and HannStar ([*])).84 An internal note of [*]85 presents the agenda
             and an overview of the meeting. The parties discussed and assessed the inventory
             level of customers. The parties checked the effects of price rise on demand stating
             that "even though the market selling price rose by [*] at the end of November,

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             channel dealers continue to pull-in" and that "OEM/PC customers can accept paying
             a premium to secure allocation". The parties reached an agreement on the price
             difference that should be maintained between certain product categories.

     111.    In a preparatory note of 7 December 2001 for the Top Meeting of 11 December, [*]
             of [*] indicates that the attendees at the meeting would include: [*] (AUO), [*]
             (CPT), [*] (CMO), [*] and a [*] (Hannstar), [*] (Samsung), [*] (Samsung), [*] and
             [*] (LPL). The note refers to the two Top Meetings already held and reports on the
             working level meeting held on 7 December indicating that it related to the discussion
             of market conditions, demand/supply status, sales plan by each maker and price
             review, and that further discussions would have to be made in the Top Meeting to
             find resolutions on issues including price. The agenda of the planned Top Meeting
             would contain the meeting report of the Working Level Meeting, the Price Guideline
             Approval, the 2002 Market forecast and discussion on "security (confidentiality)
             matters relating to Anti-trust Law violations (already discussed in the Working Level
             Meeting held on December 7, 2001)".86

     112.    [*] submitted a detailed note on the meeting of 11 December 2001. The participants,
             AUO, CMO, CPT, Hannstar, LPL and Samsung discussed among other issues
             channel inventory, December and agreed January pricing ("we decide to raise [*]
             price in January"), the price difference to be maintained between different products
             and expected demand for 2002. The parties reviewed the price increases achieved as
             from October ("Oct=[*] up; Nov=[*] up; Dec=[*] up") and the targeted price
             increase ("we have to reach mini $[*]" in Jan."), A tentative price projection for the
             whole year 2002 was also discussed. It was also stated that "meeting attendees agree
             to cancel any rebate from January next year" and it was agreed that "interests must
             be calculated into mini price". Finally it was decided that "the CEO meeting will no
             longer be held on a monthly basis. It will only be scheduled if any specific issues
             occur. As a basic principle, it will be held every quarter (Green Meeting is fine)".87
             The same meeting of 11 December 2001 is confirmed by [*].88 Regarding that
             meeting, on 14 December 2001, in an e-mail sent to [*] ([*]), [*] of [*] reports on the
             results of the meeting of 11 December. According to [*], there were some additional
             attendees to the persons mentioned in recital 111.89 The note contains prices for
             December and January for the 12", 13", 14", 15", 15"+, 15"X, 17"SX, 18"SX LCD
             panel sizes of [*]".90[*] also confirms that the meeting took place.91

             2002

     113.    In its reply to the SO [*] submits [*] internal e-mail of 14 January 2002 to [*]
             (copied to [*]) referring to a meeting held in the Howard Plaza Hotel in Taipei on 11
             January 2002. Participants were AUO ([*]), Hannstar ([*]), CPT ([*]), CMO ([*]),
             Samsung ([*]) and LPL ([*]). The minutes prepared by [*] show the price planned to

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            According to [*] note the attendees were [*] – A; [*] – CPT; [*] – CMO; [*] – H(annstar); [*] – L(G
            Philips); [*].
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             be charged in February for different monitor and notebook panels by the participants.
             A subsequent table presents sales plans for February and March. In the last column
             titled "Remarks" it is indicated that [*] plans 4-5 days off according to demand and
             supply situation, while [*] and [*] states that they would be off, respectively 1-1.5
             and 1-2 days. The note states "[*] aggressively pushes price raise".92

     114.    [*] submits a document93 showing that on 6 February 2002, a Crystal Operation
             Meeting took place in the Howard Plaza Hotel, Taipei. Attendees of the meeting
             were: AUO94, HannStar, CPT, CMO, Samsung and LPL. The agenda of the meeting
             stated "Please do not copy and release to anyone!!!" and included the following
             items: "1. Marketing Review 2. Fe(bruary) Price Review 3. M(arch) Price 4. Next
             Meeting: Operation: March 8 a.m. /CPT CEO:Mar.(ch) 12 or 13". The note contains
             tables presenting the prices of competitors for a number of sizes of LCDs in
             February. The table shows that the prices agreed at the previous meeting were mostly
             followed. It also sets out the corresponding prices for March 2002 and indicates that
             "[*] and [*] have already raised Apr. price further" and claims that "[*] also
             accepted this new price proposal". Prices for April were also discussed and were
             determined to be USD [*] higher than the March prices. Finally, the discussion
             reviewed the output level and provided a supply calculation for 2002. World-wide
             volume percentages were established on a company and country of origin basis. [*]
             also confirms that the meeting took place.95

     115.    [*] submits another internal e-mail from [*] to [*] (copied to [*] of [*]) of 7 February
             2002.96 The e-mail is entitled "March Price". The prices refer to December 2001,
             January, February and March 2002. The e-mail shows that the prices presented on a
             monthly basis were the subject of discussions among competitors at meetings held on
             11 December 2001, 11 January and 6 February 2002. This note states that [*]
             requested competitors to increase price and itself reported on a price increase of "[*]
             for [*] in March [*]" and that "[*] did not object". [*] also told that the "[p]rice for
             [*] was [*] in February but plans to increase price to [*] and requested [*]
             cooperation." [*] and [*] "suggested a gradual increase in MNT price and a big
             increase in NB price" with which "[*] agreed; [*] provided no opinion" while "[*]
             argued for a big increase in MNT price". The suggestion of [*] for a sharp increase
             was not well received "because (a) a big price increase will adversely affect demand,
             (b)demand decrease will cause price decrease proportionally and (c) maintaining
             "up trend" is important (there was the fear that customers would begin to demand
             price decreases once the price is stayed)". The note also presents the production
             capacity of [*].. The note ends with the indication that a Top Meeting would be held
             on 12 or 13 March preceded by a Crystal Meeting on 6 March.

     116.    According to a number of submissions, an operational meeting took place on
             8 March 2002 at the Sherwood Hotel Business Center, Taipei.97 Attendees of the
             meeting were: AUO ([*]), Hannstar ([*]), CPT ([*]), CMO ([*]), Samsung ([*]) and
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            [*] also provided the expense reports filed by [*] related to this meeting of 6 February 2002, [*]
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            According to [*] handwritten notes in his notebook of 2002. [*]
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              LPL ([*]).[*] has submitted a note on the meeting, according to which the agenda
              included items on a general market review, discussion of the March and April price,
              the agenda of the CEO meeting and the scheduling of the next meetings.. The
              document requires secrecy, indicating: "Please do not copy and release to
              anyone!!!". In addition, the document contains a number of tables, one of which
              presents the prices of [*] and [*] for different LCD panels for the period between
              November 2001 and April 2002. Another table shows the incremental price increase
              of all the competitors on a panel size basis for the period between November 2001
              and April 2002 with a total price increase of USD [*] over that period. There is also
              reference to the output of the six companies for the period between January and April
              2002 comparing the quantities of each undertaking against the original forecast. The
              document ends with the note that "All the TFT makers increase output, and estimated
              quantity will be around [*] in Q1".98 According to notes taken by [*] the parties
              agreed at the meeting that "April price principle: monitor use rise [*]; NBPC use rise
              [*]."99

     117.     The tables as described in recital 116 are contained in an e-mail from [*] to [*]
              (concerning the meeting of 8 March 2002). The e-mail indicates: "Re whether the
              growing [other company] is to be accepted as a new member, decided not to accept
              [other company] at this moment because if [other company] is told about the fact that
              vendors are currently having meeting, such fact may be known to other
              customers".100 [*] also states that "[*] carefully predicts that shortage problems
              (especially re NB) may be resolved after March" and that the "[*] suggested a big
              increase in 15"MNT price". The e-mail shows that the prices presented on a monthly
              basis were the subject of meetings between competitors that took place on 11
              December 2001 (see recitals 110-112), 11 January, 6 February and 8 March 2002.101

     118.     In an e-mail dated 13 March 2002,102 [*] of [*] apprises [*] (copied to [*]) on the
              developments of a Top management or CEO meeting that occurred the same date in
              the Howard Plaza Hotel, Taipei. Attendees were: AUO ([*]), Hannstar ([*]), CPT
              ([*]), CMO ([*]), Samsung ([*]) and LPL ([*]),[*].103 According to the email from
              [*], the focus of the discussions was on prices and the relation between prices and
              demand for 2003, inventories, specific April 2002 prices for a number of product
              types (12", 13", 14", 15", 15"+) concerning notebooks and monitor screens for [*],[*]
              and [*], checking the market's reaction to a specific price increase,104 supply increase
              for 2003 as well as price projection for the entire 2002 in monitors and notebooks
              and capacity expansion plans for Generation 4, 5 lines of LCD for the years 2002,
              2003 and 2004. One other point of the discussions was the ratio between LCD
              Monitor price and CRT (cathode ray tube) monitor price. According to the note "the



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             The note quotes as follows: "Market seems to accept [*] as set price → need aggressive price
             positioning [*] in April. ([*])".[*]



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              magic number for ration of 15" LCD MNT Price (set price) to 17" Flat CRT MNT
              price is [*] – magic".105

     119.     The same meeting is confirmed by [*]. In addition, according to [*], on the same day
              of the meeting, [*] representative, received a report on the meeting from [*].106 The
              same presentation was sent to [*]. The report included several tables showing prices,
              shipment volumes and output of TFT panels, namely notebook PC and monitors. [*]
              submission, in addition to confirming [*] documentary submission, also states that
              "[*] and [*] have already raised Apr. price further, that are NBPC: 14.1"X+~[*];
              15"X=~[*]; 15"S+=~[*]. [*] also accepted this proposal." [*] submission also
              contains tables on price increases covering the period between November 2001 and
              April 2002 for all the competitors, the 2002 Output Review as well as the TFT
              Supply calculation in 2002 and the market shares for Korean, Taiwanese and
              Japanese TFT makers. [*] document contains the mention "Please do not copy and
              release to anyone!!!"

     120.     [*] also reported internally107 on that meeting of 13 March 2002 and stated that the
              parties agreed that "With FPM street price currently at the turning point of price
              increase, it is advised to wait and see how the consumer market reacts to the new
              price before deciding the TFT LCD price policy, in order to prevent killing normal
              demands". It also notes that "17"SXGA is resolved to quickly rise to [*] in April; May
              target [*]". The parties also started to consider preparation for the expected
              oversupply in 2004: "Combined data from all sources predicts that oversupply in
              2004 is inevitable, and with larger amount and for a longer period than during
              2000~2001, which in turn would cause deeper price decline. It is suggested that
              included at the next CEO meeting’s agenda be a discussion on whether to set up a
              preparatory response or pre-control production capacity in order to react to the next
              oversupply wave". The meeting is also confirmed by [*]108

     121.     On 10 April 2002, a Crystal Operation Meeting took place in the Westin Hotel,
              Taipei. The notes of the meeting were submitted by [*].109 Attendees were: AUO
              ([*]), Hannstar ([*]), CPT ([*]), CMO ([*]), Samsung ([*]) and LPL ([*]). The
              agenda of the meeting consisted of a review of the market, the discussion of the April
              and May prices, and the scheduling of the next operational and Green (top) meeting
              to be hosted by [*] The note provided by [*]contains tables with the prices to be set
              in April and May by the six participants. The table sums up the monthly price
              increases successfully reached since October 2001 and totalling USD [*]. A part of
              the note presenting the atmosphere of the meeting reads as follows: "- [*] argued for
              a big price increase but many companies (including [*] suggested a slight increase.
              (Seasonal Factor) – [*] said that its management has not decided its MNT Panel
              price policy yet." The parties observe that "15" MNT Street Price has been
              maintained […] but no longer Cash/Cupon Rebate for customers is available (in the
              past, [*])". Discussing market situation it was noted that strong demand and panel
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             [*] handwritten notes.
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             E-mail of [*] of 16 April 2002 to [*], copied to [*] presenting the minutes of the meeting and the
             agenda of the Crystal Operation Meeting; [*].



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              shortage was expected in the case of notebook panels. Nevertheless the parties drew
              attention to increasing inventories stating that "the Channel Inventory increase is
              derived from efforts to maintain enough inventories in preparation for price increase
              and System Assembler's giving up making 15"M". Successful price increases were
              acknowledged again: "Comparing to 17" CDT MTN price ([*], the price has been
              increased [*] and three times [*], so a demand decrease may occur." Discussing the
              continuation of the meetings it was agreed that "Next operation Meeting sought to be
              held in Korea – [*] as host) - Top Meeting requested to be held on 5/21 [*] as host)".

     122.     [*] also submits the notes of the meeting of 10 April 2002.110 The minutes elaborate
              on the discussion relating to output and inventories explaining that the parties
              worried about the increase of distributors' inventory that had raised from two to 4-6
              weeks and that OEM makers were replacing shipment by air to sea cargo, thereby
              increasing the amount of inventory over the whole supply chain. The parties
              discussed the effects of the price increases on the downstream markets. It was
              established that despite price increases in six consecutive months, "15"/17"FPM
              finished products [had] not yet seen a rise." [*] is also noted to explain that market
              circumstances would prevent LCD panel price rise to have effect on final set prices
              saying that "The price of P4 is [*] lower than that of P3. P4 will be the leading
              product, meaning that if the entire NBPC system cost are expected to go down by [*],
              should be able to offset TFT price increase." [*] presented its strategy explaining that
              "If the price of 15"XGA for monitor use is incapable of moving up, it will transfer its
              production line to manufacture 15"XGA for NBPC use, which are better priced."
              Concerning the May price the parties established that "after thorough discussions,
              the pricing principle in May will be: those for monitor use to go up [*]. Those
              manufactured by each maker for NBPC use will increase between [*]." The notes
              contain the historical price increases of 15" panels as presented at recital 116, adding
              the planned USD [*] increase in May to come to a total increase of USD [*] since the
              previous October. The notes end with a detailed table presenting the prices of the six
              participants for five NBPC and three monitor panel sizes between December 2001
              and May 2002.

     123.     The meeting of 10 April 2002 is also confirmed by [*].111[*] also confirms that the
              meeting was held, that it was a Crystal Operation Meeting and that it took place at
              Westin Hotel. [*] also provides documentary evidence (handwritten notes) which
              confirm the prices contained in some of the tables of the note submitted by [*].112

     124.     On 15 May 2002, a Crystal Operational Meeting took place in the Howard Plaza
              Hotel, Taipei. According to the minutes submitted by [*],113 attendees were: AUO
              ([*]), Hannstar ([*]), CPT ([*]), CMO ([*]), Samsung ([*]) and LPL ([*]). The
              discussion concerned the May pricing, the market in general including demand and
              supply situation and expectations. The internal e-mail of [*] contains tables of
              competitors' prices on a number of notebook sizes referring to April and May. The e-
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             [*]. According to [*], the attendees of the meeting were: AUO ([*]), Samsung ([*]), LGP ([*]), CMO
             ([*]), CPT ([*]) and Hannstar.
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             E-mail of [*] of 17 May 2002 to [*], copied to [*] presenting the minutes of the meeting and the agenda
             of the Crystal Operation Meeting; [*].



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              mail also shows detailed discussion on price increase, to which [*] was opposed, as it
              had already experienced that higher prices reduced demand of final customers:
              "<Price> With respect to NB, strong insistence on a [*] increase. Also support for a
              [*] increase in MNT, but [*] insisted on maintaining the May price (15", 17")." In
              case of [*], the 15" MNT price was already hurting the demand of E-User". The e-
              mail continued: "Decided to stay the May price for 18" MNT. […][*]. Will not
              increase MNT price in June."

     125.     [*] also confirms the meeting and submits minutes.114 The agenda shows that the
              topics were discussion of the market situation, the review of prices for June, the joint
              strategy against [*] new price request and the scheduling of the next meeting. The
              parties considered that there were no great concerns relating to inventories partly
              because in the case of monitors sold in bundle with the PC, the decreasing CPU
              prices partially absorbed the price increases of TFT and thereby the price of
              integrated systems including FPM was declining. Concerning prices it is stated that
              "after discussions, the principle for pricing in June: the price of 15"/17" for monitor
              use will slightly rise [*] (except for [*] whose headquarters decided no price
              increase). The price of 18" remains unchanged in order to narrow its price
              difference with 17". The range for NBPC price increase will be around [*]". The
              minutes establish the total historical price increase in USD [*] since October 2001.
              The makers expressed their "hopes that [*] could urge its headquarters to consider
              keeping up with the price increase of monitor". Finally it was discussed that "next
              week, [*] is expected to ask all TFT makers to maintain their prices unchanged in
              between June and August with a rebate of [*]. Attending companies will agree to
              hold their proposed prices unchanged in May and June. […] No rebates will be
              made either." The minutes end with updated tables on pricing (see recital 122).

     126.     That meeting is confirmed by [*] which provides [*] agenda.115 The event is also
              confirmed by [*].116

     127.     According to a contemporaneous internal e-mail provided by [*], a top management
              Crystal Meeting was scheduled to take place on 21 May 2002 organised by [*]117

     128.     According to [*], on 5 June 2002 the six competitors met in the Howard Plaza Hotel
              in Taipei. [*] submits an e-mail from [*] dated 6 June 2002118 which was sent among
              others to [*], entitled "6/5 Industry Operation Summary (Confidential)" presenting
              the minutes of the meeting. The minutes announce that the CEO meeting is planned
              for 26, 27 or 28 June, while the next operation meeting would be on 5 July. In
              relation to monitor panel pricing the minutes show discussion and agreement on
              future prices "Main Jun-Jul price trends as follows: • 15" XGA – Maintain at [*]
              level (except [*][*] for Jun-Jul and [*] reduction from [*] for Jun-Jul)• 17" SXGA –
              All claim to maintain [*] level for Jun-Jul. • 18.1" – [*] [*] for Jun-Jul". Concerning
              notebook panel prices the same discussion and agreement can be read from the notes:

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             [*]. The minutes initial phrase states: "Confidential – Do NOT Distribute.**" See the expense report on
             the meeting in [*]



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              "Main Jun-Jul price trends as follows: • 14.1" XGA – Maintain Jun pricing for Jul.
              Jul price range from [*]. •15" XGA – Target [*] price increase from Jun to Jul
              (except [*] holding [*] steady). Jul price range [*]. • 15" SXGA+ -- Target [*] price
              increase from Jun to Jul. July price range is a wide [*]". The minutes also contain
              several tables one of which shows the six competitors pricing for several monitor
              sizes covering the period between December 2001 and July 2002. Another table
              presents the competitors' capacity utilisation and expansion plans until July 2002. A
              pre-meeting agenda dated 31 May 2002 was also distributed internally by [*] to a
              number of individuals in [*]. The agenda included inter alia the following points: "▪
              June Pricing Review ▪ July Pricing Plan ▪ CEO Meeting Arrangements".119

     129.     A comparison between the price tables provided by [*] for the meeting of 5 June
              2002 and the respective [*] tables120 from the 15 May meeting (where decisions were
              taken regarding pricing) shows a correspondence between the two sets of tables.
              More particularly, on 15 May 2002, the participants at the meeting "decided to stay
              the May price for 18" monitor determined in April". That price was USD [*] for [*]
              and USD [*] for [*]. In the minutes of 5 June 2002 (see recital 128), [*] price for 18"
              monitors and for May 2002 is USD [*] and [*] respective price is USD [*]
              corresponding exactly to the level decided in April 2002.

     130.     [*] also reported on the meeting of 5 June 2002 internally. The minutes121 show that
              the parties took detailed notes on existing inventories concluding that except [*]
              inventories are reasonable, but pointing out that PC branded and OEM integrator
              inventories are high. The next issue was the level of demand where the parties agreed
              that though demand for standalone products had decreased a lot, for bundled PC it
              was still strong as the price drop of CPU absorbed the price hike of TFT. It was
              noted that "the distribution channel price for 15" FPM is close to the range of [*] to
              [*], determined to be the ceiling price that consumers can tolerate". [*] is reported to
              have complained about low demand for 15" panels resulting in high inventories and
              its plans to switch production capacity to 19" panels. [*] is reported to have
              explained, concerning a lower price request from [*], how it would react in situations
              where customers request price decrease "[*] will ask the customers: Is the choice to
              ensure volume? Or pricing? If the amount is reduced, [*] may not be able to cover
              for shortages in the future." According to the minutes, [*] also added that NBPC
              pricing would be raised in July by USD [*] is reported to say that it would "follow
              the method done in October last year and recommend leaking information to the
              media stating that the supply will not meet the demand for the second half of the
              year." [*] reported on its plans to switch monitor production to NBPC panels which
              have better prices. It presented the cost difference between two panel types and
              recommended that there should be a price difference higher than that. The
              participants at the meeting reached the common understanding "that during June
              OEM/Branded will have inventory, so each TFT may have inventory. To prevent
              price drop causing a chain reaction, the current June pricing must be maintained.
              Must wait for the peak season and then adjust the pricing." The historical review of
              price increases (see recital 129) contains [*] USD both for June and July. It is

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              however remarked that "for NBPC use, except for 15" XGA price that can be raised
              a little due to shortage, generally the prices for all the other sizes are evenly
              maintained." The minutes end with the updated version of the detailed tables on
              pricing (see recital 122).

     131.     On 13 June 2002, a meeting took place among competitors.122 [*] submission
              consists of [*] handwritten notes on sales and prices of the six competitors including
              July 2002. Some of [*] figures on prices correspond to the figures presented in the
              table "TFT-LCD Price Trend for Notebook Application" in the [*] submission
              concerning the meeting of 5 June 2002 (see recital 128).

     132.     On 13 June 2002 [*] visited [*] in Korea to discuss the "respond to customers'
              requests for decrease in prices". Participants were the [*] of [*] and [*] and [*] from
              [*]. The parties discussed actual prices, capacity, demand issues, cost levels, new fab
              output and sales plans. The parties specifically discussed the customer [*]. In its
              minutes of the meeting, [*] indicated that since it "kept its promise with the [*], it
              only increased prices a little bit in June. […] Must prevent any decrease in prices
              within the LCD industry. […] Must concentrate on large sizes. Therefore request
              that we cooperate to create demand for 20" UXGA.[…] [*] must urge the [*] to not
              lower their prices."123

     133.     [*] submits that for 18 June 2002, a bilateral meeting was scheduled between [*]
              (AUO) and [*] (of LPL and LPLT) at [*] office in Hsinchu. The topics of the
              meeting were planned to be inter alia the market outlook in the period "2H [second
              half] 2002-2003", the pricing strategy for the same period [second half of 2002 and
              2003] and the Target '02/03.124

     134.     As is shown by an e-mail from [*],125 and his expense reports relating to the CEO
              meeting on 26 June 2002 at the Monarch Plaza Hotel,126 a top management meeting
              took place on that day. The meeting is also confirmed by [*]. According to an e-mail
              from [*] of 17 May 2002, a "Top Meeting" was scheduled to take place "on one day
              during 6/24~6/28" in the organisation of [*].127

     135.     On 27 June 2002, a bilateral contact (most likely a phone call) took place between
              [*] ([*]) and [*]. More specifically, in an internal [*] e-mail,128 [*] explains that the
              two competitors discussed pricing at a specific customer: "Today I have received the
              following information from [*]: [a customer] said that in order for [*] to recover lost
              notebook panel volume when the demand increases, [*] will need to lower their
              price[…] [The customer] allegedly told [*] that their pricing was under review
              because their were too high and that [*] prices were also being reviewed […] I have
              no information directly from [the customer] that our price is too high compared to
              our competition".

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     136.     A CEO meeting took place on 4 July 2002 as indicated in an e-mail of
              10 July 2002,129 in which [*] reports the results of that meeting to [*] (copied to [*]).
              Attendees of the meeting were: AUO ([*]), CMO ([*]), CPT ([*]), Hannstar ([*],
              Samsung [*] and LPL ([*]).130 Some of the points raised during the meeting were as
              follows: "- maintain the current price […]- Will hold a working level meeting on
              7/25 and will decide whether to maintain the current price or whether will decrease
              the current price and if so, the decrease level depending on then market price".

     137.     [*] confirms the meeting of July 2002. [*] submits [*] 2002 agenda,131 which
              mentions "4 JUL 2002 LCD Meeting CEO". It also submits [*] contemporaneous and
              handwritten notes which include inter alia an estimation of the relative capacities of
              the Korean ([*], [another producer]: [*], Taiwanese ([*] [another producer]: [*] and
              Japanese producers [*], prices of several competitors as well as [*] price strategy for
              the current, third and fourth quarter of 2002 and the first quarter of 2003.

     138.     [*] also confirms that the meeting took place and specifies that its venue was the
              Evergreen Hotel in Taipei.132 It also submits the detailed minutes of that CEO
              meeting.133 [*] stated according to the note that the participants joint market share in
              FPM panel use for Q1 was over [*] and that "the trends for pricing, products,
              quality, etc. will be decided by these 6 major makers". It is stated that demand is
              weak, and customers actively request a price decrease. However, it seems that there
              was a general consensus that a price decrease would not stimulate demand but would
              raise expectations to await for further decreases leading to an unstoppable domino
              effect. Demand could only have been stimulated with a huge price differential. [*]
              therefore urged not to "comply with any form of lower pricing request from OEM
              customers". [*] asked for a stabilisation of the price, and warned against starting a
              price-slashing war as had happened before. The common understanding on prices
              was that "June price should be kept through July, so wait until the meeting on 7/25
              and then adjust price based on market condition. If necessary, lower price to
              appropriate level all at once in order to stimulate demands."

     139.     In its reply to the SO, [*] submits an internal e-mail sent by [*] concerning a meeting
              held on 22 July 2002.134 The participants were Samsung, AUO, LPL, Hannstar,
              CMO and CPT. The parties expressed that they "will do their best to avoid a price
              war". The parties discussed capacity issues and [*] suggested that "production
              should be adjusted since the companies might force themselves into a price war in
              case large amount of products are accumulated in stock" but some companies ([*]
              and [*]) opposed arguing "that monitoring every company's production status is not
              possible". They decided to "determine whether or not to adjust production through a
              meeting among company CEOs sometime in late July". The discussion also
              encompassed pricing information. [*] repeatedly argued that they were still trying to
              quote their product (15" monitor) price at USD [*] and were criticizing [*] for
              quoting a lower price. Other criticisms related to [*] 17" price and the price [*]
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              offered for [*].[*]provided an explanation for the low price, namely that low-spec
              products were also included in the offer. [*] stated that it wanted "no depreciation to
              occur right before the 4th quarter, a high demand season", but would take
              "appropriate measures in case other companies reduce their product price by using
              irregular method". The parties discussed inventory and output issues as well.

     140.     On 30 July 2002, a meeting between AUO and its competitors was scheduled for
              2 p.m. at the Crowne Plaza Hotel in Taipei. On 25 July 2002, [*] sent an e-mail135 to
              [*] reminding them of the upcoming CEO meeting. The topics included: "*Market &
              Pricing Trend * Updated Supply/Demand * August – Possible Production Reduction
              and /or Price Stabilisation".136

     141.     On 13 September 2002, a Crystal Operation Meeting took place in the Evergreen
              Hotel, Taipei. According to the minutes submitted by [*],137 attendees were: AUO
              ([*]), CPT ([*]), CMO ([*]), LPL ([*]), Samsung ([*]) and Hannstar ([*]). According
              to the notes taken by [*] the parties discussed the level of inventory at the end of
              May for NBPC, Monitor and "TV and other" (for the latter only [*] had sales data).
              The table summarising the data also contains the parties' production capacity and the
              rate of their sales volume and capacity. According to the notes [*] stated that it "can
              no longer comply with price rule, besides a few makers' inability to follow
              agreement, production capacity oversupply is the main reason. [*] suggested price
              no longer work. It is suggested to immediately hold CEO Meeting to discuss
              possibilities of production reduction or other measures to stabilize the situation". [*]
              agreed with [*]"about holding CEO [Meeting] to help make an overall production
              and sales policy." It emphasised that "if upstream source cannot reduce production
              capacity, and downstream inventory increases, it would be impossible not to cut
              price." Concerning the fact that [*] had no comments, [*] internally noted that it
              might be cheating: "(more order-taking, obviously!!) Quoting low price behind the
              back?". According to the notes [*] estimated "that the demand will revive at end of
              September or October. However, current distribution channel inventory are
              overstocked. If it is not cleared quickly, will encounter traffic jam. New orders or
              demands would not be release!". Finally [*] advised "that each maker's price
              maintain status quo, no more price reduction, such as those selling [*] continue to
              maintain [*], those selling [*] continue to maintain [*]."[*] questioned the viability
              of this suggestion. [*] noted that "[*] declared that in order to build G5 customers, it
              definitely will grab orders with low pricing, […]. The final conclusion of the meeting
              was that no price rule could be determined at the meeting, and a CEO meeting should
              be hold to decide whether to reduce production or take other measures. The CEO
              meeting was scheduled for 19 September at the Howard Plaza Hotel in Taipei, to be
              organised by [*].

     142.     An e-mail dated 17 September 2002 from [*]138 summarises the discussions of the
              operation meeting of 13 September as follows: "• Limited market visibility and
              pricing chaos. • No meeting conclusion for price guideline and/or capacity

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              utilisation hold. • Need upcoming CEO meeting for further decision and progress:
              How to control market? How to control price? How to control output? Percentage
              production loading?". The e-mail recalls the upcoming Crystal CEO meeting
              scheduled for 19 September 2002 and its major topics, namely, "Pricing Control &
              Capacity Utilisation".

     143.     On 18 October 2002, a Crystal Operation Meeting was scheduled to take place at
              2 p.m. at the Howard Plaza Hotel in Taipei. [*] was due to host the meeting. An
              internal e-mail of [*] shows that on 14 October 2002, [*] sent an e-mail to [*]
              reminding them of that meeting.139

     144.     On 8 November 2002, a Crystal Operation Meeting was scheduled to take place at 9
              a.m. at the Crowne Plaza Hotel Taipei. CPT was due to host the meeting. An internal
              e-mail of [*] shows that on 1 November 2002, [*] sent an e-mail to [*] and others
              reminding them of the upcoming meeting.140

     145.     Based on the travel expenses of its employees, [*] submits that a Crystal Operation
              Meeting was scheduled to take place on 4 December 2002 at the Howard Plaza Hotel
              in Taipei.141

              2003

     146.     [*]142 submits that on 13 February 2003, an operational meeting took place with the
              six competitors at the Crown Plaza Hotel, Taipei. The meeting was hosted by [*].
              The topics covered market information, pricing trend and capacity utilisation. An
              internal [*] e-mail sent by [*]143 reports capacities and pricing extending to the
              month of March, for [*]. Concerning prices, the e-mail quotes inter alia the
              following: "[*] increase in MAR and US[*] in APR announced to [*] […]Request for
              both [*] & [*] to increase 17" price. [*] […] Anticipate minor price increase for 15"
              in MAR [*] MNT-SIP in FEB (Target price increase in MAR)".

     147.     In an internal e-mail dated 26 March 2003,144 [*] reports to [*] (copied to [*]), on a
              competitor meeting that took place on 20 March 2003 at the Howard Plaza Hotel in
              Taipei. Present were [*] (Hannstar), [*] (AUO), [*] (CPT), [*] (CMO), [*]
              (Samsung) and [*] (LPL). The topics covered were supply/demand situation, March
              and April 2003 production quantity and price,145 capacity expansion and other related
              topics. The report presents very detailed tables on prices of numerous sizes and sales
              by size and company for January, February, March and April 2003. The report also
              states the following: "Even though [*] has been insisting on an increase in price by
              itself, the other companies have been carefully considering an increase in price. NB

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             In respect of this item, the report presents very detailed tables on prices of numerous sizes and sales by
             size and company for January, February, March and April 2003 of AUO, CPT, CMO, Hannstar and
             Samsung.



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              price for April will be stayed for all companies, except for [*]. Price for MNT 15"
              will be increased by [*], 17" by about [*]. The atmosphere was to carefully prepare
              for increases in the future […][*] 15" M price [*] for April looks abnormal. It is
              important to note that [*] 17'M prices stayed. –[*] has injected P4 for 15"M to check
              [*] attempts to increase price.[…] [*] confessed that its price for 15" NB to [*] is
              [*]/Mar. [*]/April […]Must continue to monitor cost of competitors to adjust prices".

     148.     That meeting is confirmed by [*] which specifies that the meeting was hosted by
              it.146 [*] also submits internal e-mails drafted [*] on 13 and 14 March 2003 in
              preparation of the meeting on 20 March and, thereafter, on 21 March 2003, with the
              minutes of the meeting. As to the internal e-mail of 13 March 2003, [*] writes: "As
              the Industry Crystal Meeting is scheduled for next week, I have communicated in
              advance with our competitor counterparts in advance to discuss APR 2003 pricing
              trends and intentions […] Mixed intentions on APR price increase versus
              maintaining MAR price level." Target prices are also communicated to [*] from [*]
              and [*].147 The internal e-mail of 14 March clarifies the required participation of
              different [*] business units, stating that "TVBU will be notified of ongoing meetings
              and participation dependent on need and/or availability".148 The minutes of the
              meeting report: "[*] Volume Allocation Guideline for Customers: 1. Use only [*] of
              planned total output volume for allocation commitments. 2. Allow [*] volume buffer
              for supporting upsize volume requests at higher price". [*] also threatens to
              de-commit allocation if MNT price goes below USD [*] for 15" and 17" panels,
              respectively. The minutes contain very detailed capacity plans and prices for March
              and April 2003 of [*] and [*]. The minutes contain the reference "Extremely
              Confidential – Must NOT Distribute".149 [*]also submitted the expense reports of the
              meeting. 150

     149.     [*] confirms that the meeting on 20 March 2003 took place and submits the minutes
              prepared by its employee, [*].151 The participants reported on production volume,
              production adjustments and demand. [*] is reported to note that "demand for 15" is
              strong, but no new production capacity increase for 15" in the world, it is believed
              that there is opportunity to again adjust for a higher price". The notes contain a table
              on prices of different panel sizes, including 20"TV (for [*]) as well for February,
              March and April. The notes end by establishing that "overall NB15" price increased
              by [*], M15" other makers will adjust for an increase of between [*].

     150.     An internal e-mail dated 10 April 2003 drafted by [*] in preparation of a Crystal
              Operation Meeting shows that the meeting was scheduled to take place on 11 April
              2003, at the Crowne Plaza Hotel, Taipei.152 Participants were AUO, Samsung, LPL,
              CMO, CPT and Hannstar. The meeting was hosted by [*]. The major topics of the
              meeting included market information and pricing and capacity utilisation for


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              April/May.153 [*] also wrote minutes of the meeting in an internal e-mail of 12 April
              2003. The e-mail shows agreement on prices: "General APR-MAY MNT panel
              pricing adjustment consensus: 17" Keep April Price into May, 15" Target +US[*]
              increase from April".154 [*] also submitted an expense report on the meeting.155

     151.     [*] also reports on the meeting. According to the notes of [*] the parties reported on
              capacity and production concerning MNT, NB and TV panels (the latter only for [*])
              and prepared a table on output for March, April and May. Participants agreed that
              demand was strong. Concerning prices the meeting summarised that "Due to strong
              demand, [*] has decided to increase price in May despite the position of other
              makers in the market. Contrary to [*] tough position, [*] believes that cost is
              sufficiently reflected in the current price and that to further increase price will
              weaken market acceptance. [*] is unwilling to increase price, but if it must, only an
              increase of [*] at most. [*] is the toughest among [*] and will increase overall to $[*]
              and [*] are the most conservative, their current price in the market is said to be [*]
              and they only plan to increase price by [*] in May later consider an increase of
              [*]".156

     152.     On 14 May 2003, a Crystal Operation Meeting took place at the Crowne Plaza Hotel
              Taipei. The meeting host was [*]. Participants were AUO, Samsung, LPL, CMO,
              CPT and Hannstar. In similar vein with the previous Crystal Meetings, the major
              topics discussed included price agreement, market information, pricing trend and
              capacity utilisation. The minutes157 of the meeting drafted by [*] state inter alia:
              "General MAY-JUNE MNT Panel Pricing Adjustment Consensus: 17" Keep May
              Price into June, 15" – Maintain [*] target from May […] General Discussions • Do
              not allow for price reductions – upcoming price fluctuations should be managed
              together". The minutes also convey specific items concerning pricing, customers and
              production of the participant companies. The minutes also state: "[*] •Decision to
              increase NB 15" [*]•Strategy to decrease 17" volume support at same price or
              request +[*] for volume requests […][*]•[*] strategy to maintain pricing for May
              into June. • New 17" promotional pricing in APR [*]~[*] BUT +[*] in May [*]•
              Increasing 17" price now to decrease past gap with [*]". Attached to the minutes,
              there is a table presenting the competitors' prices for different sizes of LCD panels
              for notebooks from February 2003 to June 2003 as well as a capacity utilisation and
              expansion plan of the participant companies for NB, MNT and TV panels until June
              2003. According to the table, information on TV panels was provided by [*] from
              February, by [*] from March and by [*] from April and by [*] from April. [*] had
              foreseen no production until June, when the table stops. The e-mail indicates that the
              next Crystal Meeting was planned for 11 June.

     153.     [*] submits that on 11 June 2003, a Crystal Operation Meeting took place at the
              Crowne Plaza Hotel, Taipei. The meeting host was [*] and all six companies
              participated. In an internal e-mail of 11 June 2003, [*] writes the minutes of the

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              meeting158 reporting inter alia agreement on pricing: "General Consensus • Must
              hold 17" JUN/JUL pricing to maintain overall pricing stability. • 17" pricing is most
              important single factor to market now. • Must fix 17" pricing even if faced with
              customer volume reduction.[…] • Pricing fix until AUG equals to optimized pricing
              base for Q4 2003" and joint demand analysis to foster price increase: "[*] still strong
              – no change in pricing policy and allocation plan. […] • Worry about [*] impact […]
              • [*] overview […] • [*]: no demand decrease [...] Europe Jun∼Aug summer season:
              May have lower demand. Foresee impact on [*] (commercial) and [*] projects.•
              After mid-June also summer time-frame in Japan […] • [*] will not decrease pricing
              in Q3[…] • Chance to increase pricing by mid-Aug or after […] • [*] MNT set price
              increase in May and again in June [*] […] • Plan to increase [*] MNT + NB pricing
              to [*] in JUL". Attached to the minutes, there is a table presenting the competitors'
              prices for different sizes of LCD panels for notebooks and monitors from February
              2003 to July 2003 as well as a capacity utilisation and expansion plan of the
              participant companies for NB, MNT and TV panels until July 2003. The e-mail
              indicates that the next Crystal Meeting was planned for 9 July.

     154.     [*] also provides detailed minutes159 of the meeting of 11 June 2003 indicating that
              the participants were AUO [*], CMO ([*]), Hannstar ([*]), LGP ([*]) and Samsung
              ([*]), while [*] was represented by [*]. According to [*],[*] explained that "15" high
              price can no longer sell. In June, using technical operation and promising to meet
              only [*] of hpq planned amount, to create order overload illusion and prevent price
              cutting by hpq." [*] is noted to explain that "the overall client base for NBPC/LCD
              monitor/TV orders are the world's leading makers including Europe, [*], so current
              allocation and price policies remain unchanged. […] If current monitor/NB clients
              reduce orders, the production capacity will be shifted to produce LCD-TVs in
              response." [*] is reported to "reduce low end M15" ratio and focus the entire FPM
              product line mainly on hi-end M17" and M19". [*] is reported to elaborate in more
              details on the TV segment stating that it was "actively entering China's TV market;
              TV30" demand is more than supply." The minutes contain two tables on price review
              for May, June and July for the six companies concerning different monitor and
              notebook panel sizes, including TV panels of 20" and 17"W. The note ends
              expressing as follows: "all makers hope to maintain the price. The list above is only
              ideal." The next operation meeting was scheduled for 9 July.

     155.     [*] submits that on 9 July 2003, a Crystal Operation Meeting took place at the
              Howard Plaza Hotel in Taipei. The meeting's host was [*] and all six parties
              participated. The topics concerned were market information, pricing trend and
              capacity utilisation. In an internal e-mail of 9 July 2003,160 [*] informs his [*]
              colleagues about the discussion on the production status of the participants'
              G[eneration]5 and G 4.5 production facilities of the participants. Summarizing the
              General Consensus it is stated that they "Must hold 17" JUL pricing to maintain
              overall pricing stability. Demand expected to revive by August. July is critical point


     158
             [*] The minutes of [*] bear the mention "**Extremely Confidential – Must NOT Distribute.**". The
             minutes also refer to the date of the next Crystal Meeting. [*]
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             [*]
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             [*]. The minutes of [*] bear the mention "**Extremely Confidential – Must NOT Distribute.**". [*]



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              to hold price. [*] requests [*]to be Minimum 17" Price – ALL vendors161[…] [*]
              Expressed Strong Intentions of no 17" Price Reductions (Even if Lose Market), Main
              concern: How will market consume new 100K 17" capacity from [*]
              Response/Pricing Strategy – Position [*] below [*] level. The minutes continue with
              statements of each company. [*] is reported to say "17" July Price Hold Flat –
              Target No Price Decrease Until Sep/E; Any Q3 price changes should be minor
              adjustments (no serious oversupply), Q3 17" volume expansions should be consumed
              by market. The participants also discussed market strategy relating to TV panels. [*]
              reports capacity reallocation plans from Monitor to NB and TV. [*] also reports that
              its allocation policy (TV, NB, MNT) is based on the available profits. [*] also plans
              to shift capacity from MNT to NB for better margins. It also reveals its target price
              and output plans per size and application. Attached to the minutes, there is a table
              presenting the competitors' prices for different sizes of LCD panels for notebooks
              and monitors from February 2003 to August 2003 as well as a capacity utilisation
              and expansion plan of the participant companies for NB, MNT and TV panels until
              August 2003. The e-mail indicates that the next Crystal Meeting was planned for 5
              August.

     156.     [*] also submits the notes taken at the 9 July 2003 meeting.162 Participants were
              AUO ([*]), CMO ([*]), Hannstar ([*] others), LGP ([*]) and Samsung ([*]).[*] is
              reported to state that "the overall business plan is to target high profit margin NBPC
              and TV. The production of monitor is merely a way to absorb any available
              production capacity." Then it adds that "the demand for 30" TV is greater than the
              supply. [*] plans to increase price to between [*], originally around [*]."[*] presents
              its strategy as follows, "If the current monitor/NB customers cut down on orders,
              production capacity will shift to LCD-TV as a countermeasure. […] The demand for
              19" is stronger than 15"/17". Due to the gradual increase in world-wide supply,
              there will be more supply than demand for 17". Despite this, the [*] is determined
              not to lower price for 17" from July to September. [*] will increase production for
              19" and merely maintain the current level of [*] per month for 17". [*] also
              expressed that "The policy for 17" by the [*] is not to lower price in July." The notes
              end with a table presenting the prices of the six companies for different NBPC,
              monitor and TV panel sizes for May, June, July and August. The notes end with the
              conclusion that "because of supply more than demand for 17”, only [*] are still
              determined to stick to their price for 17”. [*] will have a small price reduction. Due
              to the off-season period in July and August, business will be slower. Each maker
              hopes to try to firmly stand by its sales price, the chart above is only an ideal target."

     157.     [*] states that on 5 August 2003, a Crystal Operation Meeting took place at the
              Howard Plaza Hotel in Taipei, hosted by [*]. The participants (AUO, Samsung, LPL,
              CMO, CPT and Hannstar) and the topics discussed were the same as in the previous
              Crystal Meeting (see recital 155). In an internal e-mail163 containing the minutes of
              the meeting, [*] provides information inter alia about [*] assessment of the Korean
              companies' combined market share ("Korea TFT-LCD market share: [*]/200[2],

     161
             The price table attached to the minutes reproduces and applies this request for 17" for all competitors
             except [*] where the price is [*].
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             [*].
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             [*]. The minutes of [*] bear the mention "**Extremely Confidential – Must NOT Distribute.**"



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              [*]/2003, [*]/2004 (Estimated)". Discussion on market situation was followed by
              discussion on pricing, concluding in a "General Consensus • Target up to +[*]
              Adjustment for NB panels (AUG~SEP) • Target up to +[*] Adjustment for 15" MNT
              panels (AUG~SEP)", participants also shared their pricing intentions. [*] told of its
              intention to "Target 15" MNT August Pricing: [*]• Target 17" MNT August Pricing:
              [*]• Target 19" MNT August Pricing: [*]"[*] explained that "15" MNT Pricing: +[*]
              JUL~AUG, Target Minimum [*] by [*]".[*] contributed saying that " Target +[*] for
              Both NB/MNT in AUG • 15" XGA NB [*]• 15" MNT [*] SIP". Attached to the
              minutes, there is a table presenting the competitors' prices for different sizes of LCD
              panels for notebooks and monitors from February 2003 to September 2003 as well as
              a capacity utilisation and expansion plan of the participant companies for NB, MNT
              and TV panels. The e-mail indicates that the next Crystal Meeting was planned for 4
              September.

     158.     [*] submits that on 10 August 2003 an internal e-mail was sent by [*] most likely as
              a reflection on a report made by [*] at the meeting of 5 August. In the e-mail he
              expresses concerns that "regulations and controls to price raise is being loosened
              under the expectation of sustaining shortage", thereby showing that the competitors
              were controlling and regulating the movement of prices on the market.164

     159.     On 4 September 2003, a Crystal Operation Meeting took place at the Crowne Plaza
              Hotel, in Taipei. It was hosted by [*]. The participant companies and the topics
              discussed were the same as in the previous Crystal Meeting (see recital 157). In an e-
              mail containing the minutes of the meeting,165 [*] who replaced [*] at that meeting
              states inter alia that the next Crystal Operation Meeting will be hosted by [*] on 3
              October and will relate to the sharing of the parties' 2004 Business Plans. The
              participants discussed the market situation, explaining in detail output, production
              allocation, fab status and perception of demand and supply. The companies provided
              status summary on shipment plans and pricing. Concerning pricing the note tells: [*]
              […] Target Price 17"MNT: USD[*](Oct) [*]17" (MVA)ASP166 ~[*]. ([*]gap)
              […][*]: Target Price 15"XGA NB: [*] (Oct) Target Price 15" XGA MNT: [*](Oct)
              5k 15"XGA NB for [*]:[*] share 15"/M [*]". The parties also reached General
              Consensus of Panel Pricing: "Target to up ~[*] adjustment for NB. (Sep~Oct). Target
              to maintain ASP for overall MNT. (Sep~Oct). 15"/M: [*] try to keep [*] in Sep/Oct;
              [*] will up [*] in Sept/Oct." Attached to the minutes, there is a table presenting the
              competitors' prices for different sizes of LCD panels for notebooks and monitors
              from February 2003 to October 2003 as well as a capacity utilisation and expansion
              plan of the participant companies for NB, MNT and TV panels until October 2003.

     160.     On 3 October 2003, a Crystal Operation Meeting took place at the Crowne Plaza
              Hotel Taipei. The meeting was hosted by [*]. The participants were [*] (CMO), [*]
              (CPT), [*] (AUO), [*] (Hannstar), [*] (Samsung) and [*] (LPL). The topics
              discussed were the same as in the previous Crystal Meeting (see recital 159). An e-
              mail of 7 October 2003167 submitted by [*] contains the minutes of the meeting. In

     164
             [*]
     165
             [*]. The e-mail of [*] bears the mention "**Extremely Confidential – Must NOT Distribute.**". [*]
     166
             ASP stands for "Average Selling Price".
     167
             [*]. The e-mail of [*] bears the mention "**Extremely Confidential – Must NOT Distribute[*].



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              the e-mail [*] writes inter alia the following: "General consensus of panel pricing :
              Target to increase +[*] for NB. (Nov). Target to increase +[*] for MNT. (Oct.)
              Possible remain stable in Nov price". Participants also discussed shipment volumes
              and capacity plans and internal capacity allocation for TV panels for September,
              October and November. The parties also discussed their 2004 output plans,
              concluding that even without the contribution of the [*] planned a TV panel output of
              [*], while the expected demand would only be around [*] or [*]. The parties
              therefore warned of the possibility of a serious oversupply of TV panels in 2004.

     161.     The meeting is confirmed by [*]. A document168 provided by [*] concerning the
              meeting states the following: "[*] […] Driving price increase strongly and customers
              accepts the raise. Quoting [*] for 14" (N) and accepted. [*] […] This balance is
              fragile based on 15" MNT demand and if there is leakage in MNT demand, it will
              give an immediate impact on general TFT demand. So, [*] also agrees to increase
              17"(M) and NB panels price moderately, but NOT FOR 15" MNT![…] [*] is positive
              in price raise up to reasonable level. They will raise the NB price in October and
              November and pull it down to October price level in December" The minutes close
              with a detailed table on the parties' monthly output and market share in different
              panel sizes for NB, MNT and TV applications from July 2003 until September 2003.

     162.     [*] describes that on 21 October 2003, a meeting took place with [*] and provides its
              internal minutes concerning that meeting, showing discussion on the parties' business
              plans, including planned output per product type and size and capacity data
              sharing.169

     163.     [*] describes that a similar meeting took place on 21 October 2003 with [*] and
              provides its internal minutes concerning this meeting showing discussion on the
              parties' business plans, including the details of the completion of the 5th Generation
              fab of [*]170

     164.     [*] reports that between 3 and 6 November 2003 [*] employees visited the
              Taiwanese competitors ([*]) and discussed expected developments of capacity and
              production in 2004.171

     165.     [*] states that on 3 November or 7 November 2003 it hosted a Crystal Operation
              Meeting between the six companies. [*] explains that it does not recall exactly the
              date, identity of the participants and location of the meeting. It provides, however, a
              contemporaneous internal document summarising the highlights of the meeting
              drafted by [*] ([*]) and sent to [*],[*] ([*]) along with an Excel file of pricing and
              capacity utilisation data. Although in that document both 3 November and 7
              November are mentioned as the date on which the meeting took place,172 [*] also
              provides another document drafted by [*] serving as a reminder of the upcoming



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             [*]
     169
             [*] Participants were from CPT: [*] and from SEC: [*],[*]
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             [*]. Participants were from AUO: [*] and from SEC[*].
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             [*]
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             [*]



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              meeting and stating that it was scheduled for 7 November 2003.173 The minutes
              report, inter alia on planned shipments, show agreement on future pricing: "General
              Consensus of Panel Pricing: Target to increase +[*] for NB (Dec price). – Target to
              maintain price for MNT (Dec price). – Target to maintain price for TV (Dec price)."
              The parties are reported to explain: "[*]: –General policy: increase ~[*] for all model
              in Dec/03". The minutes show a very detailed discussion of capacity allocation and
              output plans. Attached to the minutes, there is a table presenting the competitors'
              prices for different sizes of LCD panels for notebooks, monitors and televisions from
              January 2003 to November 2003 as well as a capacity utilisation and expansion plan
              of the participant companies until December 2003.174

     166.     [*] submits notes175 prepared at the same meeting. The notes show that [*] explained
              that it "faces a great deal of external pressure", nevertheless "top management has
              decided to increase price again, price quote for 15" monitor-using TFT towards $[*]
              and 15" NB-using TFT is towards $[*]". [*] warns that "TV distribution channels
              have started to stockpile inventory". [*] reports that it has "decided on a price
              increase of $[*]pc on each size in December". [*] presents that it is "working hard
              towards the directions of M15" at $[*] and M17" at $[*]". [*] reports that it "has
              adopted a more conservative attitude regarding price". The December pricing is
              summarized as follows "[*] will increase by $[*]; [*]= increase by $[*]/pc;
              [*]=Monitor price will be kept the same and NB will increase by $[*]; [*]=Monitor
              will increase by $[*] and NB use will increase by $[*]; [*]=M17” will be kept the
              same, the highest price for M15” is limited at $[*] and NB-use will increase by
              $[*]".

     167.     On 10 December 2003, a Crystal Operation Meeting took place between AUO,
              Samsung, LPL, CMO, CPT and Hannstar. The meeting was hosted by [*]. The
              minutes of the meeting drawn up by [*]176 ([*]) convey inter alia the following:
              "General consensus of Panel Pricing: increase +USD[*] for NB & MNT in Dec/03.
              Target to increase +USD[*] for NB & MNT in Jan/04. Maintain TV price in
              Dec/03". The minutes show very detailed discussion on prices, output and capacities,
              capacity plans and demand level for all three applications. Attached to the minutes,
              there is a table presenting the competitors' prices for different sizes of LCD panels
              for notebooks from February 2003 to January 2004 as well as a capacity utilisation
              and expansion plan of the participant companies for all three applications until
              December 2003, a total for 2003 and 2004.

     168.     [*] also refers to a meeting in December 2003. More specifically, on 14 December
              2003, in an internal e-mail to [*],[*] presents a summary of the meeting. His
              summary largely corresponds to the minutes of [*] (see recital 167) above. The
              report refers inter alia to the following: "2. Price Increase by $[*] compared to
              November (in the case of 15"N/15"M/17"M), considering an increase by about $[*]
              in January but having a careful position re a price increase on 15"N/M. [*] is
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             [*] also provides an invoice from the Howard Plaza Hotel for a business meeting on 7 November 2003,
             [*]
     174
             The e-mail of [*] bears the mention "**Extremely Confidential – Must NOT Distribute.**".
     175
             [*]
     176
             [*] The e-mail of [*] bears the mention "**Extremely Confidential – Must NOT Distribute.**". [*] also
             submits travel expenses for this Crystal Meeting, [*]



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              strongly denying a special price ($[*]) for [*].[*] admitted $[*] in November (special
              deal to take care of early production from L6) but indicated that it raised it to $[*] in
              December".177 The figures in the table attached to the summary correspond exactly to
              the figures provided in the capacity utilisation and expansion plan attached to the
              minutes of [*] (see recital 167).

     169.     [*] provides the page of a diary showing that on 21 December 2003, [*]
              representatives (among others, [*]) met [*]'s representatives. Discussions focused on
              prices. It is written: "MNT 15" $[*] max; panel $[*]; 17" $[*] max. ".178

              2004

     170.     On 16 January 2004, a Crystal Operational Meeting took place in the Howard Plaza
              Hotel, in Taipei. The meeting's host was [*] and participants were AUO, Samsung,
              LPL, CMO, CPT and Hannstar. Two contemporaneous internal e-mails, the first sent
              by an employee of [*] to [*] on 19 January 2004179 and the second by an employee of
              [*] on 27 January 2004,180 show that the main topics discussed were past and future
              prices and pricing trends for different types of panels, a "G[eneration]5 expanding
              plan of LCD panel suppliers", shipment plans per product for each company and
              assessment of future demand for specific panel sizes. [*]'s e-mail summarizes the
              conclusions on pricing as follows: "General Consensus of Panel Pricing: 1. Keeping
              flat for NB & MNT in Jan & Feb /04." [*]'s e-mail presents how the assessment of
              the market led to joint conclusions on future capacity utilization in order to stabilize
              prices: "- Everybody felt that 15.4'' (N) is on a weak trend and expect 15'' (N) will be
              balanced in January and be in a slight over-supply in February. - So, there is a
              movement to reduce 15,4'' (N) and increase 14,1''(N) or 17''(M).- [*] reduced 15''(N)
              and is converting its focus to 15''(M)." The e-mail ends with a detailed table on
              capacity and on price trends including monthly prices for December, January and
              February for different sizes of NB, MNT and TV panels.181

     171.     On 5 February 2004, a Crystal Operational Meeting took place. The meeting's host
              was [*] and participants included representatives of AUO, Samsung, LPL, CMO,
              CPT and Hannstar. A contemporaneous internal e-mail sent by an employee of [*] on
              6 February 2004182 and the notes taken at the meeting by an employee of [*]183 show
              that the main topics discussed were past and future prices and pricing trends for
              different types of panels, shipment plans, capacity utilisation data per product for
              each company and assessment of future demand for specific panel sizes. The
              conclusion on prices in [*]'s e-mail reads as follows: "General Consensus of Panel
              Pricing: 1. Keeping flat for NB & MNT in Feb & Mar. /04. [*]'s e-mail also shows
              that panel producers were able to reallocate capacity among panel applications in
              order to influence demand. [*]is reported to state that it "move[s] capacity to
              TV&MNT, maintain NB", while [*] is reported to allocate more capacity to TV in

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              response to strong demand. [*] is also reported to have said: "Keep ASP for all
              model!"184 The minutes end with detailed tables on notebook and monitor panel price
              trends and capacities for notebook, monitor and TV applications.

     172.     An interview with the president of [*] by a newspaper triggered phone calls by [*] as
              is shown by an internal e-mail of 7 February 2004 submitted by [*]185 It wished to
              clarify whether the statements seen in the newspaper were true and discussed sales
              volumes. In an internal e-mail summarizing the calls, [*] states that [he] "will
              continue to check competitor's movements and depending on situation will look for
              cooperation plan." The e-mail was sent among others to [*] and [*]. The e-mail ends
              with a report on a call with [*], where [*] was informed about sales data of [*].

     173.     On 5 March 2004, a Crystal Operational Meeting took place. The meeting's host was
              [*] and participants included representatives of AUO, Samsung, LPL, CMO, CPT
              and Hannstar. A contemporaneous internal e-mail sent by an employee of [*] on 11
              March 2004186 and the notes taken at the meeting by an employee of [*]187 show that
              the main topics discussed at that meeting were past and future prices and pricing
              trends for different types of panels, the analysis of the results of price coordination,
              shipment plans and capacity utilisation data per product for each company. The
              conclusion on prices in [*]'s e-mail reads as follows: "General Consensus of Panel
              Pricing:1. 15'' NB price drop in Mar. 2. MN price up in some sizes." According to
              the e-mail, [*] has referred again to the importance of ASP as a general guidance in
              pricing, saying: "General Strategy: - Cut NB shipment to maintain ASP" " and to
              "maintain ASP in MNT product". [*] is also reported to state concerning TV panels
              that "ASP trend: maintain" and it also states in relation to 30" TV panel ASP that
              there were "rumor about [*] 30" quote ∼[*]". In reply "[*] claim $[*] level".
              Concerning a similar issue, [*] is reported to ask its competitors to "ignore 19"/20"
              noise from customers" as in reality there was "no plan for 19" promotion". The
              minutes end with tables on panel pricing in the first trimester for NB, MNT and TV
              panels and capacities in the first quarter for the same products.188

     174.     On 2 April 2004, a Crystal Operational Meeting took place. The meeting's host was
              [*] and participants included representatives of AUO, Samsung, LPL, CMO, CPT
              and Hannstar. Two contemporaneous internal e-mails, the first sent internally by an
              employee of [*] to [*] on 3 April 2004,189 and the second by an employee of [*] on 5
              April 2004,190 as well as the notes taken at the meeting by an employee of [*],191
              show that the main topics discussed were past and future prices and pricing trends for
              different types of panels, shipment plans and capacity utilisation data per product for
              each company. [*]'s e-mail includes the following extract: "3. Price


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             [*]. The names of the participant companies can be inferred from the minutes of the meeting drawn up
             my [*] of [*] and [*] of [*]. An expense report is submitted on the meeting in [*].
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             [*]
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             [*]
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             [*]



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              - Re MNT, most makers have a plan to increase their price by $[*] in 15'' and 17''
              and to quote $[*] in 17'' [*] (a $[*] increase) but not easy to negotiate.
              - In the case of MNT, despite shortages, giving a $[*] rebate to [*].
              - It seems that based on face price, 15''M price is $[*] and 17''M price is $[*]
              - In the case of NB, efforts are made to resist a decrease in price for big dealers
              (customers). Maintaining a minimum face price, they are providing compensation
              (e.g., MKT Fund, other benefits and package deal), but it is hard to find out the
              amount or level of the compensation. In the case of 2nd Tier, 15''M price is $[*]~ [*]
              so considering the face price only, we have a dual range pricing situation now.
              - Due to [an other competitor]'s low price quote (15'' NB: less than $[*]; 15.4'' NB:
              less than $[*]), the situation is more difficult.
              - [*] announced a decrease in its TV price (30'': $[*] (including interver); 27'': $[*];
              20'': $[*]; 23'': (sample available): about $[*]. [*] also decreased its price
              significantly (30'': [*]; 26''$[*]; 20'': $[*] (SVGA)) – a $[*] decrease in 30'' and a
              $[*] decrease in 26'' compared to Marc. SS also plans to quote $[*] for 32'' to big
              customers."

     175.     Similarly to the previous meetings [*] refers again to the importance of ASP as a
              general guidance in pricing, saying: "Plan to maintain/keep ASP, even need to
              compr[om]ise in shipment." and concerning NB "reject to lower ASP, even decrease
              shipment!!" [*]'s minutes end with tables on all three application panel prices and
              capacities.192

     176.     On 6 May 2004, a Crystal Operational Meeting took place. The meeting's host was
              [*] and participants included representatives of AUO, Samsung, LPL, CMO, CPT
              and Hannstar. [*] reports on that meeting by submitting the minutes prepared by
              [*].193 The minutes show detailed discussion on output, prices and capacities, future
              plans, market strategy etc. A contemporaneous internal e-mail sent by an employee
              of [*] on 7 May 2004194 and the notes taken at the meeting by an employee of [*]195
              also show that the main topics discussed at the meeting were past and future prices
              and pricing trends for different types of panels, shipment plans and capacity
              utilisation data per product for each company. The conclusions on pricing are
              summarized in the [*] e-mail as follows: "General Consensus of Panel Pricing:1.
              NB: slow in demand, slightly weak in ASP. 2. MNT: steady demand. ASP stable,
              some worry about >17''. 3. TV: everyone lower ASP in order to stimulate demand."
              The minutes of [*] also present detailed tables on prices and capacities regarding NB,
              MNT and TV applications.

     177.     On 4 June 2004, a Crystal Operational Meeting took place. The meeting included
              representatives of AUO, Samsung, LPL, CMO, CPT and Hannstar.196 The minutes
              taken by [*] of [*]197 show detailed discussion on the market situation during which
              the parties shared pricing and output information, future business plans, expectations

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             [*]
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             [*]
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             [*] (document submitted by [*]),[*].
     195
             [*] (document submitted by [*]).
     196
             The names of the other participant companies can be inferred from the notes of the meeting taken by [*]
             (document submitted by [*]).
     197
             [*] (document submitted by [*]).



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              and forecasts. The minutes also referred to the European market stating that there
              was a "slight seasonal slow down in the European market with respect to MNT
              Panel, but the effect of this on each company was different". Concerning June prices
              the minutes show a discussion on future pricing policy of the parties on the three
              applications. The minutes end with a table presenting output data per panel size for
              each company from January to June. The notes taken at the meeting by an employee
              of [*]198 also show that the main topics discussed at the meeting were past and future
              prices and pricing trends for different types of panels, shipment plans and capacity
              utilisation data per product for each company. [*] also confirms that the meeting took
              place.199

     178.     On 8 July 2004, a Crystal Operational Meeting took place. The meeting's host was
              [*] and participants included representatives of AUO, Samsung, LPL, CMO, CPT
              and Hannstar. Two contemporaneous internal e-mails, the first sent by an employee
              of [*] on 8 July 2004200 and the second by an employee of [*] to [*] on 9 July
              2004201 show that the main topics discussed were past and future prices and pricing
              trends for different types of panels, shipment plans and capacity utilisation data per
              product for each company. The conclusion on prices in [*]'s e-mail reads as
              follows: "General Consensus of Panel Pricing: 1. NB: same as June, slightly weak in
              ASP. 2. MNT: ASP try hard to keep drop. 3. TV: everyone lower ASP in order to
              stimulate demand. 4. [*] / [*] predict that Q4 will be going up because of the
              consuming of monitor and notebook stock in channel". The minutes of [*] end with
              the usual tables on prices and capacities. [*]'s e-mail states that "principal people
              from [*], etc. could not participate in the meeting so no in-depth discussion was
              possible". Nevertheless the minutes show discussion of prices, pricing intentions,
              inventories and output plans.

     179.     On 21 July 2004, a Crystal Operational Meeting took place at the Holiday Inn Rebar
              Crowne Plaza in Taipei. The meeting's host was [*] and participants included
              representatives of AUO, Samsung, LPL, CMO, CPT and Hannstar. A
              contemporaneous internal e-mail exchange between employees of [*] on 20 July
              2004202 and an e-mail sent by a [*] employee to various managers of [*] on 22 July
              2004203 summarising the meeting shows that the main topics discussed were the
              necessity of minimum price lines and the reduction of production, past and future
              prices and pricing trends for different types of panels, shipment plans and capacity
              utilisation data per product for each company.

     180.     In the e-mail exchange within [*] prior to the meeting, one of its employees
              summarized some of the competitors' plans to cut production and wrote: "It's very
              difficult to have the agreement among all of TFT makers on reduction of output. But,
              if [*] plus [*] announce their intension [sic] to cut production, I believe it will have
              big help for whole industry." Another [*] employee answered: "I have organized an


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             [*] (document submitted by [*]).
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             [*] ([*]).
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              urgent 'Crystal' meeting on 7/21 for representatives from [*]. The main subject will
              be production reduction. I'll report the meeting conclusion to you".204

     181.     [*]'s e-mail summarising what was said at the meeting states that [*] had called it
              "because we desperately need to find a solution, considering the dramatic change in
              the market condition and sharp decrease in price during the most recent two weeks".
              The e-mail explains that the participants were "surprised by an unexpected sharp
              decrease in price but generally calm. Seemed they already expected this problem and
              basically agreed on the necessity of the minimum price lines and the reduction of
              production." The participants talked about inventory level, capacity and price
              adjustments and exchanged the usual detailed data. [*]'s representative called for
              confidentiality: "Reminding that DRAM makers were subject to Anti-trust law
              charges two years ago, requested everybody to take care of security/confidentiality
              matters and to limit written communication." 205

     182.     On 10 August 2004, a Crystal Operational Meeting took place. The meeting's host
              was [*] and participants included representatives of AUO, Samsung, LPL, CMO,
              CPT and Hannstar.206 A contemporaneous internal e-mail sent by a [*] employee207
              to [*] [*], on 11 August 2004 summarising the meeting shows that the main topics
              discussed were past and future prices and pricing trends for different types of panels,
              shipment plans and capacity utilisation data per product for each company. [*]'s e-
              mail contains the following extracts:

                    "The numbers below were provided by competitors so may change depending
                    on situation (especially during this changing period) although judging from
                    past experience they were 90-95% correct. […] The numbers below are
                    believed to be almost confirmed numbers […] In conclusion, the sales numbers
                    below are generally accurate." "1. Atmosphere: surprised by sharp decreases
                    in price and demand and strong customers' push. Relatively, [*], which is
                    relying much on MNT panel, seemed to be impacted most. [*] suggested not to
                    lower the September price setting the August price as the bottom line. […][*]
                    strongly urged everybody not to engage in overly aggressive price competition.
                    [*] made the excuse that it does not have any choice but to reduce price due to
                    its weak position. It is hard to control or learn price because (a) there are big
                    differences in price by customer or by dealing time and (b) they are using
                    irregular methods. If a minimum price guideline is established, it may be
                    possible to prevent a completely unreasonable price although the guideline is
                    not binding. Therefore, set minimum price guideline. If a more effective and
                    powerful measure is sought, we need to hold a Top Management Meeting (but,
                    Anti-Trust problem?)

                    […]

                    (5) [*] […]

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                     - The only solution would be reducing production and maintaining the current
                     price. Requested everybody to agree on maintaining at least the August price
                     in September (setting the August price as the bottom line)."

     183.     [*]'s e-mail also contains a "Price Guide Line" agreed at the meeting with minimum
              prices for monitor panels of 15'', 17'' and 19'' and notebook panels of 14.1'', 15'' X,
              15'' SX+ and 15.4''.

     184.     In an internal e-mail submitted by [*] in its written reply to the SO, [*] were
              addressed by [*] who presented the discussion of a suppliers meeting held on 3
              September 2004.208 Participants were AUO, CMO, CPT, Samsung, Hannstar and
              LPL. Though companies were confident that after the terrible August the level of
              demand would recover, it was "decided to make a notice to each Top Management
              that we should have realistic target in order to avoid unnecessary competition and to
              have stable price." At the meeting [*] claimed that over-investment leads to over-
              supply, that "price is coming close to the industry cost" and that they "want to stop
              price war". [*] explained that except for them, "every enterprise is planning to
              increase their production. How can we stop the declining of price? We should plan
              and operate conservatively and make a stable price first." [*] also emphasised that
              "although price is coming close to the cost […] net price will get even lower" and
              therefore "each enterprise should make wise decision".

     185.     On 6 October 2004, a Crystal Operational Meeting took place. The meeting's host
              was [*] and participants included representatives of AUO, Samsung, LPL, CMO,
              CPT and Hannstar. A contemporaneous internal e-mail sent by an employee of [*] on
              6 October 2004209 show that the main topics discussed at that meeting were pricing
              issues, output and cost levels.

     186.     On 4 November 2004, a Crystal Operational Meeting took place at the Holiday Inn
              Rebar Crowne Plaza in Taipei. The meeting included representatives of AUO,210
              Samsung, LPL, CMO, and CPT. A contemporaneous internal e-mail sent by an [*]
              employee [*] (and copied to [*]), on 5 November 2004211 summarising the meeting
              shows that the main topics discussed were past and future prices and pricing trends
              for different types of notebook, monitor and TV panels, shipment plans and capacity
              utilisation data per product for each company. The e-mail shows the discussion on
              prices: "Participants blamed [*] for price decreasing during high demand season
              (October), and finally reached a "consensus to maintain 17" related price at more
              than $[*]". [*] is reported to explain that: - Considering costs, it does not make sense
              to reduce price below $[*] so desire efforts to maintain $[*]. - In response to [*]'s
              request ($[*]), answering no less than $[*] →request join this strategy." The e-mail
              of [*] also shows that these discussions concerned the customer [*], which is a
              company connected to the cartel member [*]: "[*]: […][*] is matching the price set

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             [*]
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             [*], see also, from [*] (which erroneously identifies the date as 7 October 2004 instead of 6 October
             2004), and the expense report in [*]
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             [*]. Although [*]'s statement says that, according to one of its employees' memory, Hannstar attended
             the meeting, the contemporaneous internal e-mail from [*] states that "HSD didn't attend due to sales
             WS.".
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              by other companies ([*]: $[*], [*]: less than $[*]). Asked whether [*] quoted $[*]/17"
              to [*] in November so answered that it is not decided yet". [*] also confirmed that the
              meeting took place.

     187.      Based on the comparison of the figures appearing in notes of [*] it is likely that
              some minutes submitted by [*]212 were taken at the meeting of 4 November 2004.
              According to the minutes the parties discussed total sales volumes for October for
              MNT, NB and TV panels. Capacity, output, demand and demand trends were also
              discussed. The parties discussed prices as well. The notes reflect the discussion of the
              low prices applied by [*] (see recital 186), presenting in detail its pricing policy
              towards [*].[*] claims that the price quoted for [*] ($[*]) is due to "a special,
              preferential treatment" and that they will "stick to $[*]for other customers". It was
              emphasised that "Makers could not communicate honestly at the meeting, in fear that
              the actual price will become the others’ high-end baseline quoting standard and they
              will quote a few dollars lower to grab orders, providing even less restraint over
              prices. [*] believes that given the current opportunity of customers in peak
              distribution season, it is the best time to hold on to the price. It emphasized to not
              pay attention to customers’ price reduction request or the prices of fellow makers.
              With no profits and even losses, selling more will cause more losses". The notes also
              show that the parties were able to reallocate capacity among the different panel
              applications in order to influence demand. The notes state concerning [*] that "it
              claims that it will only turn to starting 17” FPM production if the TV market demand
              is limited and it has no other alternative".

     188.     According to an internal presentation that [*] submitted with its reply to the SO, a
              meeting took place on 6-7 December 2004 with the participation of AUO, Samsung,
              LPL, CMO, CPT and Hannstar. During the meeting the parties presented the
              progress of construction of new fabs, their capacity and the date of their starting
              up.213

     189.     On 8 December 2004, a Crystal Operational Meeting took place. The meeting
              included representatives of AUO, Samsung, LPL, CMO, CPT.214 A
              contemporaneous internal e-mail sent by a [*] employee to [*] (and copied to [*]) on
              9 December 2004215 summarising the meeting shows that the main topics discussed
              were past and future prices and pricing trends for different types of panels, shipment
              plans and capacity utilisation data per product for each company. [*]'s summary of
              the meeting ends as follows: "- Suggested maintaining the current price and
              exchanging price info among makers; suggested to reduce price negotiation from
              $[*] units to $[*] units."

     190.     There is also evidence of frequent bilateral contacts of an anti-competitive nature
              between the participants of the Crystal Meetings.216


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             Meeting [*] on panel prices on 16 March 2004 ([*] – [*]); meeting [*] on market information and
             pricing issues on 9 April 2004 ([*] – submitted by [*]); [*] on 12 May 2004 ([*] – submitted by [*])



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              2005

     191.     Samsung provides an internal e-mail drafted by [*] and sent to [*] dated 4 January
              2005.217 The e-mail reads inter alia: “I updated [*] output status as the attachment,
              please check. Thanks. By the way, even the newspaper said [*] has been 100%
              operation in production line. According to [*] internal mentions, they have one 3.5
              Gen and 4 Gen line are not in use at this moment”. A table presenting the monthly
              (November and December 2004 and January 2005) output for monitors by size and
              integrator (including [*] and [*]) is attached to the e-mail. The table bears the
              mention: “Source: [*] internal”. It also states: “[*]17” order has been transferred
              from [*] to [*]”.

     192.     [*] submits that on 7 January 2005, an operational meeting took place. Evidence of
              this meeting is an internal e-mail sent from [*] to, among others, [*] (and copied to
              [*]) presenting the minutes of that meeting.218 The minutes reveal that the
              participants concerned were: AUO, CMO, CPT, Hannstar, Samsung and LPL.219 The
              minutes report the following inter alia: "1. Atmosphere – generally achieved
              respective December sales target; good mood […][*] is pushing for a price
              decrease; need to face this situation by converting NB Capa[city] to MNT. ([*]) –
              [*]& [*]: not achieved NB target but over-achieved MNT/TV target (especially
              notable for increased large sized TV volume)[…] [*]: over-achieved its goal ([*]%)
              due to increases in 17"/19" M; G5: [*] and plans to maintain the current Capa (until
              March); G5.5 will start mass production ([*]) in April". [*] is also reported to
              reallocate capacity from MNT to NB and TV application ("due to a demand decrease
              in 15"M, 680x880 line will be converted to producing 15"N, 15.4"N, 19"M and
              20"TV". The minutes also present tables with the volumes of NB, MNT and TV for
              the year 2005 plan as well as the shipment result and the January plan for the
              competitors.

     193.     As regards the meeting referred to in recital 192, [*] provides [*]'s diary with hand-
              written notes for a meeting "around January 5, 2005 – Re: Crystal Meeting".220 [*]'s
              notes present volumes and prices for competitors as well as the exact same figures
              for [*] concerning certain sizes of notebooks. [*]'s notes also state inter alia: "TV 32"
              more than [*], [*]32" $[*]".

     194.     [*] also presents [*]'s notes221 with regard to a "Vender meeting" which took place in
              January 2005 at the Crown Plaza Hotel and was hosted by Hannstar. The notes
              present percentages, volumes and prices of the competitors as well as the 2005 sales
              plan in terms of quantity and amount.




             discussing panel prices; [*] in June 2004 concerning negotiations with [*] ([*]– submitted by [*]); [*] in
             September 2004 on prices quoted for [*] submitted by [*]); telephone call [*] in October 2004
             discussion price issues ([*]); meeting [*] on prices to [*] on 23 November 2004 ([*]) – [*].
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             [*]. As regards this meeting, [*] also submits the relevant expense reports, [*]
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     195.     [*] provides an internal e-mail from [*] to [*] dated 14 January 2005.222 The e-mail
              reads as follows: “This is the information we’ve checked with [*] through our Taiwan
              office today. Please check this in US as well. [*] January price 15”: $[*], 17”: $[*],
              19”: $[*]. For the price of 19”, [*] initially proposed $[*], and [*] finalised the price
              from $[*] to $[*]. The information appears to have been obtained directly from [*].

     196.      On 3 February 2005, a meeting took place between AUO, LPL, CMO, CPT,
              Hannstar and Samsung.223 That meeting is confirmed by [*]. It submitted [*]'s notes
              taken during the "Vender Meeting" for February 2005.224 Beside showing detailed
              discussion on capacity allocation, output and fab use, the notes show that the parties
              specifically referred to the European market stating that demand for monitors went
              down by [*]% as compared with the situation in May "due to Europe summer". In
              addition, [*] submits [*]'s diary for a Crystal Meeting that took place on 3 February
              2005.225 The diary refers to volumes, prices, capacity and internal capacity allocation
              for TVs for the six competitors.

     197.      [*] asserts that on 4 March 2005, a meeting took place between AUO, LPL, CMO,
              CPT, Hannstar226 and Samsung. [*] submits evidence of the meeting consisting of an
              internal e-mail sent from [*] on 8 March 2005 to a number of [*] representatives.227
              The e-mail reads inter alia as follows: "1. Atmosphere – Participants felt relieved
              that price decrease in 17" stopped due to increased demand in 17" and 19" MNT
              panel. – We emphasized that [*] led price increase and continued to make our best
              efforts to increase price, [*] felt sorry that they could not join the price increase
              efforts; all makers including [*] appreciated [*]'s leading role in this matter.
              Especially, [*] emphasized that [*] is the world no. 1 and sent a message requesting
              [*] to continue to lead price increase. (In my personal opinion, [*] would like to have
              [*] take responsibility for the price increase this time because [*] received
              retaliation from big OEMs last year in connection with its leading efforts to increase
              price last year). 2. Summary […] – Most makers stayed their price for 17" in
              February and plan to increase price selectively in March. (many sales VPs seemed to
              be getting pressure from top management and shareholders re the price
              increase).[…] – Emphasized that [*] alone tried to lead a price increase without any
              support from other makers and succeeded in the price increase. Also blamed [*] for
              staying their price (not joining [*]) and asked their cooperation in connection with
              [*]'s price increase attempt in March.[…] Tried to persuade other makers explaining
              that if we (a) separately keep certain amount of quantities (about [*]), (b) allocate
              the remaining quantities (volume) to customers, and (c) cut down quantities (volume)
              for customers who do not accept our price, the customers who do not accept our
              price will surrender in one week (for lack of inventory).]…] [*] – 17": price stayed in
              February but is planned to increase depending on customers. […][*] – tried to
              increase 17" price in February but customers complained about the price increase
              given [*] and [*] did not increase the price, so it gave up increasing the price […] –
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             [*] In that e-mail, [*] states that in order to find out February’s prices, they “have to check directly with
             the competitors. (please check [*]).” so as to “correctly assess March’s prices”.
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             See [*] and travel expenses, which refer to Howard Plaza Hotel, Taipei for 3 February 2005 ([*]) ([*]).
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              [*] […]maintained 17" price at the current level in February and planned to
              increase the price in March […][*] – [*] is a very important customer (MNT/[*]);
              price is around $[*] (Jan~Feb); strong pressure for price increase by CEO in
              March". The parties discussed the European market again, stating that "demand
              (especially for 17"M) is strong in [*] Europe". [*] was called upon to explain news
              "based upon info from China [that] there was a $[*] quote […][*] admitted that it
              quoted $[*] in March". [*] discusses an order received from a related company, [*].
              A table on the competitors' sales volumes with very detailed breakdown is attached
              to that e-mail.

     198.     [*] also submits [*]'s diary which confirms that a Crystal Meeting took place on 4
              March 2005.228 [*]'s notes mainly present competitors' volumes for NBs, MNTs and
              TVs as well as some price figures.

     199.     [*] also states that on 6 April 2005 a meeting took place between AUO, LPL, CMO,
              CPT and Hannstar.229

     200.     On 5 May 2005, a supplier meeting took place. [*] submitted an internal e-mail
              drafted by [*] and sent to, amongst others, [*] (and copied to [*]) reporting the
              discussions during the meeting.230 In relevant part, the following is stated: "1.
              Atmosphere As there's a possibility that [*] and [*] have been informed about a
              meeting among vendors, [*] did not attend and only working-level female employee
              at [*] attended, resulting in an atmosphere that was difficult to promote active
              discussion. Later, the attendees decided to substantially reduce SM [supplier
              meeting] and meet at a "private" location among working-level employees –
              however, I'm not certain whether I should attend. I will determine whether I should
              continue to attend after attending the June meeting [...][*]: 15 inch NB is most tight
              and [*] is pursuing increase in its price […][*]: […] Currently pursuing an increase
              of $[*]to certain customers of 15 inch NB products […] Planning to gradually
              reduce production of 15 inch NB.[…] pursuing price of $[*] to $[*] during month of
              May […][*] […] Currently trying to increase the price by $[*]to improve
              profitability but results are uncertain as demand for NB is slow. MNT is generally
              tight and currently pursuing an increase in price of $[*]for 15 inch products". The
              e-mail also presents tables on volumes on a number of types and sizes of NBs, TVs
              and MNTs covering the period between October 2004 and May 2005.

     201.     At this point, due to the change in the level of participation, [*] considered not
              participating at all in future meetings. In his e-mail231 [*] raises the issue that as [*]
              would be represented in the future only by a local employee and as [*] had decided
              previously not to involve its local employees, it "may make sense for us to not attend
              any future meetings, and I will probably need to gather information through our
              individual contacts". However it seems that the management of [*] still considered it
              fruitful to participate in the Crystal Meetings as it continued participation until the
              very last of those meetings.

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     202.     [*] presents an LCD market report232 showing the same points of discussions that
              took place during the meeting on 5 May 2005. Beside detailed capacity and output
              data exchange, [*]'s report shows discussion on future prices: "[*] […]due to the
              tight capacity, 20" TV(TN)'s price increases $[*] to $[*] in May at $[*];the cost
              (including amortization) for producing 17" at G5 is about $[*]; if selling at a price
              above $[*], 17" will be profitable; […][*] […]implied that due to G5's full
              production at 19", the price would be decreased to achieve their sales target. 3. [*]
              […]MNT's increased price in May will be 15" at $[*] and 17" at $[*] […] 20" price
              will be increased to be $[*] to [*] in May […] 4. [*] […]due to NB 15" capacity
              adjustment and tight capacity in May, the price increases $[*]; as for the market
              rumour about the decreasing price of 14" NB, SEC explained that because a
              customer suddenly cancelled orders, they had to sell the products made from the
              extra materials at promotional prices". [*]'s report confirms the change in the level
              of the participants at the meetings as follows: "5. The management of [*] and [*]
              ordered that mid to high level personnel are not allowed to attend this kind of
              meeting; as such, this meeting will be down sized to be attended by a marketing
              person from each company to communicate market situations".

     203.     [*] also submits the agenda of [*] which shows that on 5 May 2005, an LCD meeting
              took place.233

     204.     [*] submits that on 9 June 2005, AUO, Samsung, LPL, CMO, CPT and Hannstar met
              in the Rose Garden, Taipei.234

     205.     [*] submits the notes prepared on 14 June 2005235 at a meeting held in June, most
              likely on the same meeting mentioned by [*]. Participants were AUO, CMO,
              Hannstar, LPL, Samsung and CPT. The parties discussed pricing, capacity issues,
              plans and sales forecasts for June. [*] states that "FPM's 15"/17" price increase has
              been confirmed to be $[*]. [*] explains that "32" increased by $[*]. The lowest-
              priced A-product is also above $[*]. 15"/17" FPM panels each increase by $[*]." [*]
              adds that "the 17" price increased to $[*]. Some customers already cut orders." The
              note ends with a detailed table on sales data for different panel sizes until May 2005.
              [*] also submits the notes of [*] taken during the "Vender Meeting for June 2005".236
              The notes contain figures on volumes for September, October and December 2005
              and for detailed data for [*]. In relevant part, the notes read as follows: "[*] TV
              Demand strong, but price can't go up ([*] in May)".

     206.     [*] submits237 that on 27 June 2005 a CEO breakfast meeting was held in the Westin
              Hotel with the participation of AUO ([*]) and LPL ([*] and [*]). The parties
              expressed their confidence about market conditions and their plans to increase prices
              significantly based on notebook shortage. Having discussed the situation of the
              industry and market expectations the participants expressed their views on market
              pricing. In [*]'s opinion the ceiling price for 17"M was USD [*] while [*] thought it

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              to be USD [*]. According to the notes, [*] also submitted that if "[*] were to sustain
              the 32"TV price at $[*], [it would] sustain it at $[*] and above". [*] believed that
              "the appropriate price difference for a 32" and 37" is $[*]". For the question of [*]
              on the USD [*] difference between respective [*] and [*] panel, [*] answered that
              they would "correct price by maintaining an appropriate price upon taking [*]'s
              price into consideration". At the end of the discussions on prices, the parties stated
              that "[*] plan to increase prices for NB Panel by $[*] each in July and August. [*]'s
              plans to increase price".

     207.     On 8 July 2005, a Crystal Meeting took place at the Karaoke Cashbox KTV, Tun
              Hua Branch, Taipei. Attendees were [*] (AUO), [*] (Samsung), [*] and [*] (LPL),
              [*] (CMO) [*] (CPT)238 and [*] (Hannstar).239 The meeting is also confirmed by a
              Crystal Meeting report submitted by [*].240 The report presents the position of all
              participant competitors on future prices, internal capacity allocation, capacity
              expansion and sales targets. Concerning prices it reads as follows: "[*] MNT: 15"
              price increase to $[*]; 17" price increase to $[*]; 19" price increase to $[*] (TN,
              8ms) [*] […] Price MNT: 15": $[*], try to increase $[*] in July; 17": $[*], try to
              increase, but not successful; 19":$[*], 4ms (overdrive cost $[*] more) NB: All the
              size of panel increases $[*]. 15.4": $[*]+ $[*] in July (will increase again in
              Aug.)[…] 15": $[*] (will EOL soon)[…] [*] Panel Price: 17":$[*]; 19":$[*] (8 ms);
              19":$[*] (12 ms); Market people said [*]'s 19": $[*] (down grad, warranty 30 days),
              but [*] denied and stated all of 19" price for international customers is over $[*][*]:
              Price: MNT: Plan to raise price for 17" in August, but keep 19" price flat. 17": $[*]
              (for [*] include rebate); 19" TN: $[*]; 19" VA: $[*]; NB: Plan to raise price in
              August. 15": $[*]; 15.4":$[*]; TV: panel price will not decline in 3Q, but in 4Q.

     208.     Certain figures of [*] appear to be the same in [*]'s notes taken during the vender
              meeting of July 2005. The notes on [*] for instance are as follows (see also recital
              207): "[*] NB limited Capa. ↑ $[*]; MTR 15"↑$[*] $[*]; 17" ↑ [*] $[*] ceiling; 19" ↑
              [*] (TN) […][*] 17" MTR July flat $[*]; Aug ↑ $[*] ceiling price".241

     209.     As is clear from the comparison of the price data involved, [*] reports on the same
              meeting of 8 July 2005.242 The notes show that the parties discussed production level,
              shipment data, capacity usage and capacities devoted to given panel sizes. [*] is
              reported to establish, similarly to what is noted in the minutes of [*], that "the
              demand for TV is becoming stronger", however as compared to that it is more precise
              on price increase indicating that "20" has more room for price increases" and only
              "the rest stayed level". [*]'s note complements the report of [*], indicating the
              position of that company, missing from its own notes. It therefore shows that [*]
              stated that "the NB market demand has improved. In July, the prices for 15"/15,4"W
              increased by $[*]. FPM - 17" $ [*], 19" $ [*] (TN/8ms). Selling price stayed level.
              TV-32" $[*]". Concerning [*] the report clarifies that in fact "the price for 17"
              increased to $[*]" and the USD [*] price indicated in the minutes of [*] relate

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              exclusively to [*]. Otherwise it confirms the prices indicated in the minutes of [*].
              The notes end with a table indicating the participants' current prices for monitor and
              panels and 32" TV panel prices for [*] and [*].

     210.     On 4 August 2005, a Crystal Meeting took place. This is evidenced by an internal e-
              mail from [*] ([*]) sent to [*] ([*]) on 8 August 2005 and forwarded to [*] ([*]) on
              11 August 2005.243 Participants were AUO ([*]), CMO ([*]), CPT ([*]), Hannstar
              ([*]), Samsung ([*]) and LPL ([*]). The e-mail contains a report by [*] of the
              discussions during the meeting. The e-mail forwarded to [*] reads as follows: "For
              your information, attached is the industry meeting report that Vera drafted. The size
              of the meetings is being cut down and the meeting is being conducted with a focus on
              working level employees. Due to the characteristic of the meeting, as before, will
              continue to keep the existence of the meeting confidential". As regards the e-mail
              from [*], it presents the position of each participant, showing detailed discussion on
              capacity allocation, fab loading, total output and capacity, capacity expansion plans,
              input shortage issues, pricing and pricing intentions. The following was noted down
              from the discussion on pricing: "[*] Price MNT: 15": $[*], increase $[*] in August;
              17":$[*], increase $[*]; 19":$[*], 12ms, (overdrive cost $[*] more) NB: Supply is
              tight in July. 12.1 W: $[*]; 15.4": $[*] increase in Aug. 14" (4.3):$ [*]; 14"W: $[*]
              (produce in Gen. 4); 15": $[*] […] [*]: Panel price: 17":$[*]; 19":$[*] (8ms) in
              July, $[*] in August; 19": $[*] (12 ms) in July, $[*] in August […][*]: Price: TV:
              panel price will not decline in 3Q, but in 4Q. 32": $[*] in August and $[*] in year-
              end; 40":$[*] in August and $ [*] in year-end". The meeting is confirmed by [*]244

     211.     [*] also submits [*]'s notes for the vender meeting that took place in August 2005.245
              The notes present detailed data on volume and prices of each of the competitors and
              correspond to some of the data presented by the e-mail from [*] above (see recital
              210).

     212.     [*] also provides an internal e-mail dated 26 August 2005 from [*] to [*], entitled
              "marketing report '05 Aug24".246 The attachment to the e-mail reads as follows:
              "According to updated [*] internal information, MNT demand in Sep is still strong
              same with Aug. In 19", they think demand in Q4 can be the same with Q3 due to [*]
              reduction in 19" output and extra new year demand in China. So they try to keep or
              just a little bit drop in Sep pricing. In 17", the price around the average will most be
              kept and raise the lower price to the average in Sep.".

     213.     [*] provides an internal e-mail dated 2 September 2005 from [*] to [*].247 The e-mail
              concerns a phone call with [*] concerning [*] September pricing. In the relevant part,
              the e-mail reads as follows: "The following is what we agreed upon in a phone
              conversation. (estimates)[…] [*]'s projected estimates (August)15.0: [*] at $[*]
              ($[*], September); 17.0: [*] at $[*] ($[*], September no less than $[*]); 19.0: [*] at
              $[*] (stay, September might reduce $[*]); 20.1: [*] at $[*] (stay for September);

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             [*]
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             [*]specifies that a meeting took place in the Rose Garden Café, Taipei. [*] also submits a document
             showing that business expenses were incurred for a meeting on 4 August 2005 ([*]).
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              23W: [*] at $[*] (stay but probably reduce) A's projected estimates (price only) 17.0:
              $[*] (August), suggested $[*] (September); 19.0 (TN): $[*] (August), September stay;
              19.0 (MVA): $[*] (August), September stay; These are the numbers we project. The
              DOJ is vigilant for any suspicious acts, so you must never spread this information
              and source to others".

     214.     On 6 September 2005, a Crystal Meeting took place in the Rose Garden Café, Taipei.
              This is evidenced by an internal e-mail from [*] ([*]) sent to [*] and [*] ([*]) on
              7 September 2005 and forwarded by [*] ([*]) to [*] ([*]) and [*] ([*]) on 9
              September 2005.248 Participants were AUO ([*]), CMO ([*]), CPT ([*]), Hannstar
              ([*]), Samsung ([*]) and LPL ([*]). The e-mail from [*] presents the minutes of the
              Crystal Meeting in September 2005. The minutes show detailed discussion on
              capacity allocation, fab loading, total output and capacity, capacity expansion plans,
              input shortage issues, pricing, pricing intentions and expectations. In the relevant
              passages, the following is written: "[*] Price: NB: Average price increase $[*];
              15.4": $[*] (Aug), try to increase $[*]in September; TV: >30" remain flat in August;
              <30" increase a bit [*]: Price MNT: 15": $[*], increase $[*] in August; 17": $[*],
              increase $[*] NB: […]12.1W: $[*]; 15.4":$[*];14"(4:3):$ [*]; 14"W:$ [*] (produce
              in Gen.4); 15": $[*]; TV: 32": $[*] (Gen. 4.5 & Gen. 6); Customer: [*] etc.[…] [*]
              PriceTV: panel price will not decline in 3Q, but in 4Q. 23":$[*] in September;
              32":$[*] in September (for [*]), and project to be $[*] in year-end; 40":$[*] in
              September, and project to be $[*] in year-end; [*] design-in 40" of [*] panel; NB:
              14.1" $[*]; 14W $[*]; 15" $[*]; 17W $[*]; MNT: 17" $[*]; 19" $[*] (TN) $[*] (VA)".
              The e-mail also presents two tables on global demand forecast for 2006 and on panel
              makers' sales target for 2005-2006 for NBs, MNTs and TVs concerning [*]. The
              meeting is confirmed by [*].249

     215.     [*] also confirms the meeting of 6 September 2005, at the Rose Garden Café. [*]
              provides copies of the business cards of certain participants at the meeting as well as
              [*]'s notes on the meeting. The notes largely correspond to the data contained in the
              minutes of [*] concerning the meeting (see recital 214).250

     216.     [*] also submits [*]'s notes for the vender meeting that took place in September
              2005.251 The notes present detailed data on volume and prices of each of the
              competitors and correspond to some of the data presented by the e-mail of [*] above
              (recital 214). The notes also present the prices of [*] for the month of September
              2005.

     217.     On 6 October 2005, a Crystal Meeting took place. This is evidenced in a meeting
              report (most probably drafted by [*] — see recital 212) submitted by [*].252
              Participants were AUO ([*]), CMO ([*]), CPT ([*]), Hannstar ([*]), Samsung ([*])
              and LPL ([*]). The minutes show detailed discussion on capacity allocation, fab
              loading, total output and capacity, capacity expansion plans, input shortage issues,

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             [*] also submits a document showing that business expenses were incurred for a meeting on 6
             September 2005, [*]
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              pricing, pricing intentions and expectations. In the relevant passages, the minutes
              convey the following: "[*]: […] Price: 19W: $[*] (19W price $[*] less than
              19")[…] [*]: […] Price: MNT: 15": $[*], increase $[*] in August; 17":$[*],
              decrease $[*]; NB: 15.4":$[*] (150 nits); 15.4":$[*] (220 nits); Keep increase $[*]
              for 15.4" in November; TV: 32": $[*]; Customer: [*], China local makers…etc.[…]
              [*]: […] 19" Price: [*]: $[*] (12 ms); [*]: $[*] (8 ms); [*] (8ms); 2006 price
              forecast: 19" could be $[*]; 17" could be $[*]; 15" could be below $[*] […] [*]:
              Price: TV: panel price will not decline in 3Q, but in 4Q. 32":$[*] in Oct; 40": $[*] in
              Oct; [*] design-in 40" of [*] panel; NB: ASP $[*]" (non-glare): $[*]; 15.4" (glare):
              $[*]; MNT: 17" and 19" shipment decrease in September; 17":$[*]; 19":$[*] (TN)
              $[*] (VA); 20" (4:3): $[*]; 20"W:$ [*]; 21"W: $[*] […]". The report also contains
              two tables on global demand forecast for 2006 and on panel makers' sales target for
              2005-2006 for notebooks, monitors and TVs concerning [*]. The meeting is
              confirmed by [*].253

     218.     [*] also submitted its notes taken at the 6 October 2005 meeting. The note contains a
              table comparing production plans for year 2005 and 2006 for NB, FPM and TV
              panels. A second table contains detailed production plans for FPM marker for eight
              different panel sizes for October. [*] is reported to state that "G5 share's production
              capacity (originally 17") is switched to produce TV and NB". Similarly, [*]reports
              that "MNT had a decrease of more than [*] in November comparing to October,
              mainly was because of switching to production of TV." [*] and [*] also report about
              capacity reallocation. The note ends with a table presenting the prices charged by the
              participants for different panels254 for [*],[*] The price differences, with one
              exception are USD [*] or less.255 [*] also confirms the meeting of 6 October 2005, at
              the Rose Garden Café. [*] provides copies of the business cards of certain
              participants at the meeting as well as [*]'s notes on the meeting.256

     219.     [*] also submits [*]'s notes for the vender meeting that took place in October 2005.257
              The notes contain some data corresponding to those contained in [*]'s minutes of that
              meeting (see recital 217).

     220.     [*] submits258 that on 4 November 2005, an operational meeting took place at the
              Rose House Café, Taipei. Attendees were CMO ([*]), CPT ([*]), HSD ([*]), SS ([*])
              and LPL ([*]).[*]'s evidence consists of a meeting report (most probably drafted by
              [*]). The report presents [*]'s volumes and capacities for TVs, MNTs and NBs. It
              presents [*]'s prices for different sizes of MNTs, TVs and NBs indicating that it
              intends to "keep increase $[*] for 15.4" in November". It also refers to [*] 2006 price
              forecasts noting that concerning its 19"W products "price strategy will follow [*]'s
              19W". The minutes also present [*] prices for TVs, NBs and MNTs for November.



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             [*] states that a meeting took place on 6 October 2005 in the Rose Garden Café, Taipei. [*] also submits
             a document showing that business expenses were incurred for a meeting on 6 October 2005.
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             15", 17", 17"VA, 17"TN, 19", 19"VA, 19"TN, 20"VA, 20"UXGA, 20"W, 20.1"W, 21", 23"W, 24"W
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     221.     [*] also submits [*]'s notes for the vender meeting that took place in November
              2005.259 The notes contain figures concerning [*]. Some of the data correspond to
              those contained in [*]'s minutes of that meeting (recital 220).

     222.     On 6 December 2005, a Crystal Meeting took place. This is evidenced in a meeting
              report (most probably drafted by [*]) submitted by [*].260 According to the report,
              attendees were AUO ([*]), CMO ([*]), CPT ([*]), HSD ([*]), SS ([*]) and LPL ([*]).
              The minutes show detailed discussion on capacity allocation, fab loading, fab status,
              total output and capacity, capacity expansion plans and input shortage issues. In the
              relevant passages, the minutes convey the following concerning prices: " [*]: 19"W
              monitor Market respond is very good. Price is $[*]. Customer: [*] ([*], [*]),[*]
              […][*]: […] 19"W […]; Price strategy will follow [*]".

     223.     [*] also submitted a note on the 6 December meeting prepared on the following day.
              According to the notes the parties discussed production and sales status for October
              and November, with a special focus on TV panels. Fab capacities were also
              discussed, and the note contains a detailed table on the monthly input status for new
              generation line for each panel maker until March 2006. [*] is reported to state that
              "G5 share's production capacity (originally 17") is switched to produce TV and NB".
              Similarly, [*] reports that "MNT had a decrease of more than [*] in November
              comparing to October, mainly was because of switching to production of TV." [*]
              and [*] also report about capacity reallocation.261 The meeting is confirmed by [*].262

              2006

     224.     According to [*], on 6 January 2006, an operational meeting took place. Participants
              were Samsung ([*]) AUO ([*]), LG ([*]), CMO ([*]), CPT ([*]) and Hannstar
              ([*]).263 The location of the meeting was the Tsun-Shue Tang Teahouse in Taipei,
              Taiwan.

     225.     [*] also submitted the minutes of a meeting that took place in January 2006.264 The
              participants coincide with those submitted by [*] (Samsung Taiwan, AUO, CMO,
              CPT, HSD and LPL). The minutes report on discussions on market strategy,
              shipment plans, prices and future prices. As regards prices, the minutes read: "[*]:
              […][…]Put 19W price closed to [*]'s, $[*], but the rumor of '$[*]' quotation is
              wrong.[…] 2. [*] […] 5) Short-term market view […] – Considering 19W as [*] push
              19W market with low price 3. [*] […] 5) Short-term market view […]-Reference
              price for 22W MNT(TN) is $[*] and 19W is $[*] 4. [*] […] 5) Short-term market
              view […] Target price of 20W(TN) is $[*] in Jan and finally plan of +$[*] gap
              against 19W 5. [*] […] 5) Short-term market view […] – For 19W(5ms), [*] is

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             [*] states that its statement is based on [*] memory. [*] also submits a document showing that business
             expenses were incurred for a meeting on 6 December 2005, [*]. According to [*], the attendees were [*]
             and [*] (AUO), [*] (Samsung), [*] (LPL), [*] and [*] (CMO), [*] and [*] (CPT), [*] and [*] (Hannstar).
             The meeting took place in the Gan-Du Yuan Tea House, Taipei.
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               following [*] or even sacrifice". A table is attached to the minutes, concerning the
               December shipment result in very detailed figures for the six competitors for various
               models of TV, MNT, NBPC and for the months of November, December and
               January. With regard to the vendor meeting in January 2006, [*] submits the
               contemporaneous notes of [*].265 The notes show discussion on financial results,
               target prices, sales targets, optimal price difference between product categories and
               pricing strategies. [*]is noted to state that concerning 19"W there is "no need to have
               price battle".

     226.      [*] also confirms the meeting submitting the notes taken by its employees.266 The
               notes start with a table containing output information of the other companies for
               panels of size between 15" and 27"W. According to the notes the parties shared
               information on capacity and capacity planning and price strategy in terms of price
               difference to be kept between different panel sizes. The notes contain another table
               as well, indicating prices charged in January for different panel sizes between 15"
               and 30"W by the other participants for [*] and [*]. The table is supplemented with
               the following remarks: "[[*]] price to [*] has already deducted a [*] rebate amount.
               [*] operates with actual prices/invoice prices, which was also direct purchase. [[*]’s
               price to [*] for January has yet to be discussed. Will first make the delivery using the
               price of December, and then will adjust the amount back to make up for the price
               differences by the end of the month. [*]’s 17” price to [*] was an interim price,
               which had been discussed at the beginning of the month in Korea; the final price will
               be further discussed and resolved at the end of the month".

     227.      Similarly as in recital 225, [*] submitted a note containing the February 2006
               summary of information with respect to competitors.267 As also in recital 225, the
               note refers to the shipment results in January 2006, capacities, inventories, pricing
               and customers covering TVs, MNTs and NBPCs for [*]. On several occasions, the
               note makes reference to cost levels, plans on future capacity increase and capacity
               allocation. The parties also discussed expected demand for certain products. As [*]
               confirmed in its reply to a request for information of 2 April 2007, the last
               multilateral meeting took place in February 2006.268 The document referred to is
               without doubt the minutes of that meeting.


     5.        APPLICATION OF ARTICLE 101 OF THE TREATY AND ARTICLE 53 OF THE EEA
               AGREEMENT

     5.1.      Relationship between the Treaty and the EEA Agreement

     228.      The arrangements described in Section 4 applied at world-wide level covering thus
               the entire EEA territory. They were therefore liable to affect competition in the
               whole of the internal market and the territory covered by the EEA Agreement.



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     229.      Insofar as the arrangements affected competition in the internal market and trade
               between Member States, Article 101 of the Treaty is applicable. Article 53 of the
               EEA Agreement is applicable insofar as the arrangements affected competition in the
               territory covered by that Agreement and trade between the Contracting Parties to that
               Agreement.

     5.2.      Jurisdiction

     5.2.1.    Jurisdiction over undertakings outside the Union

     230.      The application by the Union of its competition rules is governed by the territoriality
               principle as universally recognised principle of international law. In this respect, the
               Court of Justice established in the Woodpulp case that the decisive factor in the
               determination of the applicability of Article 101 of the Treaty in cases where the
               participants of a cartel are seated outside the Union is whether the agreement,
               decision or concerted practice was implemented within the Union.269 More
               specifically, the Court of Justice observed in that case that the producers were selling
               directly into the Union and were engaging in price competition in order to win orders
               from the customers, thereby constituting competition within the Union. Therefore,
               stated the Court of Justice, where those producers concert on the prices to be charged
               to their customers in the Union and put that concertation into effect by selling at
               prices which are actually coordinated, they are taking part in a concertation which
               has the object and effect of restricting competition within the internal market within
               the meaning of Article 101 of the Treaty.270 The Court of Justice also stated that an
               infringement of Article 101, such as the conclusion of an agreement which has had
               the effect of restricting competition within the internal market, consists of conduct
               made up of two elements: the formation of the agreement, decision or concerted
               practice and the implementation thereof. If the applicability of the prohibitions laid
               down under Union competition law were made to depend on the place where the
               agreement, decision or concerted practice was formed, the result would be to give
               undertakings an easy means of evading those prohibitions. The decisive factor is
               therefore the place where the agreement, decision or concerted practice is
               implemented.271 Accordingly, the jurisdiction of the Union to apply its competition
               rules to such conduct is covered by the territoriality principle.272

     231.      The General Court supplemented that test by establishing that the rules of Union
               competition law (in that case, Council Regulation (EEC) No 4064/89 of 21
               December 1989 on the control of concentrations between undertakings273, the first
               Merger Regulation) are applicable if the conduct at issue has immediate, foreseeable
               and substantial effect in the Union.274



     269
              Joined Cases 89/85, 104/85, 114/85, 116/85, 117/85, and 125 to 129/85, Ahlström Osakeyhtiö and
              others v Commission ('Woodpulp I') [1988] ECR I-5193.
     270
              Ibid., paragraph 13.
     271
              Ibid., paragraph 16.
     272
              Ibid., paragraph 18.
     273
              OJ L 395, 30.12.1989, p. 1.
     274
              Case T-102/96, Gencor Ltd v Commission [1999] ECR II-753, paragraph 90.



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     5.2.2.    Arguments of the parties

     232.      AUO submits that the Commission should have established that the alleged
               agreement had an effect on sales to direct customers established in the Community
               and that those effects were substantial, immediate and foreseeable. In this respect, the
               Commission should disregard panels of the size of 10.4" and below, sales to non key
               customers, "captive" sales and sales among participating undertakings, sales to new
               Member States before their accession and sales to European destinations when the
               price negotiation took place with a non-European customer, if the seller did not know
               the final destination. It argues that it might not be possible to establish Union
               jurisdiction for the whole period of the infringement, that is when effects on the EEA
               market became substantial, foreseeable and immediate. It claims that in determining
               the existence of its jurisdiction, the Commission should have had regard to the fact
               that even in 2002 AUO sales to the EEA amounted to less than 1% of its total world-
               wide sales. Finally it claims that the Commission should have observed the principle
               of international comity which requires to refrain from applying domestic laws when
               doing so would impinge on the territorial sovereignty of another state.275

     233.      CMO claims the lack of sufficient nexus with Europe, as the Commission did not
               identify European customers, it did not establish that prices were directly negotiated
               with these customers or that those customers made their purchasing decisions in
               Europe and that prices were different in Europe than for other customers in the
               world. It also denies that competitor contacts would have taken place in Europe.
               CMO also states that the Commission failed to apply the implementation test
               deriving from the Woodpulp case. Even the less strict test advocated by Advocate
               General Darmon and endorsed by the General Court in Gencor for merger cases
               would not be met as no direct, foreseeable and substantial effects were shown in the
               SO. It claims that the Commission did not show that the agreement was implemented
               in the EEA and provides no factual basis for its alleged effects on the EEA.276

     234.      According to LPL, the SO did not clearly show that the implementation or the effect
               criteria were met and it points to characteristics of the market which, in its view,
               show that the agreement was not and could not have been implemented in the Union.
               It states that the Commission should apply the international legal principle of comity.
               It refers to the Recommendation of the Council of the OECD Concerning Co-
               operation between Member Countries on Anti-competitive Practices Affecting
               International Trade of July 1995 (1995 OECD recommendation),277 and inter alia the
               cooperation agreement concluded between the Union and the Republic of Korea
               concerning cooperation on anti-competitive activities (EU-Korea agreement).278 It
               states that the Commission should consult with other regulatory authorities to
               determine whether it is the best-placed authority to investigate the case.279



     275
              ID 2084, pp. 35-38.
     276
              ID 2062, pp. 25-29.
     277
              C (95) 130/Final.
     278
              Agreement between the European Community and the Government of the Republic of Korea
              concerning cooperation on anti-competitive activities, OJ L 202, 4.8.2009, p. 36.
     279
              [*]



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     5.2.3.    Application in this case

     235.      In this case, it can be established that the agreements related to the world-wide sales
               of the LCD panels, without geographical limitations, affecting prices globally. This
               is clear from the fact that in most cases no such limitations were applied by the
               parties during their discussions on panel types and sizes in general. The existence of
               a global market and global discussions is also explicitly confirmed by [*] and [*],
               while [*] do not deny that factual statement in the SO.280 It was also shown in
               Section 4 that when the discussions related to specific customers, those customers
               were from different parts of the world, including Europe, or were themselves global
               customers (see recitals 107, 115, 124, 154, 168, 187, 192, 200, 214, 217, 218, 222
               and 226). Within the global framework, the agreement therefore also related to direct
               sales of panels to undertakings seated in the EEA. As is clear from recitals 43, 51 and
               52, Europe was also targeted by substantial Indirect Sales (in the sense of recital 51),
               in which the parties had a very high joint market share.

     236.      In line with the criteria set by the Court of Justice in the Woodpulp case, the
               Commission has jurisdiction to establish an infringement in this case where LCD
               suppliers established in third countries concerted on the prices to be charged to their
               customers in the EEA and put that concertation into effect by selling to those
               customers at prices which were actually coordinated. Even if the cartel arrangements
               were formed outside the EEA, the cartel participants, through their direct sales into
               the EEA, implemented their agreements and concerted practices within such
               geographic area.

     237.      Even if it might be true that the main focus of the agreement was not Europe, as no
               specific area of the world was particularly focused upon, contemporaneous evidence
               shows that beside explicitly discussing some of their main customers in Europe such
               as [*], the parties were analysing and referring to the effects of the implemented
               agreement on the European market and therefore sought their agreement to be
               implemented and have effects also within the EEA (see for example recital 94). That
               implementation took place through the direct sales of LCD panels and of transformed
               products in the EEA (that is, the Direct EEA Sales and the Direct EEA Sales
               Through Transformed Products), even if the negotiation of the price took place
               outside the EEA.

     238.      Based on the sale of the LCD panels to the EEA in the form of Direct EEA Sales and
               Direct EEA Sales Through Transformed Products, it can thus also be established that
               the infringement had foreseeable, immediate and substantial effect in the Union in
               the sense of the Gencor case law.281 First, the infringement immediately affected the
               EEA market since the agreements and concerted practices directly influenced the
               setting of price for LCD panels delivered directly or through transformed products to
               European customers. In this case the effects on the market of the price fixing
               agreements have been even more immediate as the monthly fixing of prices were
               prone to result in effects within a month or, at the latest, with the selling out of
               existing customer stocks. Secondly, the effect on the European market was

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     281
              Case T-102/96, paragraph 90.



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              foreseeable as the price rise or the maintenance of higher prices and the reduction of
              output were to have evident consequences on the conditions of competition at the
              downstream level for all IT and TV applications. Since the undertakings participated
              in a global cartel with which they intended to cover customers in Europe and which
              was implemented through direct sales of LCD panels and transformed products in the
              EEA, it is irrelevant whether the suppliers knew of the destination of specific orders,
              whether sales into the EEA were made to key customers actually named during the
              cartel meetings or whether the price negotiations with individual customers took
              place within or outside the EEA. The immediate and foreseeable effect on the EEA
              market were also present in the case of integrated suppliers like Samsung. As
              confirmed by the General Court in Cartonboard, even if the higher price resulting
              from a cartel is not always or not in its entirety passed on to intra-group customers,
              the competitive advantage deriving from this positive discrimination does
              foreseeably influence competition on the market.282 Intra-group sales of LCD panels
              – in as far as they ended up into transformed products sold in the EEA - are therefore
              to be taken into account, just like intra-cartel sales in the EEA. Finally, the effect of
              the agreement were substantial due to the seriousness of the infringement, its long
              duration and the role of the parties on the European market for final and intermediate
              products. In this assessment sales of panels of non-IT or TV application and sales
              outside the EEA are not involved.

     239.     As to AUO's argument concerning the low level of EEA sales as compared to its
              overall sales in the first years of the infringement, it should be noted that, for the
              purpose of establishing jurisdiction, all that matters is whether the cartel as a whole
              was implemented and had immediate, foreseeable and substantial effects in the EEA.
              It is irrelevant whether those effects were limited for a given party, in a given period
              of time, as compared to the world-wide effects of the cartel. In any event, Section 2.2
              shows that the parties had significant Direct EEA Sales and Direct EEA Sales
              Through Transformed Products.

     240.     Concerning the arguments of AUO and LPL on the issue of international comity, the
              procedure of the Commission is by no means in breach of the obligations deriving
              from the international law principle of comity, or of the different agreements
              enumerated by LPL or the 1995 OECD recommendation. The Korean competition
              authority was duly consulted during the administrative procedure and did not claim
              that any of the important interests mentioned in Article 5 of the EU-Korea agreement
              was affected. Moreover, both the 1995 OECD recommendation and the EU-Korea
              agreement emphasise the competition authorities' full freedom to adopt decisions in
              competition cases within their jurisdiction.

     241.     Though the parties do not clearly specify how international comity would be affected
              by this decision, both the establishment of jurisdiction and the determination of the
              fine are based on the implementation and effects of the infringement within the EEA.
              As the General Court has confirmed in the Tokai Carbon case, the assessment of a




     282
             Case T-304/94, Europa Carton AG v Commission [1998] ECR 869, paragraphs 111-131.



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               cartel's application and effects within the EEA clearly belongs to the jurisdiction of
               the Commission.283

     242.      Concerning the argument of AUO that jurisdiction might not be established from the
               very beginning of the infringement, it should first be noted that the parties, including
               AUO, had direct sales in the EEA as of October 2001 and that AUO has provided no
               argument to put into doubt the world-wide scope of the cartel as of October 2001.

     243.      In conclusion, the Commission has jurisdiction to apply both Article 101 of the
               Treaty and Article 53 of the EEA Agreement (on the basis of Article 56 of the EEA
               Agreement) to this case.

     5.3.      Application of Article 101(1) of the Treaty and Article 53(1) of the EEA
               Agreement

     244.      Article 101(1) of the Treaty prohibits as incompatible with the internal market all
               agreements between undertakings or concerted practices which may affect trade
               between Member States and which have as their object or effect the prevention,
               restriction or distortion of competition within the internal market, and in particular
               those which directly or indirectly fix purchase or selling prices or any other trading
               conditions, limit or control production and markets, or share markets or sources of
               supply.

     245.      Article 53(1) of the EEA Agreement (which is modelled on Article 101(1) of the
               Treaty) contains a similar prohibition. However the reference in Article 101(1) to
               trade “between Member States” is replaced by a reference to trade “between
               contracting parties” and the reference to competition “within the internal market” is
               replaced by a reference to competition “within the territory covered by the … [EEA]
               Agreement”.

     5.3.1.    Agreements and concerted practices

     5.3.1.1. Principles

     246.      Article 101(1) the Treaty and Article 53(1) of the EEA prohibit, among others,
               agreements between undertakings and concerted practices. An agreement can be
               said to exist when the parties adhere to a common plan which limits or is likely to
               limit their individual commercial conduct by determining the lines of their mutual
               action or abstention from action in the market. It does not have to be made in writing.
               No formalities are necessary, and no contractual sanctions or enforcement measures
               are required. The fact of agreement may be express or implicit in the behaviour of
               the parties. Furthermore, it is not necessary, in order for there to be an infringement
               of Article 101 of the Treaty, for the participants to have agreed in advance upon a
               comprehensive common plan. The concept of agreement in Article 101(1) of the




     283
              Case T-236/01, T-239/01, T-244/01/ T-246/01, T-251/01 and T-252/01, Tokai Carbon and others v
              Commission [2004] ECR II-1181, paragraph 143.



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              Treaty would apply to the inchoate understandings and partial and conditional
              agreements in the bargaining process which lead up to the definitive agreement.284

     247.     In its judgment in the PVC II case285, the General Court stated that “it is well
              established in the case law that for there to be an agreement within the meaning of
              Article [101(1) EC] of the Treaty it is sufficient for the undertakings to have
              expressed their joint intention to behave on the market in a certain way.”286

     248.     Although Article 101(1) of the Treaty and Article 53(1) of the EEA Agreement draw
              a distinction between the concept of “concerted practices” and “agreements between
              undertakings”, the object is to bring within the prohibition of those articles a form of
              co-ordination between undertakings by which, without having reached the stage
              where an agreement properly so-called has been concluded, they knowingly
              substitute practical co-operation between them for the risks of competition.287

     249.     The criteria of co-ordination and co-operation laid down by the case law of the
              Courts of the Union, far from requiring the elaboration of an actual plan, must be
              understood in the light of the concept inherent in the provisions of the Treaty relating
              to competition, according to which each economic operator must determine
              independently the commercial policy which it intends to adopt in the internal market.
              Although that requirement of independence does not deprive undertakings of the
              right to adapt themselves intelligently to the existing or anticipated conduct of their
              competitors, it strictly precludes any direct or indirect contact between such
              operators the object or effect of which whereof is either to influence the conduct on
              the market of an actual or potential competitor or to disclose to such a competitor the
              course of conduct which they themselves have decided to adopt or contemplate
              adopting on the market.288

     250.     While it is correct to say that the requirement of independence does not deprive
              economic operators of the right to adapt themselves intelligently to the existing or
              anticipated conduct of their competitors, it does, none the less, strictly preclude any
              direct or indirect contact between such operators by which an undertaking may
              influence the conduct on the market of its actual or potential competitors or disclose
              to them its decisions or intentions concerning its own conduct on the market where
              the object or effect of such contact is to create conditions of competition which do
              not correspond to the normal conditions of the market in question, regard being had



     284
             Case T-9/99, HFB and others v. Commission [1999] ECR II-1487, paragraphs 196 and 207.
     285
             Joined Cases T-305/94 etc., Limburgse Vinyl Maatschappij N.V. and others v Commission (PVC II)
             [1999] ECR II-931, paragraph 715.
     286
             The case law of the Court of Justice and the General Court in relation to the interpretation of Article
             101 of the Treaty applies equally to Article 53 of the EEA Agreement. See paragraphs No 4 and 15 as
             well as Article 6 of the EEA Agreement, Article 3(2) of the Agreement between the EFTA States on the
             establishment of a surveillance authority and a Court of Justice, as well as Case E-1/94 of 16.12.1994,
             paragraphs 32-35. References in this Decision to Article 101 of the Treaty therefore apply also to
             Article 53 EEA.
     287
             Case 48/69, Imperial Chemical Industries v Commission [1972] ECR 619, paragraph 64.
     288
             Joined Cases 40 to 48, 50, 54 to 56, 111, 113 and 114/73, Suiker Unie and others v Commission [1975]
             ECR 1663, paragraphs 173 and 174.



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              to the nature of the products or services offered, the size and number of the
              undertakings involved and the volume of that market.289

     251.     Thus, conduct may fall under Article 101(1) of the Treaty as a concerted practice
              even where the parties have not explicitly subscribed to a common plan defining
              their action in the market but knowingly adopt or adhere to collusive devices which
              facilitate the co-ordination of their commercial behaviour.290 Furthermore, the
              process of negotiation and preparation culminating effectively in the adoption of an
              overall plan to regulate the market may well also (depending on the circumstances)
              be correctly characterised as a concerted practice.

     252.     Although in terms of Article 101(1) of the Treaty the concept of a concerted practice
              requires not only concertation but also conduct on the market resulting from the
              concertation and having a causal connection with it, it may be presumed, subject to
              proof to the contrary, that undertakings taking part in such a concertation and
              remaining active in the market will take account of the information exchanged with
              competitors in determining their own conduct on the market, all the more so when
              the concertation occurs on a regular basis and over a long period. Such a concerted
              practice is caught by Article 101(1) of the Treaty even in the absence of anti-
              competitive effects on the market.291

     253.     Moreover, it is established case law that the exchange, between undertakings, in
              pursuance of a cartel falling under Article 101(1) of the Treaty, of information
              concerning their respective deliveries, which not only covers deliveries already made
              but is intended to facilitate constant monitoring of current deliveries in order to
              ensure that the cartel is sufficiently effective, constitutes a concerted practice within
              the meaning of that article.292

     254.     In the case of a complex infringement of long duration, it is not necessary for the
              Commission to characterise the conduct as exclusively one or other of those forms of
              illegal behaviour. The concepts of agreement and concerted practice are fluid and
              may overlap. The anti-competitive behaviour may well be varied from time to time,
              or its mechanisms adapted or strengthened to take account of new developments.
              Indeed, it may not even be possible to make such a distinction, as an infringement
              may present simultaneously the characteristics of each form of prohibited conduct,
              while when considered in isolation some of its manifestations could accurately be
              described as one rather than the other. It would, however, be artificial analytically to
              sub-divide what is clearly a continuing common enterprise having one and the same
              overall objective into several different forms of infringement. A cartel may therefore
              be an agreement and a concerted practice at the same time. Article 101 of the Treaty



     289
             Case C-8/08, T-Mobile Netherlands and Others [2009] ECR I-4529, paragraph 33.
     290
             See also Case T-7/89, Hercules v Commission [1991] ECR II-1711, paragraphs 255-261.
     291
             See also Case C-199/92 P, Hüls v Commission, [1999] ECR I-4287, paragraphs 158-167, Case C-8/08,
             T-Mobile Netherlands and others, [2009] ECR I-4529 paragraph 51.
     292
             See Case T-147/89, Société Métallurgique de Normandie v Commission [1995] ECR II-1057 paragraph
             3, Case T-148/89, Trefilunion v Commission [1995] ECR II-1063, paragraph 72 and Case T-151/89,
             Société des treillis et panneaux soudés v Commission [1995] ECR II-1191, paragraph 3.



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              lays down no specific category for a complex infringement of the type involved in
              this case.293

     255.     In its judgement in PVC II,294 the General Court stated that “[i]n the context of a
              complex infringement which involves many producers seeking over a number of
              years to regulate the market between them, the Commission cannot be expected to
              classify the infringement precisely, for each undertaking and for any given moment,
              as in any event both those forms of infringement are covered by Article [101 of the
              Treaty]”.

     256.     An agreement for the purposes of Article 101(1) of the Treaty does not require the
              same certainty as would be necessary for the enforcement of a commercial contract
              at civil law. Moreover, in the case of a complex cartel of long duration, the term
              “agreement” can properly be applied not only to any overall plan or to the terms
              expressly agreed but also to the implementation of what has been agreed on the basis
              of the same mechanisms and in pursuance of the same common purpose. As the
              Court of Justice has pointed out, it follows from the express terms of Article 101(1)
              of the Treaty that agreement may consist not only in an isolated act but also in a
              series of acts or a course of conduct.295

     257.     The organisation of meetings or providing services relating to anti-competitive
              arrangements296 may also be prohibited under certain conditions according to the
              case law of the General Court. The General Court states that "it is sufficient for the
              Commission to show that the undertaking concerned attended meetings at which
              anti-competitive agreements were concluded" and that "the Commission must prove
              that the undertaking intended, through its own conduct, to contribute to the common
              objectives pursued by the participants as a whole and that it was aware of the
              substantive conduct planned or implemented by other undertakings in pursuance of
              those objectives, or that it could reasonably have foreseen that conduct and that it
              was ready to accept the attendant risk".297

     258.     It is also well-settled case law that “the fact that an undertaking does not abide by
              the outcome of meetings which have a manifestly anti-competitive purpose is not
              such as to relieve it of full responsibility for the fact that it participated in the cartel,
              if it has not publicly distanced itself from what was agreed in the meetings".298 Such
              distancing should take the form of an announcement by the company, for instance,


     293
             Case T-7/89, Hercules v Commission, paragraph 264.
     294
             Joined Cases T-305/94, T-306/94, T-307/94, T-313/94 to T-316/94, T-318/94, T-325/94, T-328/94, T-
             329/94 and T-335/94, Limburgse Vinyl Maatschappij N.V. and others v Commission (PVC II) [1999]
             ECR II-931, paragraph 696.
     295
             Case C-49/92 P, Commission v Anic Partecipazioni SpA [1999] ECR I-4125, paragraph 81.
     296
             Such as checking deviations and monitoring compliance facilitating the implementation of the
             agreements.
     297
             Case T-99/04, AC Treuhand v Commission, [2008] ECR II-1501, paragraphs 130.
     298
             See, inter alia, Case T-141/89, Tréfileurope Sales v Commission, [1995] ECR II-791, paragraph 85;
             Case T-7/89, Hercules Chemicals v Commission [1991] ECR II-1711, paragraph 232; and Joined Cases
             T-25 to 26/95, T-30 to 32/95, T-34 to 39/95, T-42 to 46/95, T-48/95, T-50 to 65/95, T-68 to 71/95, T-87
             to 88/95 and T-103 to 104/95, Cimenteries CBR and Others v Commission ("Cement") [2000] ECR II-
             491, paragraph 1389.



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              that it will take no further part in the meetings (and therefore does not wish to be
              invited to them).

     5.3.1.2. Arguments of the parties

     259.     AUO submits in its reply to the SO that the Commission does not prove that the
              parties actually reached an agreement while meeting and discussing prices and
              alleges that the agreements were not put into practice, meaning that they did not exist
              at all. According to AUO, suppliers viewed the meetings as an opportunity to gain an
              insight into market trends whilst giving very little information away. The meetings
              constituted one source, among many, that AUO used to gather information solely for
              the purpose of making informed unilateral pricing decisions. Despite the exchange of
              information, the parties still competed intensively. It further adds that the information
              exchanged was even unsuitable for an agreement on prices or output limitation. AUO
              also states that the evidence submitted by the immunity applicant Samsung is
              incompatible with a finding that there was an agreement to fix prices. It claims that
              LPL, the first leniency applicant has also questioned the ability of the participants to
              reach an agreement on prices. AUO claims that the Commission should have regard
              to the changing nature of the agreement as of May 2005 when CEO and managerial
              level meetings were replaced by the meetings of low level employees, focusing
              primarily on shipment information and general analysis of market conditions, that is
              information utterly incapable of reducing uncertainties that could potentially have
              affected competition. Finally it submits that evidence of effective competition on the
              market is incompatible with the finding of an agreement to fix prices.299

     260.     Hannstar submits that all leniency applicants made statements which contradict the
              conclusions drawn by the Commission and even contain internal contradictions that
              undermine the reliability of the contemporaneous evidence submitted by them. The
              objective of the meetings was only to exchange information, most of which was non-
              sensitive and non-confidential. It also claims that it continued normal pricing
              behaviour on the market.300

     5.3.1.3. Application in this case

     261.     The facts described in Section 4 of this Decision demonstrate that the undertakings to
              which this Decision is addressed were involved in collusive activities concerning
              LCD panels for IT and TV applications.

     262.     As already indicated in recital 98, the objective of the anti-competitive arrangements
              was to increase and maintain prices for the LCD panels. The control of prices took
              place at two levels, that is, directly by agreeing on prices,301 and indirectly by
              adopting a common understanding of the market situation and coordinating future
              market behaviour concerning the parameters which determine prices such as
              production, capacity, shipments and demand.



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             This was achieved through price increases, price ranges, minimum and/or target prices.



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     263.   The control of those price parameters ensured the future sustainability of the price
            fixing that was agreed upon in the first place. More specifically, in the course of the
            Crystal Meetings, the participants established a common understanding of the past,
            present and future situation of the market (prices, demand, production and capacity)
            thereby deciding together on a coordinated future pricing strategy.

     264.   The adoption of a common understanding on the past and present situation of the
            market as well as decisions on the common future strategy took place on a regular,
            continuous, see monthly basis. In this context, the regularity of the meetings was
            critical. First, in order to be able to decide on a common future pricing strategy, a
            continuous common understanding on the past and present market situation had to be
            established. Second, that regularity served as a means of monitoring compliance with
            all the collusive arrangements concluded.

     265.   The undertakings concerned thus clearly adhered to a common plan which limited
            their individual commercial conduct by determining the lines of their mutual action
            or abstention from action in the market. Their behaviour had therefore all the
            characteristics of an "agreement" or "concerted practice" within the meaning of
            Article 101(1) of the Treaty.

     266.   As to price fixing, the participants made agreements jointly to fix prices. They agreed
            upon prices in the form of price increases, price ranges and/or minimum prices, and
            price maintenance (see for instance recitals 76, 87, 103, 112, 113, 116, 122, 124, 128,
            129, 152, 153, 155, 159, 160, 164, 167, 179 and 206).

     267.   As part of the collusive scheme, the participants exchanged information and adopted
            a common understanding on the past and present market situation as well as on a
            future strategy covering prices, production, shipments and production capacity (see
            for instance recitals 86, 120, 128, 121, 147, 164, 165, 214 and 225). The information
            exchanged was sufficiently accurate (see recital 182).

     268.   The elements of the illicit arrangement aiming at the indirect fixing of prices and
            harmonisation of future market conduct could aptly be characterised as a concerted
            practice. Through those practices and the regular and continuous meetings and other
            contacts, the producers in question aimed and were able to monitor output levels
            (capacities, capacity allocation, fab construction and planned output), the applicable
            prices and price parameters in order to ensure that the price fixing arrangement was
            adequately put into effect (see recital 264, 81, 82, 96, 104 and 105). Parties reached a
            common understanding of the supply and demand situation, ensuring the adjustment
            of market strategies. Therefore even if the concerted practice consisted solely in the
            exchange of information upon which the parties based their unilateral conduct as
            AUO claims, it could not be considered lawful.

     269.   Concerning the alleged change in the nature of the meetings as from May 2005, it is
            correct that, in reaction to a fear of being discovered (see recital 200 referring to
            possible customer awareness, recital 210, referring to the need to keep the meetings
            confidential and recital 213 referring to the Department of Justice suspicious of such
            anti-competitive contacts), the meetings were "downsized" and lower level
            employees were sent to them. It is also correct that the contemporaneous notes of the



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              meetings no longer contain references to explicit prices that were agreed upon by all
              participants for general application. However, those changes in practice do not alter
              the nature of the meetings as a forum for the parties to continue their agreements
              and/or concerted practice. First of all, the parties deemed it necessary "due to the
              characteristics of the meeting, as before, [to] continue to keep their existence
              confidential" (see recital 210). Secondly, the characteristics of the monthly meetings,
              hosted by the participants in turn, stayed in place. Thirdly, and most importantly,
              until February 2006 the parties continued to discuss pricing, capacities, output and
              other market data as before. They still shared with their competitors their future price
              intentions and strategy, they continued to monitor by confronting the others with
              'market rumours' of lower prices for which a justification was expected (see recitals
              202 and 225 for Samsung and recital 207 for Hannstar), and bilateral contacts in
              between the meetings continued (see recitals 201, 212 and 213).

     270.     Concerning the alleged lack of implementation of the cartel arrangements, the
              continuation of normal pricing behaviour or the presence of market conditions
              excluding implementation of a cartel agreement, it should be recalled, first, that
              according to the case law, agreements with an anti-competitive object are illegal even
              if they are not implemented, or applied.302 Secondly, in this case the evidence shows
              that the parties were implementing the agreement (see recitals 91 and 92) and were
              closely following the other parties' implementation (see among others recitals 104,
              106 and 107). In the case of Hannstar, it can be established that although its market
              situation sometimes did not make it possible for it to fully apply the agreement (see
              recital 104) it normally strived and managed to follow it (see recital 151) or provided
              particular reasons or excuses if it departed from it (see recitals 104, 106 and 207), it
              complained that others did not follow it (see recital 103) and it was actively
              advocating the agreement (see recitals 115 and 138).

     271.     Concerning the alleged incompatibility with the conclusions of the Commission and
              the alleged contradictory nature of the evidence submitted and the statements made
              by [*] as a leniency applicant, it is to be noted that [*] [*]. The evidence submitted is
              confirmed by contemporaneous documents of [*], as immunity applicant, and [*]
              also confirm the conclusions of the Commission relating to the interpretation of these
              documents as evidence of anti-competitive collusion.303

     272.     In line with the above case law mentioned at Section 5.3.1.1, the behaviour of the
              undertakings concerned can be characterised as a complex infringement consisting of
              various actions which can be classified as either an agreement or a concerted
              practice, within which the competitors knowingly substituted practical co-operation
              between them for the risks of competition. Furthermore, the undertakings
              participating in such concertation have taken account of the information exchanged
              with competitors in determining their own conduct on the market, all the more so
              because the multilateral and bilateral concertation continued on a regular basis for
              more than four years. According to the case law, such a concerted practice is caught


     302
             Case 19/77, Miller v Commission [1978] ECR 131, paragraphs 7-10; and Case C-277/87, Sandoz v
             Commission [1990] ECR I-45, paragraph 3.
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               by Article 101(1) of the Treaty even in the absence of anti-competitive effects on the
               market.

     273.      In conclusion, the complex of infringements in this case presents all the
               characteristics of an agreement and/or a concerted practice in the sense of Article 101
               TFEU and Article 53 of the EEA Agreement.

     5.3.2.    Single, complex and continuous infringement

     5.3.2.1. Principles

     274.      A complex cartel may properly be viewed as a single and continuous infringement
               for the time frame in which it existed. The General Court points out, inter alia, in the
               Cement case that the concept of ‘single agreement’ or ‘single infringement’
               presupposes a complex of practices adopted by various parties in pursuit of a single
               anti-competitive economic aim.304 The agreement may well be varied from time to
               time, or its mechanisms adapted or strengthened to take account of new
               developments. The validity of the assessment is not affected by the possibility that
               one or more elements of a series of actions or of a continuous course of conduct
               could individually and in themselves constitute a violation of Article 101 of the
               Treaty.

     275.      It would be artificial to split up such continuous conduct, characterised by a single
               purpose, by treating it as consisting of several separate infringements, when what
               was involved was a single infringement which progressively would manifest itself in
               both agreements and concerted practices.

     276.      Although a cartel is a joint enterprise, each participant in the arrangement may play
               its own particular role. One or more may exercise a dominant role as ringleader(s).
               Internal conflicts and rivalries, or even cheating may even occur, but will not
               however prevent the arrangement from constituting an agreement/concerted practice
               for the purposes of Article 101 of the Treaty where there is a single common and
               continuing objective.

     277.      The mere fact that each participant in a cartel may play the role which is appropriate
               to its own specific circumstances does not exclude its responsibility for the
               infringement as a whole, including acts committed by other participants but which
               share the same unlawful purpose and the same anti-competitive effect. An
               undertaking which takes part in the common unlawful enterprise by actions which
               contribute to the realisation of the shared objective is equally responsible, for the
               whole period of its adherence to the common scheme, for the acts of the other
               participants pursuant to the same infringement. This is certainly the case where it is
               established that the undertaking in question was aware of the unlawful behaviour of




     304
              Joined Cases T-25 to 26/95, T-30 to 32/95, T-34 to 39/95, T-42 to 46/95, T-48/95, T-50 to 65/95, T-68
              to 71/95, T-87 to 88/95 and T-103 to 104/95, Cimenteries CBR and Others v Commission, ("Cement")
              ECR [2000] II-491, paragraph 3699.



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              the other participants or could have reasonably foreseen or been aware of them and
              was prepared to take the risk.305

     278.     Although Article 101 of the Treaty does not refer explicitly to the concept of single
              and continuous infringement, it is settled case law of the Court of Justice that “an
              undertaking may be held responsible for an overall cartel even though it is shown
              that it participated directly only in one or some of the constituent elements of that
              cartel, if it is shown that it knew, or must have known, that the collusion in which it
              participated was part of an overall plan and that the overall plan included all the
              constituent elements of the cartel”.306

     279.     The fact that an undertaking concerned did not participate directly in all the
              constituent elements of the overall cartel cannot relieve it of responsibility for the
              infringement of Article 101 of the Treaty. Such a circumstance may nevertheless be
              taken into account when assessing the seriousness of the infringement which it is
              found to have committed. Such a conclusion is not at odds with the principle that
              responsibility for such infringements is personal in nature, nor does it neglect
              individual analysis of the evidence adduced, in disregard of the applicable rules of
              evidence, or infringe the rights of defence of the undertakings involved.

     280.     In fact, as the Court of Justice stated in its judgement in Commission v Anic
              Partecipazioni,307 the agreements and concerted practices referred to in Article
              101(1) of the Treaty necessarily result from collaboration by several undertakings,
              who are all co-perpetrators of the infringement but whose participation can take
              different forms according, in particular, to the characteristics of the market concerned
              and the position of each undertaking on that market, the aims pursued and the means
              of implementation chosen or envisaged. It follows, as reiterated by the Court in the
              Cement cases, that an infringement of Article 101 may result not only from an
              isolated act but also from a series of acts or from a continuous conduct. That
              interpretation cannot be challenged on the ground that one or several elements of that
              series of acts or continuous conduct could also constitute in themselves and taken in
              isolation an infringement of Article 101 of the Treaty. When the different actions
              form part of an ‘overall plan’, because their identical object distorts competition
              within the internal market, the Commission is entitled to impute responsibility for
              those actions on the basis of participation in the infringement considered as a
              whole.308


     305
             Case C-49/92 P, Commission v Anic Partecipazioni [1999] ECR I-4125, paragraph 83.
     306
             Case T-295/94, Buchmann v Commission [1998] ECR II-813, paragraph 121, Case T-304/94, Europa
             Carton AG v Commission [1998] ECR II-869, paragraph 76, Case T-310/94, Gruber + Weber v
             Commission [1998] ECR II-1043, paragraph 140, Case T-311/94, Kartonfabriek de Eendracht v
             Commission [1998] ECR II-1129, paragraph 237, Case T-334/94, Sarrió v Commission [1998] ECR II-
             1439, paragraph 169, and Case T-348/94, Enso Española v Commission [1998] ECR II-1875, paragraph
             223. See also Case T-9/99, HFB Holding and others v Commission, [1999] ECR II-1487, paragraph
             231.
     307
             Case C-49/92 P, Commission v Anic Partecipazioni, [1999] ECR I-4125, paragraph 79.
     308
             Joined Cases C-204/00 P, 205/00 P, 211/00 P, 213/00 P, 217/00 P, 219/00 P, Aalborg Portland et al.
             [2004] ECR I-123, paragraph 258 See also Case C-49/92, Commission v Anic Partecipazioni, [1999]
             ECR I-4125, paragraphs 78-81, 83-85 and 203, and Case T-101/05 and 111/05, BASF and UCB v
             Commission [2007] ECR II-4949, paragraphs 159-161.



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     5.3.2.2. Arguments of the parties

     281.     CMO contends that the TV and IT segments constitute separate relevant markets and
              this divides the subject of the proceedings into two separate potential infringements.
              It states that on the TV segment no collusion amounting to an agreement took place
              due to the fact that meetings started affecting that segment only in late 2003 and
              discussions on TV panels were sporadic and superficial in nature. The parties had no
              incentive to collude on a dynamically developing market and differences with IT
              panels did not lend them for joint discussion on the same forum. Moreover, the SO
              did not reflect the attendance of personnel in charge of that segment and leading TV
              suppliers were not present at the meetings, while some companies present had
              virtually no TV production.309 Together with AUO, CMO also submits that the
              supplementary evidence provided by [*] after the SO does not merely corroborate the
              evidence included in the SO as the meetings to which it refers were not included in
              the SO. It therefore claims that those pieces of evidence cannot be taken into
              account.310

     282.     It is also appropriate to recall here the claim of AUO presented at recital 259
              according to which the Commission should have regard to the change in nature of the
              agreement as from May 2005.311

     5.3.2.3. Application in this case

     283.     In this case, the conduct in question constitutes one single, complex and continuous
              infringement of Article 101 of the Treaty and Article 53 of the EEA Agreement. The
              participating undertakings, Samsung, LPL, AUO, CMO, CPT and Hannstar engaged
              in a single, complex and continuous cartel infringement in respect of LCD panels for
              IT and TV applications by a series of linked and interacting efforts that lasted from
              5 October 2001 until February 2006, with the objective of increasing and maintaining
              prices of LCD panels for IT and TV applications at world-wide and EEA level.
              Throughout the period of the infringement those companies were competitors and
              were aware of the arrangements and the decisions taken which were implemented.

     284.     Furthermore, even though it is not necessary to show that the participants had agreed
              in advance upon a comprehensive common plan, the description of the overall
              scheme in Section 4 demonstrates that participants agreed upon such a
              comprehensive plan in their meetings and other contacts which were organised on a
              regular continuous basis. Price fixing312 and the adoption of a common
              understanding and future strategy on the parameters which determine prices such as
              production, capacity, shipments and demand together with a monitoring system to
              ensure compliance with the arrangements concluded were all parts of that overall
              plan. The common aim of the plan was to control prices for the world-wide and thus
              also European sales of LCD panels for IT and TV applications.



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             This was achieved through price increases, setting up of price ranges, minimum and/or target prices.



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     285.     The anti-competitive arrangements took place through multilateral and bilateral
              contacts.

     286.     Multilateral Crystal Meetings started on 5 October 2001 and continued until
              February 2006.313 As to the bilateral contacts, they continued uninterrupted in
              parallel throughout the duration of the Crystal Meetings.314

     287.     Furthermore, the type of the infringement, the lines of action and the organisation
              followed the same pattern throughout the years. It may appear that the modus
              operandi of the collusion changed overtime, but this is considered normal in a long-
              lasting cartel in order to adapt to changing circumstances, in this case the fear of
              being detected (see the references in recital 269). Price fixing and the control of price
              parameters, such as production remained prominent features of the anti-competitive
              arrangements from October 2001 until February 2006. The parties had contacts to
              enter into agreements and review their decisions on a regular basis, as well as to
              monitor their implementation. As indicated in recital 269, the change that occurred in
              May 2005 did not lead, for the reasons indicated in that recital, to a change in the
              nature of the meetings. Whilst the contemporaneous documents refer to
              "communicate market situation" (recital 202) or "summarise the production status"
              (recital 214), the parties continued to inform each other of their future prices and
              price strategy, current prices, price gaps applied between specific panel sizes,
              capacity, capacity allocation and reallocation among different applications, fab
              capacity, capacity of new fabs, volumes sold, supply and demand forecasts. They
              continued discussing specific customers and the prices applied.

     288.     It is clear in this case that though the discussions in the first year of the cartel were
              concentrated on those products which the parties were actively producing and
              selling, TV panels were in fact already involved in those discussions as of
              September 2002, when TV panel data from [*] were discussed (see recital 141). As
              more and more participants started TV production, they started to share their data:
              [*]'s in March 2003 (see recital 149), [*]'s in April 2003 (see recital 151). From then
              onwards, TV panels were systematically discussed at the same cartel meetings as IT
              panels. Participants starting TV panel production were already aware of the fact that
              TV panels had been discussed during previous meetings and even if they had not
              shared their TV data from the very beginning of their production, they benefited
              from the information provided by others. It also appears from the contemporaneous
              documents that the parties were able to reallocate capacities among the different
              panel applications to influence demand and thereby price (see for illustration recitals
              122, 154, 171, 187, 192 and 222). It is therefore clear that the parties followed the
              same objective, the same modus operandi with the involvement of the same
              undertakings within the framework of the same overall plan as was the case with the
              discussions on notebook and desktop monitor panels since 2001.


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             See recitals 76, 87, 102, 103, 106, 107, 110, 112, 113, , 116, 118, 121, 124, 127, 128, 131, 134, 136,
             139, 140, 141, 143, 144, 145, 146, 147, 150, 152, 153, 155, 157, 159, 160, 165, 167, 170, 171, 173, 174,
             176, 177, 178, 179, 182, 183, 185, 186, 189, 192, 196, 197, 199, 200, 204, 205, 206, 210, 214, 217, 220,
             222, 224 and 227
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             See recitals 98, 131, 161, 162, 161, 166, 185, 189, 207 and 208.



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     289.      Therefore, the arrangements agreed and taken from October 2001 are to be viewed as
               one coherent set of arrangements which continued uninterruptedly until February
               2006.

     290.      In reply to the arguments of CMO that the Commission had not appropriately defined
               the relevant market in the SO, the consistent case law of the General Court315 makes
               it clear that the Commission is under no duty to define the relevant market in cartel
               cases, but that the product scope of the cartel is defined by the scope of the
               participants' discussions. In this respect the General Court stated in Tokai that: “It is
               not the Commission which arbitrarily chose the relevant market but the members of
               the cartel in which [the Applicant] participated who deliberately concentrated their
               anti-competitive conduct on [the identified] products.” 316

     291.      The arguments of AUO and CMO on the inadmissibility of the evidence submitted
               by [*] in its reply to the SO are not acceptable. As those pieces of evidence related to
               Crystal and bilateral meetings held during the infringement period, and with the same
               subject and product matter among the parties, those pieces of evidence only
               corroborate and do not go beyond the scope of the infringement described in the SO.
               The parties' rights of defence were also duly respected as they were provided the
               opportunity to comment on those documents (see recitals 66 and 67).

     5.3.3.    Restriction of competition

     5.3.3.1. Principles

     292.      The complex of agreements and/or concerted practices in this case had the object and
               effect of restricting competition in the Union and the EEA.

     293.      Article 101(1) of the Treaty and Article 53(1) of the EEA Agreement expressly
               include as restrictive of competition agreements and concerted practices which
               "directly or indirectly fix selling prices or any other trading conditions".317

     5.3.3.2. Arguments of the parties

     294.      AUO submits that the Commission did not demonstrate in the SO that the exchange
               of information that took place among the parties actually qualified as price fixing or
               output limitation. In AUO's view, the examples brought by the Commission do not
               support this conclusion. Nor does the evidence brought by the leniency applicants
               corroborate the conclusion of the Commission. The data exchanged was not a
               suitable basis for any price agreement and output limitation, and therefore a
               precondition of a successful price agreement was never discussed. The only
               conclusion which can be drawn from the evidence is that the market was highly
               competitive and that that effective competition is incompatible with the finding of an

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              See for example Case T-38/02, Groupe Danone v Commission [2005] ECR II-4407, paragraph 99, and
              Case T-48/02, Brouwerij Haacht NV v Commission [2005] ECR II-5259, paragraph 58 and the case law
              cited in these paragraphs.
     316
              Joined Cases T-71/03, T-74/03, T-87/03 and T-93/03, Tokai Carbon and others v Commission [2005]
              ECR II-10, paragraph 90.
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              The list is not exhaustive.



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              agreement to fix prices or limit production. It also states that thee pricing policy of
              AUO was constrained solely by the requirements of the marketplace and not by any
              discussions with competitors.318 As it was dealt with in the SO, AUO stresses that the
              minutes of the meetings which ([*])[*] submitted to the Commission "were drafted
              in English by non-native English speakers with varying degrees of fluency".319 It
              explains that the wording "general consensus" was translated from the Chinese
              phrase "gong shi" that does not mean "agreement or making joint decision", but
              rather "common views" or "common understanding".

     295.     Hannstar explains that the information exchanged was not sensitive or confidential. It
              denies that any agreement having anti-competitive effect or object was concluded.320

     296.     LPL submits that the market was not suitable for cartel agreements and that the
              activities described had no effects on the EEA market.321 It claims that there was no
              enforcement mechanism for any such understanding except complaining about non-
              compliance at later meetings.322

     5.3.3.3. Application in this case

     297.     The cartel has to be considered as a whole and in the light of the overall
              circumstances. In this case, the principal aspects of the complex of agreements and
              concerted practices which can be characterised as restrictions of competition are:

                   •   direct fixing of prices including price increases and setting up price ranges
                       and/or minimum prices;

                   •   indirect fixing of prices by exchanging commercially sensitive information on
                       sales, customers, capacity, production, investments and shipments, thereby
                       coordinating future market behaviour concerning parameters which determine
                       prices.

     298.     The direct and indirect price fixing arrangements were at the core of the cartel under
              consideration in this case. Indeed, given that price is the main instrument of
              competition, the various collusive arrangements and mechanisms adopted by the
              producers were all ultimately aimed at maintaining and inflating prices to their
              benefit above the level which would be determined by conditions of free
              competition.

     299.     Regarding the anti-competitive object of the exchange of information, the
              arrangements have to be seen in their context and in the light of all the
              circumstances. They served to attain the single objective of directly and indirectly
              increasing and maintaining prices. That objective was sustained through meetings
              and other contacts which took place on a regular, even monthly basis. These contacts
              enabled the undertakings to adapt their strategy to the information received from

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              competitors: joint analysis of forthcoming oversupply leads to loading rate
              adjustment (capacity reallocation) in order to maintain agreed price (see recital 102);
              joint analysis of existing inventories and demand level leads to agreement to
              maintain price and wait peak season for upward price adjustment (see recital 130);
              common understanding of oversupply leads to cancellation of output increase and
              agreement to firmly hold actual price or to allow only small reduction (see recital
              156); common expectation of forthcoming oversupply leads to conversion of
              capacity utilisation to other application (see recital 170); discussion of demand
              situation and cost levels lead to the establishment of appropriate minimum price to
              specific customer (see recital 186).

     300.     The parties also included intra-group sales in their arrangements. The upper limit for
              discount on intra-group sales was set at [*] at the meeting that set up the cartel,
              where it was also agreed that such reduction should be offered using after-sale
              rebates in order to avoid disturbing the order of market prices (see recital 76). The
              cartel continued that policy with respect to internal clients (see recital 107) and
              discussed customers connected to cartel participants ([*]) later on as well.323

     301.     That complex of agreements and concerted practices has as its object the restriction
              of competition within the meaning of Article 101(1) of the Treaty and Article 53(1)
              of the EEA Agreement. The arrangements are described in detail in the factual part
              of this Decision (Section 4).

     302.     The anti-competitive object of the parties is also confirmed by the fact that they took
              deliberate action to conceal their meetings and to avoid detection of their
              arrangements. The participant companies considered it important from the beginning
              (see recitals 76, 95 and 179) to implement security measures to avoid consequences
              of the antitrust law violation and made efforts to avoid being in possession of anti-
              competitive documents (e.g. "do not talk about this meeting, not even to colleagues"
              or "requested everybody to take care of security/confidentiality matters and to limit
              written communication"). In addition to the those precautionary measures, numerous
              documents bore the express designation as “Confidential” or "Extremely
              Confidential" (recitals 107, 128, 148 and 159) and instructed the addressees not to
              distribute the document (recitals 107 and 148), which further indicates the illegal
              purpose of the contacts and the intention to conceal them. Those precautionary
              measures clearly related to the risk of detection by antitrust authorities as it was
              expressed many times, (see recital 111), in particular with reference to the DRAMs
              investigation (see recital 179). Confidentiality was maintained within the
              participating companies as well. In an internal [*] e-mail summarising a Crystal
              meeting, the author does not indicate the place of the meeting, but only says that it
              was in "Taipei (same as last month)*" and notes "*Location not specified here for
              confidentiality reasons".324 Similarly, [*], as organiser, noted: "location to be
              disclosed one day before the meeting in order to maintain confidentiality".325 [*]



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              also comments on the summary of a Crystal meeting that "I am still maintaining
              strictly limited distribution for this summary".326

     303.     It is settled case law that for the purpose of application of Article 101(1) of the
              Treaty and Article 53(1) of the EEA Agreement there is no need to take into account
              the actual effects of an agreement when it has as its object the prevention, restriction
              or distortion of competition within the internal market. Consequently, it is not
              necessary to show actual anti-competitive effects where the anti-competitive object
              of the conduct in question is proven.327

     304.     Even though it is not necessary to show any anti-competitive effects, the facts as
              established in Section 4 of this Decision demonstrate the existence of anti-
              competitive effects of the cartel arrangements as a whole, comprising agreements
              and concerted practices.

     305.     It has been demonstrated that the undertakings involved directly and indirectly fixed
              prices, exchanged commercially sensitive information and defined and applied a
              reporting line and monitoring system to ensure implementation of the restrictive
              agreements.

     306.     There is also evidence of implementation of the anti-competitive arrangements:

              •    the implementation of the cartel arrangements was ensured through monthly
                   meetings and other contacts between the representatives of the participant
                   undertakings, where the results of previous agreements were discussed. The
                   agreements adopted between the higher-level representatives of the undertakings
                   were put into operation by the less senior employees of the undertakings who
                   discussed the more detailed and specific issues of the agreements;328

              •    there was regular, even monthly, checking of the price, production volume,
                   capacities and other parameters. The establishment of a common basis for future
                   prices allowed the suppliers to verify compliance at the following monthly
                   meeting, when participants were required to update their current month's prices
                   (see recital 286);

              •    the fact that the participants met regularly over a period of more than four years
                   to discuss market situation, prices and price parameters is an indication that the
                   parties must have been convinced of the sense and purpose of the meetings so
                   that it can be assumed that they must have had an impact and therefore were


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             Case T-62/98, Volkswagen AG v Commission [2000] ECR II-2707, paragraph 178, Case C-105/04 P,
             Nederlandse Federatieve Vereniging voor de Groothandel op Elektrotechnisch Gebied v Commission
             [2006] ECR 8725, paragraph 125 and judgment of 16 October 2009 in Joined Cases C-501/06 P, 513/06
             P, 515/06 P and 519/06 P, GlaxoSmithKline Services Unlimited and others v Commission not yet
             reported, paragraph 55.
     328
             See recitals 103, 105, 106, 107, 110, 112, 113, 114, 116, 118, 121, 124, 128, 131, 134, 136, 139, 140,
             141, 142, 143, 144, 145, 146, 147, 150, 152, 153, 155, 157, 159, 160, 165, 167, 170, 171, 173, 174, 176,
             177, 178, 179, 182, 183, 185, 186, 189, 192, 196, 197, 199, 200, 207, 210, 214, 217, 220, 222, 224 and
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                  effective;329 the parties have also specifically referred to successful instances of
                  price increase;330

              •   implementation also took the form of reconsidering and redressing a planned
                  price quote that was lower than the one agreed on a subsequent meeting (see
                  recital 87);

              •   the parties expressed concerns when it seemed that the price increase was not
                  passed on to consumers and hence could not influence the level of demand (see
                  recital 92).

     307.     The fact that an agreement having an anti-competitive object is implemented, even if
              only in part, is sufficient to preclude the possibility that the agreement had no effect
              on the market.331

     308.     Concerning the allegations of AUO regarding the lack of any agreement on price
              between the parties, it is apparent that [*]. First, the description of facts in Section 4
              does not leave any doubt about the collusive character of the arrangements and the
              existence of an agreement to fix prices. As explained in recitals 261-264, there is
              evidence that agreements on price-fixing and in particular, minimum prices were
              concluded. Second, [*] provided the Commission with numerous minutes of the
              Crystal Meetings demonstrating the conclusion of price agreements and decisions on
              many other points amongst the participant competitors. Third, AUO hosted a number
              of Crystal Meetings (see recitals 121, 127, 148, 155, 165, 173, 179 and 185). [*].
              Finally, in the event of non-compliance AUO did provided explanations and
              promised correction as soon as possible (see recital 104).

     309.     On the issue of language and interpretation, it is difficult to understand why the
              participants, while using the English language as a common instrument of
              communication, were unable to understand and convey correctly the meaning of
              words such as "agreement" or "decision". In any event, that claim was not raised by
              any of the parties other than AUO. Furthermore, AUO "suggested a gradual price
              increase in MNT price and a big increase in NB price" at a meeting where Chinese
              language was used.332 As to the issue of the exact purpose of the meetings, it is
              difficult to understand how an undertaking that participated in – and many times
              itself hosted – meetings with competitors, organised on a monthly basis during at
              least four full years, would not be able to identify the "exact purpose" of those
              meetings.

     310.     As regards LPL's claim that "there was no enforcement mechanism for any such
              understanding except complaining about non-compliance at later meetings", it has
              been demonstrated that implementation of the arrangements was ensured through
              regular meetings between the participants, where the parties made attempts to control

     329
             Joined Cases T-305/94 to T-307/94, T-313/94 to T-316/94, T-318/94, T-325/94, T-328/94, T-329/94
             and T-335/94, Limburgse Vinyl Maatschappij and Others v Commission [1999] ECR II-931, paragraph
             748.
     330
             See recitals 107, 107, , 110, 112, 113, 115, 116, 119, 120, 122, 149, 161, 168 and 170.
     331
             Case T-38/02, Groupe Danone v Commission [2005] ECR II-4407, paragraph 148.
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               deviation (see recital 96). Such implementation also took the form of redressing a
               price quote to a customer lower than the one previously agreed between the parties
               by applying a subsequent price increase (see recital 87). The implementation of
               specific discussions which took place at the meetings has been amply demonstrated
               (see footnote 330).

     311.      As to whether AUO was influenced by the discussions so as to alter its pricing policy
               after the meetings, this is not an element required for the determination of the object
               of the anti-competitive behaviour. In any event, there is no rationale in attending
               meetings for more than four years - and several times twice a month - only to
               disclose and collect non sensitive information. Moreover, it is contradictory to
               provide its competitors with non sensitive information and hope that in turn they
               would provide sufficient information to "obtain some degree of insight into the
               intentions of its competitors."

     312.      Moreover, even though in some instances the parties were not or not entirely
               following the agreed line of behaviour, the occurrence of internal conflicts and
               rivalries, or even cheating does not prevent the arrangement from constituting an
               agreement or concerted practice for the purposes of Article 101 of the Treaty, where
               there is a single common and continuing objective.

     313.      Indeed, if an undertaking is present at meetings or participates in contacts with
               competitors that have a manifestly anti-competitive purpose, unless it openly,
               unequivocally and publicly distances itself from what is agreed and from all the
               participants of the cartel, it will be considered to be a party even if (quod non in
               casu) it does not in fact "take action" or if there is no "enforcement mechanism" to
               implement the anti-competitive arrangements. The distancing by an undertaking vis-
               à-vis the other cartel participants must be done in such a way that the other
               participants are aware that it does not subscribe to the conclusions of meetings and
               will not act in conformity with them or is participating in the meetings in a spirit
               which is different from theirs.333

     314.      Finally, and notwithstanding these considerations, there is sufficient evidence that
               both LPL and AUO participated in the cartel arrangements, engaged directly and
               indirectly in price fixing and implemented those arrangements (see recitals 261 to
               264).

     5.3.4.    Effect upon trade between Member States and between EEA Contracting Parties

     5.3.4.1. Principles

     315.      Article 101(1) of the Treaty is aimed at agreements which might harm the attainment
               of a single market between the Member States, whether by partitioning national
               markets or by affecting the structure of competition within the internal market.

     333
              Case C-199/92 P, Hüls AG v Commission [1999] ECR I-4287, paragraph 155, Case C-49/92 P,
              Commission v Anic Partecipazioni SpA [1999] ECR I-4125, paragraph 96; Case C-204/00 P, Aalborg
              Portland A/S and others v Commission [2004] ECR I-123, paragraphs 81-86; Joined Cases T-259/02 to
              T-264/02 and T-271/02 Raiffeissen Zentralbank Österreich and others v Commission ("Lombard Club")
              [2006] ECR II-5169, paragraph 486.



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              Similarly, Article 53(1) of the EEA Agreement is directed at agreements that
              undermine the achievement of a homogeneous European Economic Area.

     316.     The Court of Justice and General Court have consistently held that, "in order that an
              agreement between undertakings may affect trade between Member States, it must be
              possible to foresee with a sufficient degree of probability on the basis of a set of
              objective factors of law or fact that it may have an influence, direct or indirect, actual
              or potential, on the pattern of trade between Member States".334 Article 101(1) of the
              Treaty does not require that the arrangements referred to in that provision have
              actually affected trade between Member States, but it does require that it be
              established that those arrangements are capable of having that effect.335 An effect on
              intra-Union trade is normally the result of a combination of several factors which,
              taken separately, are not necessarily decisive. In order to assess whether a cartel has
              an appreciable effect on trade between Member States, it is necessary to examine it
              in its economic and legal context.336 In particular, the Court of Justice has held in
              Woodpulp that any agreement whose object or effect is to restrict competition by
              fixing prices for an intermediate product is capable of affecting intra-Union trade,
              even if there is no trade in that intermediary product between Member States, where
              the product constitutes the raw material for another product marketed elsewhere in
              the Union.337

     317.     According to the Commission Guidelines on the effect on trade concept contained in
              Articles 81 and 82 of the Treaty338, Article 101 of the Treaty applies to agreements
              and practices that are capable of affecting trade between Member States even if one
              or more of the parties are located outside the Union. The Notice confirms clearly that
              trade between Member States can be affected in the case of agreements which relate
              to imports or exports with third countries.

     318.     For the purposes of establishing jurisdiction of the Commission, it is sufficient that
              an agreement or practice involving third countries or undertakings located in third
              countries is capable of affecting cross-border economic activity inside the Union.
              Import into one Member State may be sufficient to trigger effects of this nature.
              Imports can affect the conditions of competition in the importing Member State,
              which in turn can have an impact on exports and imports of competing products to
              and from other Member States. In other words, imports from third countries resulting
              from the agreement or practice may cause a diversion of trade between Member
              States, thus affecting patterns of trade. 339


     334
             See Case 56/65, Société Technique Minière [1966] ECR 282, paragraph 7; Case 42/84, Remia and
             Others [1985] ECR 2545, paragraph 22 and and Joined Cases T-25 to 26/95, T-30 to 32/95, T-34 to
             39/95, T-42 to 46/95, T-48/95, T-50 to 65/95, T-68 to 71/95, T-87 to 88/95 and T-103 to 104/95,
             Cimenteries CBR and Others v Commission [2002] ECR II-491, paragraph 3930.
     335
             Cases C-215/96 and C-216/96 Bagnasco and Others [1999] ECR I-135, paragraph 48.
     336
             Joined Cases C-125/07 P, C-133/07 P, C-135/07 P and C-137/07 P Erste Group Bank and Others v
             Commission [2009] I-8681, paragraph 37
     337
             Joined Cases 89/85, 104/85, 114/85, 116/85, 117/85, and 125 to 129/85 Ahlström Osakeyhtiö and others
             v Commission ('Woodpulp I') [1993] ECR I-1307, para 142
     338
             OJ C 101, 27.4.2004, p. 7, point 100.
     339
             Ibid., point 101.



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     5.3.4.2. Arguments of the parties

     319.     CMO claims that the Commission does not present a detailed analysis required by its
              own Guidelines on the effect on trade in establishing that trade between Member
              States was affected. It also failed to establish, despite the requirement of the
              Haladjian Frères case law340, that such an effect was substantial. CMO continues to
              argue that the circumstances that led the Commission to establish the effect on trade
              in the Woodpulp case,341 notably artificially uniform prices in the EEA and
              substantial potential for arbitrage, were not present in this case. It also argues that as
              the location of assembly facilities is determined by considerations unrelated to the
              price of the panels, a possible increase in price does not influence whether deliveries
              are made to those locations.342

     320.     LPL submits that the Commission does not demonstrate the direct or indirect effects
              justifying the establishment of the effect on trade between Member States. The
              Commission should mention specific customers or demonstrate foreseeable,
              immediate and substantial effects on intra-Union trade. It submitted an economic
              study that, it claims, shows would that such effects did not materialise. Indirect
              effects should also have been demonstrated through objective factors of law or the
              fact that passing-on actually took place.343

     5.3.4.3. Application in this case

     321.     The arrangements to which this Decision relates had an appreciable effect upon trade
              between Member States and between contracting parties to the EEA Agreement.

     322.     As demonstrated in Section 2.4 on “Inter-State Trade”, the sector is characterised by
              a substantial volume of trade world-wide and between Member States and there is
              also a considerable volume of trade between Member States and between contracting
              parties of the EEA Agreement.

     323.     The application of Articles 101 of the Treaty and Article 53 of the EEA Agreement
              to a cartel is not, however, limited to that part of the participants’ sales that actually
              involve the transfer of goods from one State to another. Nor is it necessary, in order
              for those provisions to apply, to show that the individual conduct of each participant,
              as opposed to the cartel as a whole, affected trade between Member States.344

     324.     Although the cartel arrangements which are the subject matter of this Decision took
              place at world-wide level,345 LCD panels were delivered and/or billed directly to
              customers in Europe, including various producers of downstream equipment like
              [*]346 and to European entities connected to the undertakings that participated in the

     340
             Case T-204/03, Haladjian Frères SA v Commission [2006] ECR II-03779, paragraph 167.
     341
             Joined cases 89/85, 104/85, 114/85, 116/85, 117/85 and 125-129/85, Ahlström Osakeyhtiö and others v
             Commission ("Woodpulp") [1988] ECR 5193
     342
             [*]
     343
             [*]
     344
             Case T-13/89, Imperial Chemical Industries v Commission [1992] ECR II-1021, paragraph 304.
     345
             See recital 48.
     346
             Parties' answers to the request for information of 4 March 2010.



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              infringement such as Samsung. The existence of agreements and concerted practices
              aimed at increasing or maintaining prices resulted, or was likely to result, in the
              automatic diversion of trade patterns from the course they would otherwise have
              followed.347 The cartel arrangements were implemented in the EEA and their impact
              in the EEA unavoidably affected price levels and consumption within the EEA and
              thus had an effect on trade between Member States.

     325.     The cartel arrangements produced effects within the EEA not only through the direct
              sales of LCD panels but also indirectly through inter-state trade of incorporated LCD
              panels. As it was demonstrated above in recitals 92 and 93, the parties aimed to and
              took note of the passing-on of the surcharge to final consumers and the effects
              thereof on demand.

     326.     Finally, according to the participants' own estimation, their joint share was
              predominant ([around 70%] on the market (see recital 43), and they have submitted
              contemporaneous evidence in the form of Display Search analysis setting the parties'
              joint market share at between [65 to 80%] during the infringement period (see recital
              43).

     327.     In those circumstances, it can be concluded that the cartel arrangements had an
              appreciable effect on trade between Member States and Contracting Parties to the
              EEA Agreement. In this connection, it is not relevant that the market situation with
              respect to LCD panels was not identical to the one at stake in the Woodpulp case. In
              any event, the Court of Justice held in Woodpulp that even if there were no trade
              between Member States in the intermediary product concerned by the cartel
              arrangements, where the product constitutes the raw material for another product
              marketed elsewhere in the Union, the agreement whose object or effect is to restrict
              competition by fixing prices for the intermediate product is capable of affecting
              trade. It is not disputed that there is significant trade between Member States of
              finalised products incorporating LCD panels.

     328.     The distorting effect on trade between Member States deriving from the
              implementation of the cartel arrangements was present even if the suppliers refrained
              from applying the inflated cartel prices vis-à-vis their connected European
              customers, as was claimed by some parties in their replies to the SO.348 In such a
              situation trade between Member States was distorted through the use of the illegally
              acquired competitive cost advantage. In any event, where the infringement in which
              those parties participated was apt to affect trade between Member States, it is not
              necessary to demonstrate that their individual participation affected trade between
              Member States.349

     329.     As regards the economic study submitted by [*], which allegedly shows the absence
              of any effect on prices, the study suffers from major flaws and can therefore not be
              taken into account (see recitals 414 and 415 and Annex II). Moreover, it should be
              recalled that Article 101(1) of the Treaty does not require that the arrangements
     347
             Joined Cases 209 to 215 and 218/78, Van Landewyck and others v Commission [1980] ECR 3125,
             paragraph 170.
     348
             ID 2120, p. 57 (reply to the SO by LPL).
     349
             Case T-13/89, Imperial Chemical Industries v Commission [1992] ECR II-1021, paragraph 305.



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               referred to in that provision have actually affected trade between Member States, but
               that those arrangements are capable of having that effect.

     330.      Based on the above circumstances, it can therefore be established that the cartel
               arrangements could and did have a substantial impact on the patterns of trade
               between Member States and on the EEA market through Direct EEA Sales of LCD
               panels and Direct EEA Sales Through Transformed products on the patterns of trade
               between Member States and on the EEA market.

     331.      Insofar as the activities of the cartel related both directly and indirectly to sales in
               countries that are not Member States or Contracting Parties to the EEA Agreement,
               they lie outside the scope of this Decision.

     5.4.      Non-Application of Article 101(3) of the Treaty and Article 53(3) of the EEA
               Agreement

     332.      There are no indications suggesting that the conditions of Article 101(3) of the
               Treaty and Article 53(3) of the EEA Agreement could be fulfilled in this case.

     333.      Furthermore none of the addressees has made such a claim.


     6.        ADDRESSEES OF THIS DECISION

     6.1.      Principles

     334.       The subjects of Union competition rules are undertakings, a concept which is not
                identical with that of a corporate legal personality for the purposes of national
                commercial or fiscal law. The undertaking that participated in the infringement
                therefore does not necessarily coincide with the precise legal entity or entities within
                the group of companies whose representatives actually took part in the cartel
                meetings. The term “undertaking” is not defined in the Treaty. It may refer to any
                entity engaged in commercial activities. The case law has confirmed that Article 101
                of the Treaty is aimed at economic units which consist of a unitary organisation of
                personal, tangible and intangible elements which pursue a specific economic aim on
                a long-term basis and can contribute to the commission of an infringement of the
                kind referred to in that provision.350

     335.       Despite the fact that Article 101 of the Treaty refers to undertakings and that the
                concept of undertaking has an economic scope, only entities with legal personality
                can be held liable for its infringement and/or for the payment of the related fine.351


     350
              Case T-11/89, Shell International Chemical Company v Commission [1992] ECR II-757, paragraph
              311. See also Case T-352/94 Mo Och Domsjö AB v Commission [1998] ECR II-1989, paragraphs 87-
              96.
     351
              Although an ‘undertaking’ within the meaning of Article 101 of the Treaty is not necessarily the same
              as a company having legal personality, it is necessary for the purposes of applying and enforcing
              decisions to identify an entity possessing legal personality to be the addressee of the measure. Joined
              Cases T-305/94 etc, Limburgse Vinylmaatschappij and Others v Commission ("PVC II") [1999] ECR
              II-931, paragraph 978.



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               Measures enforcing Union competition rules must thus be addressed to one or more
               legal entities.

     336.      It is accordingly necessary to define the undertaking that should be held accountable
               for the infringement of Article 101 of the Treaty by identifying one or more legal
               persons to represent the undertaking. Union competition law recognises that
               different companies belonging to the same group form an economic unit and
               therefore an undertaking within the meaning of Articles 101 and 102 of the Treaty if
               the companies concerned do not determine independently their own conduct on the
               market.352 If a subsidiary does not determine its own conduct on the market
               independently, the company which directed its commercial policy (that is to say,
               which exercised decisive influence)353 forms a single economic entity with the
               subsidiary and may thus be held liable for an infringement on the ground that it
               forms part of the same undertaking (so-called "parental liability").

     337.      According to the settled case law of the Court of Justice and the General Court, the
               Commission can generally assume that a wholly-owned (or almost wholly-owned)
               subsidiary essentially follows the instructions given to it by its parent company
               without needing to check whether the parent company has in fact exercised that
               power.354

     338.      Therefore, a parent company and its wholly-owned subsidiaries are presumed to
               constitute a single "undertaking" within the meaning of Article 101 of the Treaty. As
               seen at recital 336, within such an undertaking the legal entities liable for the
               infringement of Article 101 of the Treaty will be identified on the basis of (i) their
               direct participation in the infringement and/or of (ii) the decisive influence exercised
               by the parent company on the company or companies which directly participated in
               the infringement.

     339.      Legal entities within an undertaking which have participated in their own right in an
               infringement and which have been acquired in the meanwhile by another
               undertaking continue to answer themselves for their unlawful activity prior to their
               acquisition, when they have not been purely and simply absorbed by the acquirer,
               but continued their activities as subsidiaries.355 In such a case, the acquirer might
               only be liable for the conduct of its new subsidiary from the moment of its
               acquisition if the latter persists in the infringement and liability can be established.356



     352
             Case T-203/01, Michelin v Commission [2003] ECR II-4371, paragraph 290
     353
             C-286/98 P, Stora Kopparbergs Bergslags AB v Commission [2000] ECR I-9925, paragraph 37..
     354
             Judgment of 10 September 2009 in Case C-97/08 P, Akzo Nobel NV e.a. v Commission, not yet
             reported, paragraphs 60-64; Case T-405/06, ArcelorMittal Luxembourg e.a. v Commission, 31 March
             2009, not yet reported, paragraph 91; judgment of 12 December 2007 in Case T-112/05, Akzo v
             Commission, 12 December 2007, not yet reported, paragraphs 60-65; Joined Cases T-71/03 etc., Tokai
             Carbon and Others v Commission [2005] ECR II-10, paragraph 60; Case T-354/94, Stora Kopparbergs
             Bergslags v Commission [1998] ECR II-2111, paragraph 80, upheld by the Court of Justice in Case C-
             286/98 P, Stora Kopparbergs Bergslags v Commission [2000] ECR I-9925, paragraphs 27, 28 and 29;
             and Case 107/82, AEG v Commission [1983] ECR 3151, paragraph 50.
     355
              Case C-279/98 Cascades v Commission [2000] ECR I-9693, paragraph 78-80.
     356
             Case T-354/94, Stora Kopparbergs Bergslags AB v Commission [1998] ECR II-2111, paragraph 80.



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     340.       When an undertaking that has committed an infringement of Article 101 of the
                Treaty subsequently disposes of the assets which contributed to the infringement and
                withdraws from the market in question, it continues to be answerable for the
                infringement if it has not ceased to exist.357 If the undertaking which has acquired
                the assets carries on the violation of Article 101 of the Treaty, liability for the
                infringement should be apportioned between the seller and the acquirer of the
                infringing assets, each undertaking being responsible for the period of the
                infringement in which it participated through those assets in the cartel. However, if
                the legal person initially answerable for the infringement ceases to exist and loses its
                legal personality, being purely and simply absorbed by another legal entity, that
                latter entity must be held answerable for the whole period of the infringement and
                thus liable for the activity of the entity that was absorbed.358 The mere disappearance
                of the person responsible for the operation of the undertaking when the infringement
                was committed does not allow it to evade liability.359 Liability for a fine may thus
                pass to a successor where the corporate entity which committed the violation has
                ceased to exist in law.

     341.       Different conclusions may, however, be reached when the particular business is
                carried out at different points in time and without any time interruption by different
                legal entities belonging to the same undertaking. In such cases, liability for past
                behaviour of the transferor may transfer to the transferee, notwithstanding the fact
                that the transferor remains in existence.360

     342.       The same principles hold true, mutatis mutandis, for the purposes of the application
                of Article 53 of the EEA Agreement.

     6.2.      Application to this case

     343.       In application of the above principles, this Decision should be addressed to those
                legal entities whose representatives participated in cartel meetings and other forms
                of anti-competitive contacts with competitors. In addition, this Decision should be
                addressed to the parent companies of those legal entities in as far as it is assumed
                that they exercised decisive influence over the commercial policy of their wholly
                owned subsidiaries. Together, those legal entities should be held liable for the
                infringement of Article 101 of the Treaty and of Article 53 of the EEA Agreement.

     6.2.1.    Samsung

     344.      It is established in Section 4, that representatives of the Samsung group of companies
               took part in the cartel meetings or had direct contacts with competitors over the
               period from 5 October 2001 to February 2006.

     357
              Case T-6/89, Enichem Anic v Commission (Polypropylene) [1991] ECR II-1623, paragraph 237;
              Case C-49/92 P, Commission v Anic Partecipazioni [1999] ECR I-4125, paragraphs 47-49.
     358
              Case C-279/98 P, Cascades v Commission [2000] ECR I-9693, paragraphs 78 and 79.
     359
              Case T-305/94, PVC II, paragraph 953. This point was confirmed by the Court of Justice in Limburgse
              Vinyl Maatschappij NV and others (PVC II).
     360
              Joined Cases C-204/00 P (and other), Aalborg Portland A/S a.o. v Commission [2004] ECR I, 267,
              paragraphs 354-360, and Case T-43/02 Jungbunzlauer AG v Commission, [2006] ECR II-3435,
              paragraphs 132-133.



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     345.     Employees of Samsung Taiwan took part in the cartel meetings throughout that
              period. Therefore, Samsung Taiwan should be held liable for its direct participation
              in the infringement.

     346.     Samsung argues that its employee participating in the January and February 2006
              meetings attended those events against express instructions,361 suggesting that the
              behaviour of such an employee cannot be taken into account to find an infringement
              in respect of Samsung and that its participation in the infringement would already
              have come to an end before January 2006 had its employee not disobeyed its
              instructions. However, that argument is immaterial. According to case law an
              undertaking – that is to say an economic unit comprising personal, tangible and
              intangible elements – is directed by the organs provided for in its articles of
              association and any decision imposing a fine on it may be addressed to the
              management as provided for in those articles of association (management board,
              management committee, chairman, manager, and so on). The rules of competition
              would be easily circumvented if the Commission, faced with unlawful conduct on the
              part of an undertaking, were required to ascertain and to prove who is the author of
              the various activities, which could have the effect of preventing it from penalising
              the undertaking which benefited from the cartel.362

     347.     Moreover, SEC (Samsung Electronics Corporation, Ltd) should be held liable both
              for its direct participation throughout almost the entirety of the duration of the
              infringement, as well as for Samsung Taiwan's conduct in as far as SEC wholly
              owned the latter throughout the entire duration of the infringement.

     348.     As regards SEC's direct involvement, it should be noted that [*] himself had anti-
              competitive contacts with CMO, CPT, and AUO363 and that [*] took part in the cartel
              meetings for almost the entirety of the duration of the infringement (that is to say,
              from 19 October 2001 to 17 March 2005).

     349.     As regards SEC's liability as parent company, SEC held 100% of the shares of
              Samsung Taiwan throughout the duration of the infringement (see recital 7). In
              accordance with the case law referred to in recital 337, it is presumed that SEC
              exercised decisive influence and effective control over Samsung Taiwan.

     350.     In addition to SEC's 100% ownership of Samsung Taiwan, there are further elements
              that reinforce that presumption.

     351.     Samsung explained that "[*]. On that basis, SEC was fully aware and regularly
              involved in the everyday conduct of its subsidiaries.

     352.     Moreover, Samsung described as follows the pricing process within the Samsung
              group: "[*] The subsidiaries of the Samsung group are therefore dependent on their
              headquarters for the basic orientation of an essential element of their commercial
              strategy: the price.364 As a result, the Samsung group as a whole must be considered
     361
             [*]
     362
             Case T-53/03, BPB v Commission [2008] ECR I-1333, paragraphs 353 and 360.
     363
             [*]
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             See the case law mentioned at recital 337.



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               to constitute a single economic unit ("the undertaking") for the application of Article
               101 of the Treaty to this case.

     353.      In the light of the above considerations, SEC and Samsung Taiwan should be held
               jointly and severally liable for the entire duration of the undertaking's participation in
               the infringement.

     6.2.2.    LPL and LPLT

     354.       It is established in Section 4 above that employees of LPL (LG.Philips LCD Co.,
                Ltd., now "LG Display Co. Ltd.") and LPLT (LG Philips LCD Taiwan Co., Ltd.),
                participated in cartel meetings or were informed thereof via internal reporting over
                the period from 5 October 2001 to February 2006.

     355.      Employees of LPLT took part in the cartel meetings throughout that period. LPLT
               should therefore be held liable for its direct participation in the infringement.

     356.      LPL should be held liable both for its direct involvement in the infringement and as
               the controlling parent company of LPLT (see recitals 118, 132, and 169, respectively
               for the meetings of 13 March 2002, 18 June 2002 and 21 December 2003).

     357.      In as far as its liability as parent company is concerned, LPL held 100% of the shares
                of LPLT throughout the duration of the infringement. (see recital 14). In accordance
                with the case law referred to in recital 337, it is presumed that LPL exercised
                decisive influence and effective control over LPLT.

     358.      In addition to LPL's 100% ownership of LPLT, other elements reinforce that
                presumption.

     359.      First, it follows from the recitals 115, 116, 121, 124, 136, 147, 168, 170, 174, 178,
               179, 182, 186, 192, 197, 200, 214 and 217 that representatives of LPL were
               regularly kept informed of LPLT's participation in the anti-competitive meetings and
               contacts. [*].

     360.      That [*] was aware of the infringing behaviour [*] is also shown by the report made
               by [*]of the meeting of 5 May 2005 (see recital 202) which states inter alia that "[*]
               ordered that mid to high level personnel are not allowed to attend this kind of
               meeting; as such, this meeting will be down sized to be attended by a marketing
               person from each company to communicate market situations".365 In a subsequent e-
               mail from [*] regarding the meeting of 4 August 2005, it is reported "The size of the
               meetings is being cut down and the meeting is being conducted with a focus on
               working level employees. Due to the characteristic of the meeting, as before, will
               continue to keep the existence of the meeting confidential".366 As a result, the
               management of [*]367 was aware of the anti-competitive contacts of its subsidiaries
               and involved to the extent that it decided the level of the participants at the cartel
               meetings.

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     361.      A second element that reinforces the presumption is the fact that the individuals who
               participated more frequently in the cartel meetings – [*] - were employed,
               immediately before, during or after those meetings by [*]368

     362.      In light of the above considerations, LPL and LPLT should be held jointly and
                severally liable for the entire duration of the infringement. The fact that LG Philips
                LCD Co., Ltd., and LG Philips LCD Taiwan Co., Ltd., have recently changed their
                names, respectively, to "LG Display Co., Ltd." and "LG Display Taiwan Co., Ltd."
                has no bearing here, in as much as this is a change of name only and does not reflect
                a merger, acquisition or sale of assets.369

     6.2.3.    AUO

     363.       It is established in Section 4 above that employees of AU Optronics Corporation
                (including its [*]) directly participated in cartel meetings from 5 October 2001 until
                February 2006. AU Optronics Corporation should therefore be held liable for its
                direct participation in the infringement.

     6.2.4.    CMO

     364.       It is established in Section 4 above that employees of Chi Mei Optoelectronic
                Corporation have directly participated in the cartel meetings from 5 October 2001
                until February 2006. As a result, Chi Mei Optoelectronic Corporation should be held
                liable for its direct participation in the infringement (see recital 340). Chimei
                InnoLux Corporation is the legal successor of Chi Mei Optoelectronic Corporation
                that ceased to exist in law on the date of the merger370 (see recital 27).

     6.2.5.    CPT

     365.       It is established by the facts established in Section 4 that employees of Chunghwa
                Picture Tubes, Ltd. have directly participated in the cartel meetings from
                5 October 2001 until February 2006. Chunghwa Picture Tubes, Ltd. should therefore
                be held liable for its participation in the infringement.

     6.2.6.    HannStar

     366.       As described in Section 4, representatives of HannStar Display Corporation
                participated in the cartel meetings from 5 October 2001 until 6 January 2006.

     367.       HannStar Display Corporation should therefore be held liable for its participation in
                the infringement.




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              See. Case C-279/98 P, Cascades v Commission [2000] ECR I-9693, paragraphs 78 and 79.



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     7.         DURATION OF THE INFRINGEMENT

     368.       Despite earlier, documented competitor contacts presented in Section 4.2, it is
                considered appropriate to set the starting date of the cartel at the Crystal Meeting of
                5 October 2001, when the first of the established, institutionalised multilateral
                meetings, at which all parties participated, took place. The starting date of the
                infringement should therefore be 5 October 2001 for all participants.

     369.       The multilateral meetings, accompanied by occasional bilateral meetings, remained
                regular and continued until early 2006. The last precisely dated multilateral meeting
                took place on 6 January 2006. However, evidence presented in recital 227 leaves no
                doubt that a last meeting was held in February 2006, though the exact day remains
                unclear. For the benefit of the parties, the end date of the infringement should be set
                at 1 February 2006.

     370.       Though it is clear from recital 227 that Hannstar was also present at and contributed
                to the February 2006 meeting, the SO indicated that it stopped participating in the
                infringement on 6 January 2006. Therefore, the end of its participation should be set
                at 6 January 2006.

     371.       In conclusion, based on the facts described in this Decision, the infringement lasted
                as follows for each of the undertakings concerned:



     Table 3: The duration of the infringement for each undertaking

                Undertaking                         Start                            End

     Samsung                                    5 October 2001                  1 February 2006

     LPL                                        5 October 2001                  1 February 2006

     AUO                                        5 October 2001                  1 February 2006

     CMO                                        5 October 2001                  1 February 2006

     CPT                                        5 October 2001                  1 February 2006

     HannStar                                   5 October 2001                   6 January 2006




     8.         REMEDIES

     8.1.       Article 7 of Regulation (EC) No 1/2003

     372.       Where the Commission finds that there is an infringement of Article 101 of the
                Treaty, it may require the undertakings concerned to bring such infringement to an
                end in accordance with Article 7(1) of Regulation (EC) No 1/2003.


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     373.       Given the secrecy with which the cartel arrangements were carried out, it is not
                possible to declare with absolute certainty that the infringement has ceased. It is
                therefore necessary for the Commission to require the undertakings to which this
                Decision is addressed to bring the infringement to an end (if they have not already
                done so) and henceforth to refrain from any agreement and/or concerted practice
                which would have the same or a similar object or effect.

     8.2.      Article 23(2) of Regulation (EC) No 1/2003 - Fines

     374.       Under Article 23(2) of Regulation (EC) No 1/2003, the Commission may by
                decision impose fines on undertakings where, either intentionally or negligently,
                they infringe Article 101 of the Treaty and/or Article 53 EEA.371 Under Article 15(2)
                of Regulation No 17: First Regulation implementing Articles 85 and 86 of the
                Treaty372 (hereinafter referred to as "Regulation No 17"), which was applicable
                during part of the infringement, the fine for each undertaking participating in the
                infringement could not exceed 10% of its total turnover in the preceding business
                year. The same limitation results from Article 23(2) of Regulation (EC) No 1/2003.

     375.       Pursuant to Article 15(2) of Regulation No 17 and Article 23(3) of Regulation (EC)
                No 1/2003, the Commission must, in fixing the amount of the fine, have regard to all
                relevant circumstances and particularly the gravity and duration of the infringement,
                which are the two criteria explicitly referred to in those Regulations. In doing so, the
                Commission will set the fines at a level sufficient to ensure deterrence. Moreover,
                the role played by each undertaking party to the infringement will be assessed on an
                individual basis. In particular, the Commission will reflect in the fines imposed any
                aggravating or mitigating circumstances pertaining to each undertaking.

     376.       In setting the amount of the fines to be imposed, the Commission will refer to the
                principles laid down in its Guidelines on the method of setting fines imposed
                pursuant to Article 23(2)(a) of Regulation (EC) No 1/2003 (hereafter, “the
                Guidelines on Fines”).373 Finally, the Commission will apply, as appropriate, the
                provisions of the Leniency Notice.

     377.       In this case, it is concluded, on the basis of the facts described in Section 4 and the
                assessment in Section 5, that the infringement was committed intentionally or
                negligently (see recital 377). The infringement consisted of direct and indirect price
                fixing and the exchanging of commercially sensitive information concerning LCD
                panels for IT and TV applications of large size (of 12" and above, see recitals 261-
                264 and 297).




     371
              Under Article 5 of Council Regulation (EC) No 2894/94 of 28 November 1994 concerning
              arrangements of implementing the Agreement on the European Economic Area “the Community rules
              giving effect to the principles set out in Articles 85 and 86 of the EC Treaty [now Articles 101 and 102
              of the Treaty on the Functioning of the European Union] […] shall apply mutatis mutandis”. (OJ L 305,
              30.11.1994, p. 6).
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              OJ 13, 21.2.1962, p. 204.
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              OJ C 210, 1.9.2006, p. 2.



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     8.3.      Basic amounts of the fine

     8.3.1.    Methodology for setting the fine amount

     378.       According to the Guidelines on fines, the basic amount of the fine consists, first, of
                an amount of between 0% and 30% of a company's relevant sales during the
                infringement period, according to the degree of gravity of the infringement. Second,
                an additional amount of between 15% and 25% of the value of a company's relevant
                sales can be added, irrespective of duration, in order to deter horizontal price fixing
                agreements (the so-called ‘entry fee’). The resulting basic amount can then be
                increased or reduced for each company if either aggravating or mitigating
                circumstances are retained. Should the ensuing amount of the fine exceed 10% of the
                world-wide turnover of an undertaking concerned in the preceding business year, the
                fine must be reduced to that percentage, pursuant to Article 23 of Regulation (EC)
                No 1/2003. That amount can still be reduced in accordance with the Leniency
                Notice, where applicable.

     8.3.2.    The Value of Sales

     379.       In determining the basic amount of the fine to be imposed, the Commission starts
                from the value of the undertaking's sales of the goods or services to which the
                infringement directly or indirectly relates in the relevant geographic area within the
                EEA374.

     380.      The sales of LCD panel directly or indirectly concerned by the infringement in the
               EEA (duly taking into account its enlargement in 2004) are:

                    (i)    Direct EEA Sales (that is LCD panels for IT or TV applications not smaller
                           than 12" directly sold to another undertaking in the EEA by one of the
                           addressees of this Decision);

                    (ii)   Direct EEA Sales Through Transformed Products (that is LCD panels not
                           smaller than 12" incorporated intra-group into a final IT or TV product
                           and subsequently sold to another undertaking in the EEA by one of the
                           addressees of this Decision); and

                    (iii) Indirect Sales (that is the value of the LCD panels sold by one of the
                          addressees of this Decision to another undertaking outside the EEA, which
                          would then incorporate the panels into final IT or TV products and sell
                          them in the EEA).

     381.      However, as indicated in recital 9, for the purpose of establishing the value of sales
               in this case, the relevant EEA turnover consists of those sales where the first "real"
               sale of the LCD panel - as such or integrated in a final IT or TV product - was made
               into the EEA during the period of the infringement by one of the addressees of this
               Decision. This refers only to points (i) and (ii) of recital 380. Although the value of
               all indirect sales made into the EEA (point (iii) of recital 380) could have been
               included in the relevant value of sales, this is not done in this case as sufficient
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              Point 13 of the Guidelines on Fines.



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               deterrence is achieved by including into the value of sales only the first "real" sale of
               LCD panels into the EEA.

     382.      Though both Direct EEA Sales and Direct EEA Sales Through Transformed
               products lead to the inclusion of – respectively - sales to related companies and
               intra-group sales for some of the parties, focusing on the first EEA sale of the
               product concerned by the infringement - whether transformed or not - to a company
               that is not part of the supplier undertaking ensures that no discrimination is made
               between vertically integrated companies and non-vertically integrated companies.375

     383.      To identify the relevant value of sales the value of LCD panels delivered into the
               EEA should be taken into account. The delivery criterion is indeed the most
               adequate proxy in this case. As concerns Direct EEA Sales, the delivery criterion
               represents best the most characteristic action under a contract for the sale of goods,
               namely the actual delivery of the goods. This in turn constitutes a proxy for the
               location where competition with alternative suppliers takes place within the EEA. As
               concerns Direct EEA Sales Through Transformed Products, the consumer harm
               inflicted by the cartel arrangements is clearly represented by the value of panels
               delivered within the transformed products to the final consumer in the EEA. By
               using the criterion of delivery, a strong nexus with the EEA is established, thereby
               reflecting the economic importance of the infringement in the EEA.

     384.      The Commission normally takes into account the sales made by an undertaking
               during the last full business year of its participation in the infringement (point 13 of
               the Guidelines on fines). In this case, however, the actual relevant data can be
               established with relative ease for the entire duration of the infringement. Moreover,
               having regard to the exponential growth of the sales over the different years for all
               undertakings (except Hannstar, whose sales anyway fluctuated enormously), in
               deviation from normal practice and in line with claims submitted by some parties, it
               is appropriate to take the average annual value of sales (based on the actual sales
               over the entire duration of the infringement) as the basis for the 'value of sales'
               calculation. Those average sales are presented in Table 4.



     Table 4: Calculation of average yearly turnover

                               Total relevant turnover           Duration           Average yearly turnover
                                from October 2001 to              (years)                   (EUR)
                                 January 2006 (EUR)
                                          A                         B                         A/B

     Samsung                   [Between 2 and 3 billion]           4.33                       [*]

     LPL                       [Between 2 and 3 billion]           4.33                       [*]


     375
             See Case T-304/94, Europa Carton AG v Commission [1998] ECR II-869, paragraphs 111-131; ; Case
             C-248/98 P, Koninklijke KNP v Commission [2000] ECR I-9641, paragraph 62; Case T-16/99, Lögstör
             Rör v Commission [2002] ECR II-1633, paragraphs 358-361.



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     AUO                         [Less than 1 billion]           4.33                      [*]

     CMO                       [Between 1 and 2 billion]         4.33                      [*]

     CPT                         [Less than 50 million]          4.33                      [*]

     HannStar                    [Less than 50 million]          4.33                      [*]



     385.       Being a world-wide cartel, the relevant geographic area is the whole territory of the
                EEA. The territory of the EEA evolved during the infringement. Until 30 April 2004
                it consisted of the territories of the then fifteen EU Member States together with
                Iceland, Lichtenstein and Norway, whilst from 1 May 2004 the territory comprised
                the 25 EU Member States together with Iceland, Liechtenstein and Norway. This
                was duly taken into account in the establishment of the relevant sales value.

     386.       LPL claims, first that "captive" sales, that is sales to companies connected to a given
                cartel participant should not be taken into account within the relevant value of sales,
                as in such cases the relationship is special and pricing does not follow market rules.
                Therefore, the cartel could have no effect on such sales. It also argues that in such
                cases no harm or gain can be present as both would be internal to the same
                undertaking. LPL further adds on this point that the exclusion of "captive" sales
                would be consistent with other Commission decisions and the Commission's
                decisional practice in merger cases. Second, it submits that specific products
                concerning which LPL was not in competition should also be excluded from the
                relevant value of sales. Third, LPL maintains that the Commission should take into
                account only those sales where the purchaser's headquarters are located in the EEA,
                thereby excluding sales to European subsidiaries of non-EEA groups, but including
                sales to non-European subsidiaries of EEA groups.376

     387.       AUO submits that panels of 10.4" and below were not affected by the cartel and
                should therefore not be taken into account in the value of sales. Similarly to LPL, it
                claims that its "captive" sales to its minority shareholder [*] should not be taken into
                account.377

     388.       CMO also argues that the value of sales should be calculated on a yearly basis and
                that there is no legal or factual basis to include the value of incorporated panels. It
                submits that sales made to other addressees of the SO should be excluded in a
                similar manner to "captive" sales. In relation to its argument on the lack of a single
                and continuous infringement (see recital 281) CMO submits that the value of sales
                should be calculated separately for IT and TV applications.378 It further submits that
                the Commission should choose a calculation method for the value of sales that
                ensures at least some nexus to Europe. This must, at a minimum, exclude panel
                shipments that were not even invoiced to European corporate entities and, thus

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               ended up in Europe at the customer’s instruction, rather than as a result of CMO’s
               commercial decision. The Commission's method must also exclude panel shipments
               that exceptionally were billed to a European legal entity but never reached
               Europe.379 Finally, CMO argues that those sales in respect of which the transfer of
               title to the goods took place outside the EEA should not be taken into account380.

     389.      Hannstar argues in a similar way.381 Moreover, it argues that indirect sales can not
               be taken into account in the value of sales as the example presented in the
               Guidelines on Fines does not cover the situation in this case.382

     390.      CPT argues that only direct sales to the EEA should be taken into account as it does
               not supply major European sellers and its panels are normally integrated into end-
               products sold outside the EEA. It claims that should indirect sales be taken into
               account, the effects of the cartel would not be proved, while it would definitely lead
               to double counting due to interference with proceedings brought by other
               competition authorities. CPT also emphasised that the value of direct sales already
               provides ample basis for a fine of appropriate deterrence.383

     391.     By letter dated 6 April 2010, the addressees of this Decision were informed of the
              parameters the Commission intended to use as a basis to calculate the value of the
              undertakings' sales.384

     392.     As stated at recital 383, only the value of sales of panels delivered to clients in the
              EEA are taken into account. Moreover, panels smaller than 12" for IT and TV
              application, on the one hand, and panels which were not sold for IT or TV
              application, on the other hand, are excluded from the relevant "Value of Sales". Such
              panels are not considered to be affected by the cartel discussions.




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             That is the "direct EEA sales" and "indirect EEA sales" as defined in the request for information of 4
             March 2010 (where these data both with respect to delivery and billing in the EEA were requested). The
             concepts of "direct EEA sales" and "indirect EEA sales" in the letter correspond to the concepts of
             "Direct EEA Sales" and "Direct EEA Sales through Transformed Products" in this Decision. The letter
             also clarified that for the purposes of the determination of the fine, when calculating "direct EEA sales",
             all companies not covered in the definition given for "indirect EEA sales" would be considered as
             "independent third party". "Direct EEA sales" were defined as all sales of LCD panels for use in IT or
             TV applications made to independent third parties in the EEA by any of the legal entities directly or
             indirectly controlled by the ultimate mother company of the undertakings concerned. "Indirect EEA
             sales" were defined as those sales where the LCD panel for use in IT or TV applications was transferred
             intra-group (intra-group sale) for transformation in another product (such as a notebook or desktop
             monitor or TV) and the first sale to an independent third company by any of the legal entities directly or
             indirectly controlled by the ultimate mother company of the undertakings concerned in the form of a
             transformed product into the EEA. For the avoidance of doubt, it was clarified on 4 May 2010 that for
             the purposes of the determination of the fine, the sale to independent third parties was also meant to
             cover those sales made directly by the ultimate parent company/ies.



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     393.   By focusing on the value of the Direct EEA Sales as well as the value of the
            cartelised products sold in the form of transformed products (such as notebooks,
            desktop monitors or TVs) on the market in the EEA by the addresses of this Decision
            (defined as "indirect EEA sales" in the request for information mentioned in footnote
            384, but better described as Direct EEA Sales Through Transformed Products and
            defined as such in recital 379), the purpose is to consistently include in the 'value of
            sales' the cartelised products only when they are sold for the first time to a customer
            which is external to the cartelists' undertakings and is located in the EEA. The
            Commission does not take into account the value of the transformed product, but the
            value of the panel within it. As the first sale of the cartelised product is made to an
            independent customer in the EEA, a direct link with the EEA Territory is established.

     394.   Among the undertakings concerned, Samsung, CMO and Hannstar had Direct EEA
            Sales Through Transformed Products. The sales of LCD panels to intra-group
            customers were part of the cartel discussions in this case and are therefore included
            in the value of sales. In this respect, reference is made to the general rule agreed by
            all Taiwanese companies in a meeting prior to the start of the cartel that "the upper
            limit for discount on intra-group sales is [*]" (see recital 76). In addition, all six
            undertakings agreed on 15 November 2001 - as documented by the contemporaneous
            minute provided by CPT - "[with respect to] internal clients and commitments that
            are exceptional case, try to gradually decrease these exceptional cases" (recital 107).
            Furthermore, and more in general, as explained in recital 238 with reference to the
            Cartonboard case, it can be reasonably assumed that an implemented cartel had
            effects on direct sales through transformed products.

     395.   For the calculation of the value of sales, the value of the relevant panels is included
            in so far as the transformed product is sold by the cartelist in the EEA to an unrelated
            company. Therefore the value of such panels is taken into account only once, so that
            no eventual double counting can take place.

     396.   The arguments put forward by LPL and AUO against the inclusion of sales to
            companies connected to it, in casu, respectively, the Direct EEA Sales to its
            shareholders [*] on the one hand, and [*] on the other, cannot be accepted. The sales
            of LCD panels to those related customers were part of the cartel discussions in this
            case. In this respect, reference is made to the two general rules of the cartel set out in
            recitals 76 and 107, as summarised in recital 394. The concepts of "intra group" and
            internal clients" also covered the sales to related companies. Indeed, sales to [*] were
            covered by the cartel discussions (see footnote 323). Moreover, the price set for those
            companies was influenced by the actual market circumstances, that is the cartelised
            price level. To the extent that sales to connected companies were delivered into the
            EEA, they should therefore be taken into account in a similar manner to other direct
            sales of cartel participants into the EEA.

     397.   For the establishment of the value of the sales to connected companies, account has
            been taken of the price actually charged for such panels as reported by the
            undertakings concerned. Indeed, the contemporaneous cartel documents referring to
            the prices charged to their related customers (see footnote 374) do not indicate that
            those prices were substantially different from those charged to other customers. In



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            any event, LPL and AUO have provided no evidence that those sales were made at a
            systematically higher or lower price than sales to other customers in the EEA.

     398.   CMO's claims relating to the exclusion of the value of sales made to other addressees
            of the Statement of Objections (intra-cartel sales) have to be rejected. Those sales
            were also discussed by the cartel participants. Notably during the cartel meeting in
            January 2006 (the penultimate Crystal meeting), the minutes refer to an interim price
            of AUO and CMO to Samsung (see recital 226). In addition, and more generally, the
            infringement had a global character (as concerns the product and geographic
            dimension), with the parties generally aiming at increasing and/or maintaining the
            prices for LCD panels for TV and IT application. That price level achieved by anti-
            competitive means constituted a general background and therefore necessarily
            influenced the price setting of sales of panels to other cartelists.

     399.   CMO's arguments on the existence of two separate infringements in this case have
            been rejected (see recital 288). Accordingly, its argument on the separate calculation
            of the value of sales of LCD panels for IT and TV panels respectively, must also be
            rejected.

     400.   The argument that a sufficient nexus can only be established if both billing and
            delivery are made into the EEA should also be rejected. Being participants in a
            world-wide cartel and aiming at increasing and maintaining prices in general, the
            suppliers' knowledge on the final shipment destination or centre of interest of the
            customer has no bearing on the geographical coverage of the anti-competitive
            objective. Similarly, its implementation necessarily produced immediate and
            foreseeable effects on the world-wide market, that is in the EEA as a whole,
            irrespectively of whether the parties had any knowledge of the actual place of
            delivery or billing of the specific panels. Moreover, the approach suggested by CMO
            and Hannstar would result in a situation in which sales for which the place of
            delivery and the place of billing is not the same, would end up not being taken into
            account in any competition proceedings, thereby allowing general impunity for the
            cartelists concerned. It follows from recital 379 that by taking the delivery criterion
            for the establishment of the value of sales a strong nexus to the EEA is assured.

     401.   Similarly, the argument of CMO and Hannstar on the place of the transfer of the title
            to the LCD panels cannot be accepted. The circumstance that for certain sales of
            panels delivered into the EEA, the commercial risks passed to the customers at the
            loading port in Asia (because, e.g., the panels were sold "Free on Board") has no
            bearing on the fact that those sales had an impact on competition in the EEA.
            "Delivery" (and not transfer of title to, nor billing of the goods) is the criterion on the
            basis of which the EEA sales are identified in this case (see recital 383).

     402.   LPL's argument that the value of panels for which LPL is not in competition with
            other suppliers (being sole or quasi-exclusive supplier) should not be taken into
            account has to be rejected. The infringement had a global character both from the
            geographic and product point of view, with the parties generally aiming at increasing
            and/or maintaining the prices for LCD panels for TV and IT application. That price
            level achieved by anti-competitive means constituted a general background and
            therefore necessarily influenced the the setting of prices for non-competing panels.


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     403.     As to LPL's argument that the Commission should take into account only the sales in
              respect of which the purchaser's headquarters are located in the EEA (thereby
              excluding sales to European subsidiaries of non-EEA groups), including sales to non-
              European subsidiaries of EEA groups, it is sufficient to refer back to recital 393 in
              which it is explained that the approach applied by the Commission is consistent and
              reflects the effect on trade within the EEA appropriately.

     8.3.3.   Determination of the basic amount of the fines

     8.3.3.1. Gravity

     404.     The gravity of the infringement determines the level of the value of sales taken into
              account in setting the fine. As a general rule, the proportion of the value of sales
              taken into account will be set at a level of up to 30%. In order to decide whether the
              proportion of the value of sales should be at the lower or at the higher end of the
              scale, the Commission will have regard to a number of factors, such as the nature of
              the infringement, the combined market share of all the undertakings concerned, the
              geographic scope of the infringement and whether or not the infringement has been
              implemented.

                    (a) Nature

     405.     The addressees of this Decision participated in a single and continuous infringement
              of Article 101 of the Treaty and Article 53 of the EEA Agreement. The infringement
              consisted of an agreement whereby they agreed on horizontal price-fixing, which is,
              by its very nature, among the most harmful restrictions of competition, as this
              practice distorts competition with regard to the main parameters of competition.

     406.     According to point 23 of the Guidelines on Fines, cartels will, as a matter of policy,
              be heavily fined. The economic importance of the sector is reflected by the basic
              amount of the fine which is based on the value of sales and does not require further
              adjustment.

                    (b) Combined market share

     407.     The combined market share of the addressees of this Decision was around [65-80]%
              during the period of the infringement. According to the parties' own estimations, at
              the time of the infringement the parties also considered their joint share to be around
              70% (see recital 43).

                    (c) Geographic scope

     408.     As regards the geographic scope, the infringement covered the entire EEA. In fact,
              the geographic scope of the cartel was more than EEA wide, namely world-wide.

                    (d) Implementation

     409.     The arrangements were in general implemented and monitored at the monthly
              meetings. In instances of non-application, the parties were called upon to provide
              explanations.


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                     (e) Arguments of the parties

     410.       LPL submits that there are circumstances showing that the gravity of the
                infringement was of a lower level. First, the cartel had no European-centric context
                as it was not directly implemented in the Union, and the Commission has not
                established in the SO that the cartel had foreseeable, immediate and substantial
                effects on trade between Member States and European customers were not the main
                focus at the meetings. Second, it states that the main purpose of the meetings was to
                gather information while at the same time trying to divulge as little information as
                possible. Therefore the purpose of the meeting was its impediment at the same time.
                Third, it claims that LPL did not systematically implement prices discussed at the
                meetings, as supported by an econometric study. Fourth, it explains that the Crystal
                meetings evolved over time to a scheme of exchange of information. Fifth, it claims
                that there was no mechanism to monitor or to ensure implementation of the
                agreement.385 Sixth, while explaining that for several reasons the characteristics of
                the LCD industry militate against the effective implementation of a collusion, it
                refers to the econometric study submitted by it,386 according to which the
                infringement had no effects on prices.

     411.       CMO claims that the gravity of the infringement is to be considered low in the light
                of the special circumstances of the case, that is that as the Commission did not
                demonstrate in the SO that the cartel had an impact on transaction prices, the
                discussions on the Crystal meetings cannot be characterised as price fixing. Rather,
                the Crystal meetings related to the exchange of historical and current price
                information mostly available in public data sets (Display Search) already, and that
                the parties combined share on the TV segment was not that high as the Japanese
                producers were not participating in the multilateral meetings.387

     412.       Hannstar claims that the geographic scope cannot be regarded as world-wide, that its
                market share in the EEA is marginal and its overall size and economic power is also
                not significant, that its involvement was only limited, that it has not derived any
                gains from the infringement, that it was absent from many meetings, that it did not
                implement the agreement and that the relative gravity of its participation was low.388

     413.       With respect to the arguments made relating to the nature of the cartel and its
                implementation, the change in the functioning of the cartel as of May 2005, its effect
                on trade between Member States, and the participation at the meetings, reference is
                made to Sections 5.3.1.3, 5.3.2.3, 5.3.3.3, 5.3.4.3 and recitals 83 and 270
                respectively. An alleged marginal share in the EEA will be fully reflected in an
                equally low value of sales and should not be taken into account separately in the
                setting of the percentage of the basic amount of the fine to be imposed.

     414.       Regarding the probative value of the econometric study submitted by [*], the
                following should be pointed out. The econometric study uses regression analysis to
                investigate whether the prices charged for TFT LCD panels were higher during the
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             period in which the cartel was allegedly in place. The study implements a standard
             regression analysis technique: it specifies a model in which the price of TFT LCD is
             the dependent variable while (i) a measure of average production costs, (ii) the
             industry supply/demand balance and (iii) a period dummy which takes the value of
             1 during the cartel period are the explanatory variables. The study runs such
             regressions for various product groups and a number of different specifications. It
             concludes that "results [are] inconsistent with successful collusion in more than 97%
             of the company's sales". In particular, the study finds that, in the regressions based
             on the world-wide data set, the period dummy variable does not have a significant
             positive coefficient for 23 out of 28 groups of products. On the other hand, in the
             regressions based on the European data set, the period dummy variable does not
             have a significant positive coefficient for 20 out of 23 groups of products.
             According to the study, those results are robust to a number of sensitivity tests
             accounting for different model specifications. Assuming that only positive and
             significant coefficients for the period dummy variables are consistent with an
             effective cartel during the period of observation, the study thus should suggest that
             the cartel did not have any effect on prices on the vast majority of the groups of
             products.

     415.    The Commission has carefully analyzed the study. [*]. At the outset it should be
             noted that even if the infringement had no proven effects on prices as the study
             indicates, the Commission does not take into account when assessing the gravity of
             the infringement whether it was implemented or that the cartel had effects on prices.
             Nevertheless the Commission’s analysis also leads to the conclusion that the results
             of the study are unconvincing for reasons relating to an endogeneity bias, an omitted
             variable bias, a selection bias because of a sensitivity to groupings, a wrong
             specification selection and a change in data underlying the methodology during the
             observation period as further detailed in Annex II. [*] arguments based on the study
             should therefore be rejected.

                  (f) Conclusion on gravity

     416.    Given the specific circumstances of this case, taking into account the criteria
             discussed above relating to the nature and geographic scope of the infringement, the
             proportion of the value of sales to be taken into account should be 16% for all the
             undertakings addressed.

     8.3.3.2. Duration

     417.    The infringement started in October 2001 and lasted until 1 February 2006
             amounting to more than four years.

     418.    Rather than rounding up periods as suggested in point 24 of the Guidelines on Fines,
             the Commission will take into account the actual duration of participation in the
             infringement of the undertakings involved in this case as summarised in Section 7 on
             a rounded down monthly and pro rata basis to take fully into account the duration of
             the participation for each undertaking. Hence, if, for instance, the duration is four
             years and three months and twenty-five days, the calculation will take into account




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                 four years and three months without counting the number of days at all. This leads to
                 the following multipliers:

     Table 5: Multipliers relating to the duration of participation of each undertaking

     Undertaking                 Period of liability               Actual duration          Multiplier

       Samsung           5 October 2001 – 1 February 2006         4 years, 3 months             4.25

           LPL         5 October 2001 – 31 December 2005389       4 years, 2 months             4.16

           AUO           5 October 2001 – 1 February 2006         4 years, 3 months             4.25

           CMO           5 October 2001 – 1 February 2006         4 years, 3 months             4.25

           CPT           5 October 2001 – 1 February 2006         4 years, 3 months             4.25

      HannStar            5 October 2001 – 6 January 2006         4 years, 3 months             4.25


     8.3.4.      The percentage to be applied for the additional amount

     419.        In addition, irrespective of the duration of the undertakings' participation in the
                 infringement, the Commission includes in the basic amount of the fine to be imposed
                 a sum of between 15% and 25% of the value of sales in order to deter undertakings
                 from entering into horizontal price-fixing and market-sharing agreements.390

     420.        LPL submits that it is not necessary in this case to increase the fine for deterrence
                 purposes. It explains that there was no unlawful gain deriving from the infringement
                 as [*] supply was mostly internal, [*] Its prices were not higher, as was shown by the
                 econometric analysis it submitted, and it did not systematically implement the price
                 discussions into price setting, but maintained independent pricing policy. It adds that
                 the fine imposed in the United States, and other ongoing proceedings also provide
                 for sufficient deterrence.391

     421.        AUO claims that there is no need to increase the fine for deterrence purposes,
                 especially if the value of sales taken for the calculation of the basic amount of the
                 fine to be imposed is the turnover of financial year 2005, when Union sales were
                 higher than in all previous years combined. It also adds that other antitrust
                 proceedings and anticipated damage claims already ensure deterrence.392

     422.        HannStar claims that it is the smallest of the participating undertakings and that a
                 very significant proportion of its world-wide turnover is attributable to LCD
                 panels.393



     389
              In view of the partial immunity granted to LPL for 2006 (see recitals 464-468).
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              Point 25 of the Guidelines on Fines.
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     423.     None of the above arguments justify a deviation from the explicit Commission policy
              as stated in recital 419 of imposing a so-called "entry fee" to deter undertakings from
              even entering into a horizontal price-fixing agreement. With respect to an alleged
              lack of gain resulting from the cartel, the Commission's policy choice with respect to
              that argument is reflected in point 31 of the Guidelines on Fines, which indicates
              that a fine may be increased to ensure deterrence if the gains of the cartel would
              exceed the fine imposed. An alleged lack of gain, in contrast, does not constitute an
              element to be taken into account when setting the percentage. Fines imposed by other
              jurisdictions reflect the harm done by the cartel in those jurisdictions. The argument
              concerning the lack of systematic implementation and the econometric analysis
              supporting it should not be taken into account either as it is clear from Section
              8.4.3.2.

     424.     Given the specific circumstances of this case and taking into account the criteria
              discussed at Section 8.3.3.1 it is concluded that an additional amount of 16% of the
              average annual value of sales should be taken into account for all the undertakings
              concerned.

     8.3.5.   Calculation and conclusion on basic amounts

     425.     The basic amount of the fine to be imposed on the addressees of this Decision is to
              be calculated as follows:

     Table 6: Basic amounts per undertaking
               Total basic amount   Addressees
     1.        EUR 570 000 000      Samsung Electronics Co Ltd and Samsung Electronics Taiwan Co Ltd
     2.        EUR 430 000 000      LG Display Co., Ltd. and LG Display Taiwan Co., Ltd.
     3.        EUR 146 000 000      AU Optronics Corporation
     4.        EUR 300 000 000      Chimei InnoLux Corporation
     5.        EUR 9 500 000        Chunghwa Picture Tubes, Ltd.
     6.        EUR 8 100 000        HannStar Display Corporation


     8.4.     Adjustments to the basic amount

     8.4.1.   Aggravating circumstances

     426.     The Commission does not consider that there are aggravating circumstances in this
              case.

     8.4.2.   Mitigating circumstances

     427.     Point 29 of the Guidelines provides for the reduction of the basic amount where the
              Commission finds the existence of mitigating circumstances, such as where the
              undertaking provides evidence that the infringement has been committed as a result
              of negligence, where the undertaking provides evidence that its involvement in the
              infringement is substantially limited and demonstrates that it actually avoided
              applying it by adopting competitive conduct, where the undertaking concerned has
              effectively cooperated with the Commission outside the scope of the Leniency




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                Notice and beyond its legal obligation to do so, or where the anti-competitive
                conduct of the undertaking has bean authorized or encouraged by public authorities.

     8.4.3.    Arguments of the parties

     428.       LPL submits first, that the level of its cooperation went beyond the scope of the
                Leniency Notice by [*], exceeding the obligation placed on leniency applicants in
                other proceedings, by [*]. Second, it emphasises again that it did not systematically
                implement the agreement and on several occasions demonstrated aggressive
                competition on the market. Third, it claims that its participation in the infringement
                was more limited than that of other parties as it did not participate from the outset,
                did not collude on production limitation, hosted no meetings, attended via lower
                level employees and took measures to enforce compliance with competition law.394

     429.       AUO claims that if it has committed an infringement, it did so only unintentionally.
                Steps taken to maintain confidentiality cannot be taken as evidence to the contrary as
                those measures only served to avoid customers misunderstanding the nature of the
                meetings. Second, it submits that the Taiwanese government encouraged joint
                actions of Taiwanese suppliers to solidify and strengthen the industry. It encouraged
                joint investments in next generation panel production lines.395

     430.       CMO claims that it played only a passive role as the SO shows that it took no
                initiations or led discussions during the meetings. Second, it states that at best it was
                negligent in committing the infringement as the existence of Union jurisdiction was
                not obvious at all. Finally, it claims that it cooperated with the Commission outside
                the Leniency Notice because as the Commission did not have jurisdiction, CMO was
                by no means obliged to provide the evidence it finally submitted and which was
                referred to in the SO by the Commission. It also adds that as compared to other
                parties it was in a more disadvantageous situation when it was asked for information,
                as it first received a "catch-all" questionnaire not specifying any meetings, but
                requesting information concerning all contacts in a given period. It was therefore far
                more difficult to conduct a targeted internal investigation and make an informed
                decision about whether to apply for leniency. A precise list was only included with
                the decision requesting information so CMO clearly suffered a disadvantage vis-á-
                vis other parties.396

     431.       CPT submits that "it investigated in the infringement as soon as it received notice of
                the investigation and immediately took steps to prevent any future infringements".
                Second, it cooperated beyond its legal obligations [*], by answering requests for
                information promptly and by submitting [*]. Finally it claims that it played only a
                small role in the infringement.397




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     432.       HannStar claims that it played an exclusively passive role, often did not attend
                meetings, ended participation earlier than others and adopted competitive market
                strategy throughout the duration of the infringement.398

     8.4.3.1. Negligence

     433.       The Court of Justice and the General Court have consistently held that for an
                infringement to be regarded as having been committed intentionally it is not
                necessary for an undertaking to have been aware that it was infringing the
                competition rules in the Treaty. It is sufficient that it could not have been unaware
                that the contested conduct had as its object or effect the restriction of competition in
                the internal market, and affected or might affect trade between Member States.399
                The Commission considers that the parties could not have had reasonable doubt
                about the fact that they were participating in a world-wide price fixing cartel and that
                their behaviour went against antitrust rules (see recitals 95 and 235). Even if certain
                parties were themselves not present on the EEA market with significant sales, they
                nevertheless all had direct sales to customers in the EEA and must have been aware
                that the scope of the infringement also covered the territory of the EEA. The
                Commission also considers that the infringement was committed intentionally and as
                it appears from the facts described at Section 4, the parties took precautions to
                conceal their arrangements and to avoid their detection (see recital 302). The cartel
                arrangements thereby permeated a significant part of the industry, were conceived,
                directed and encouraged at the highest levels in each undertaking concerned and
                operated entirely to the benefit of the participating producers and to the detriment of
                their customers and ultimately the general public.

     434.       Consequently, no mitigating circumstance can be retained on the ground of negligent
                or unintentional infringement for the benefit of AUO, CMO or any other of the
                undertakings concerned.

     8.4.3.2. Non-implementation

     435.       The agreement covered the world-wide market, hence was directly implemented in
                the whole of the internal market and the EEA as well, providing for foreseeable,
                immediate and substantial effects, as required by the case law. The implementation
                on the market of the EEA does not depend on whether or not the infringement had a
                special focus on it, but on the fact that it was directly implemented within the EEA.
                It is clear that the agreement was effectively implemented, thereby affecting both
                direct purchasers and final consumers (see Section 5.2.3 and, concerning the
                econometric study, recital 415 and Annex II to the Decision).

     436.       Contrary to what is alleged by LPL, the evidence referred to at Section 4 shows that
                it was in fact applying the price agreement (see recital 88-89).

     437.       More in general, none of the addressees of this Decision have provided any
                indication that they had any desire, and undertook any action, to deliberately abstain
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              [*]
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              See Case 19/77, Miller v Commission [1978] ECR 131, paragraph 18, and Case C-279/87, Tipp-Ex v
              Commission [1990] ECR I-261.



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                from implementing the agreement they concluded during the period in which they
                adhered to it.



     8.4.3.3. Substantially limited role

     438.       It follows from point 29 of the Guidelines on Fines that simple non-implementation
                or cheating by an undertaking does not constitute a mitigating circumstance. The
                evidence must show that its involvement was substantially limited and demonstrates
                that, during the period in which it was party to the offending agreements, it actually
                avoided implementing them by adopting competitive conduct on the market. At the
                very least, the undertaking must show that it clearly and substantially breached the
                obligations relating to the implementation of the cartel to the point of disrupting its
                very operation.400 The fact that an undertaking which has been proved to have
                participated in collusion on prices with its competitors did not behave on the market
                in the manner agreed with its competitors is not necessarily a matter which must be
                taken into account as a mitigating circumstance when determining the amount of the
                fine to be imposed, and an undertaking which despite colluding with its competitors
                follows a more or less independent policy on the market may simply be trying to
                exploit the cartel for its own benefit.401 Claims on passive participation cannot be
                accepted in this case. As regards LPL's claim concerning its limited role, it can be
                established that although it did not host meetings itself, it actively participated at the
                meetings from the first meeting held on 5 October 2001 being rarely if ever absent.
                It was often represented by high level officials who were, anyway, regularly
                informed about the meetings. In the case of HannStar, it is clear form Section 4 that
                it did follow and advocated the adoption of agreed prices, (see recitals 105, 106, 138,
                141, 151 and 166) and in other instances it was rather unable than unwilling to
                follow the agreed price (see recitals 104, 147 and 182) and that it advocated price
                rises higher than proposed by larger participants (see recitals 115 and 121). Those
                claims therefore should not be accepted.

     439.       Concerning CMO, CPT and HannStar's claim that they played a passive role, it
                should be noted that while the Guidelines on the method of setting fines imposed
                pursuant to Article 15 (2) of Regulation No 17 and Article 65 (5) of the ECSC
                Treaty of 1998402 provided for a reduction of the fine where an undertaking had
                taken "an exclusively passive or 'follow-my-leader' role in the infringements", the
                Guidelines on Fines of 2006, which are applicable in this case, have removed that
                attenuating circumstance, based on the consideration that the mere fact that an
                undertaking takes a passive role should not be rewarded by a reduction in the
                applicable fine. Even if an undertaking only adopts a passive or 'follow-my-leader'
                approach, it still participates in the cartel. This means that, on the one hand, it
                derives its own commercial benefits from its participation in the cartel and, on the
                other hand, it encourages the other cartelists to participate and to implement the
                arrangements. Therefore, a passive or 'follow-my-leader' role does not constitute a

     400
              T-26/02, Daiichi v Commission [2006] ECR II-497, paragraph 113.
     401
              Case T-308/94, Cascades v Commission [1998] ECR II-925, paragraph 230.
     402
              OJ C 9, 14.1.1998, p. 3.



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                mitigating circumstance. The claims of CMO, CPT and HannStar should therefore
                be rejected.

     8.4.3.4. Effective cooperation outside the scope of the Leniency Notice

     440.       According to the Guidelines on Fines, the Commission may reduce the basic amount
                of the fine for effective cooperation outside the scope of the Leniency Notice should
                that cooperation be beyond the legal obligation of the undertaking concerned.
                Simply complying with legal requirements to disclose information can not be
                regarded as such cooperation.403 Moreover such cooperation should be effective,
                meaning that it should provide added value to the investigation, providing facts and
                explanations that lead to a better understanding of the case,404 or admissions
                facilitating the work of the Commission.405 According to the practice of the
                Commission, in cases where the Leniency Notice may find application, co-operation
                by undertakings which are party to the proceeding should, as a matter of principle,
                be assessed within the framework of the Leniency Notice406 and reduction outside
                the Leniency Notice can be awarded only under exceptional circumstances.407

     441.       The Commission has carefully analysed LPL's position under the Leniency Notice
                and for the conclusions reached in that respect see recitals 460-463. As an additional
                step, the Commission has also analysed whether any reduction of fines is applicable
                under the terms of cooperation outside the scope of the Leniency Notice and
                established that no exceptional circumstances can be identified in as far as [*] is
                concerned. Although CPT and CMO have not formally applied for leniency, the
                extent of their co-operation is assessed under the Leniency Notice (see Sections
                8.4.5.4 and 8.4.5.5). No exceptional circumstances can be identified that could lead
                to a reduction of the fines on the grounds of co-operation outside the Leniency
                Notice. The non-contestation of the facts by [*] does not constitute a mitigating
                circumstance. The reward for non-contestation of facts which was provided for in
                the 1996 Leniency Notice408 has subsequently been abandoned.

     8.4.3.5. Alleged discriminatory treatment

     442.       CMO argues that it was first targeted with a request for information that did not
                specify meetings, but only referred to a specific period. As result, it found itself
                disadvantaged in comparison to the other addressees of this Decision when it came
                to to target internal investigations and make an informed decision on an eventual
                leniency application.



     403
              Case T-213/00, Commission v CMA CGM and others [2003] ECR II-913, paragraph 303.
     404
              Judgment of 24 September 2009 in Joined Cases C-125/07 P, C-133/07 P, C-135/07 P and C-137/07 P,
              Erste Group Bank AG and others v Commission not yet reported, paragraphs 248-250
     405
              Ibidem, paragraphs 288, 289 and 290.
     406
              Commission Decision 2006/901/EC in Case COMP/C.38.281?B.2 – Raw tobacco Italy, recital 386 (OJ
              L353, 13.12.2006, p. 45).
     407
              Case COMP 39.129 Power Transformers C(2009) 7601 final, recitals 262-274; 2006/901/EC
              Commission Decision OJ 2006 L353/45, recital 386
     408
              OJ C 207, 18.7.1996, p. 4.



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     443.       As indicated in recital 57, the first request for information to CMO of
                7 December 2006 did not contain an exhaustive list of competitor contacts.
                However, CMO did receive two extensions of the deadline to reply to that
                questionnaire, based upon its own arguments that the collection and analysis of the
                documents required longer than was originally provided for. In its preliminary
                answer of 15 January 2007 it stated that it did not consider the Commission to have
                jurisdiction to request the submission of documents located outside the EEA, but
                that in the spirit of cooperation, CMO would endeavour to respond voluntarily to its
                best ability and that it might even file a formal application for leniency.
                Nevertheless, in its final answer to the questionnaire of 7 December 2006, namely
                on 5 February 2007, referring to the lack of Commission jurisdiction, CMO refused
                to submit any document. As also indicated in recital 57, on 15 February 2007 the
                Commission adopted a request for information by decision which contained 39
                references to specific meetings. CMO replied to that Decision on 2 March 2007
                providing information on 12 of these 39 meetings.

     444.       This shows that CMO had appropriate time to identify the possible target of the
                investigation of the Commission, to collect documentary evidence and to submit it to
                the Commission as promised. The lack of any substantive answer was therefore not
                due to the missing list of contacts, but the deliberate decision of CMO not to
                cooperate with the Commission. This is also upheld by the fact that, even after the
                formal decision requiring information in accordance with Article 18(3) of
                Regulation (EC) No 1/2003, and after receipt of a detailed list of competitor
                meetings, CMO submitted no leniency application. Moreover as the first leniency
                application after the sending out of the requests for information was only submitted
                on 5 March 2007 by AUO, that is three months after the beginning of the internal
                investigation of CMO, two weeks after the receipt of a detailed list of competitor
                contacts and three days after CMO had provided documentary evidence of 12
                Crystal meetings with competitors, it can be established that CMO was sufficiently
                informed and had ample time to prepare and submit its own leniency submission,
                and to be the first company to do so after the request for information. CMO is
                therefore not entitled to any reduction of the fine to be imposed on the grounds of
                alleged discrimination.

     8.4.3.6. Encouragement by public authorities

     445.       Concerning the influence of public authorities AUO does not show that the
                infringement described in Section 5 was in any way authorised or encouraged by the
                Taiwanese authorities.

     8.4.3.7. Compliance programs

     446.       Whilst the Commission welcomes measures taken by undertakings to avoid the
                recurrence of cartel infringements and to report infringements to the competent
                authorities, such measures cannot change the reality that infringements occur and
                need to be sanctioned.409 Compliance programmes and disciplinary measures cannot

     409
              See Joined Cases T-236/01, T-239/01, T-244/01 to T-246/01, T-251/01 and T-242/01, Tokai Carbon
              Co. Ltd and Others v Commission [2004] ECR II-1181, paragraph 343.



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              exempt parent companies from liability or entitle undertakings to a reduction of the
              fine, the more so in this case as the infringement concerned is a manifest breach of
              Article 101(1) of the Treaty and Article 53(1) of the EEA Agreement. The claim of
              CPT and LPL concerning measures taken to impede future infringements should
              therefore be rejected.

     8.4.3.8. Limited participation

     447.     It should be noted that [*] participated in the infringement from the beginning of
              infringing period. Its participation was as active as that of the other participants, and
              does not warrant any reduction of the fine just because the [*] were not themselves
              hosting meetings in [*]. It is also established that high level management of [*] was
              involved and participated in CEO meetings. As the nature of the agreement is, in line
              with the SO, qualified as a price fixing agreement (see recital 297), the alleged non-
              participation in an output limitation cannot be considered as a mitigating
              circumstance. Moreover and in any event, the Commission has established that the
              parties, including [*] colluded on production volumes (see for example recitals 102,
              107, 120, 149, 154, 156, 171, 187, 192 and 222).

     448.     Based on the above, it must be concluded that there are no mitigating circumstances
              applicable in this case. In the absence of aggravating and mitigating circumstances,
              the basic amounts of the fines to be imposed on each undertaking should not be
              adjusted.

     8.4.3.9. Deterrence multiplier

     449.     Point 30 of the Guidelines on fines provides that 'The Commission will pay
              particular attention to the need to ensure that fines have a sufficiently deterrent
              effect; to that end, it may increase the fine to be imposed on undertakings which
              have a particularly large turnover beyond the sales of goods or services to which the
              infringement relates'.

     450.     Taking into account that provision, a multiplier for deterrence should not be applied
              in respect of any of the undertakings except Samsung, for which the conditions of
              point 30 of the Guidelines on fines are met. The turnover of SEC exceeds EUR
              76 000 million (see recital 8) and the average annual value of sales in the relevant
              products represent less than 1% of its total turnover. In view of this, a multiplier of
              20% should be applied to the basic amount of the fine to be imposed on SEC and
              Samsung Taiwan for the purposes of deterrence.

     8.4.4.   Application of the 10% of turnover limit

     451.     Article 23(2) of Regulation (EC) No 1/2003 provides that the fine imposed on each
              undertaking is not to exceed 10% of its total turnover in the preceding business year.

     452.     The basic amounts set out in Section 8.3.5 (as increased by the deterrence multiplier)
              do not exceed 10% of total turnover for any of the undertakings concerned.
              Therefore the amounts need not be modified in the light of the undertakings'
              turnover.



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     8.4.5.   Application of the Leniency Notice

     453.     According to point 8(a) of the 2002 Commission Notice, the Commission will grant
              an undertaking immunity from any fine which would otherwise have been imposed
              if the undertaking is the first to submit evidence which in the Commission's view
              may enable it to adopt a decision to carry out an investigation.

     454.     Under points 20 and 21 of the Leniency Notice undertakings that do not meet the
              conditions for immunity may be eligible to benefit from a reduction of the fine that
              would otherwise be imposed on them if they submit evidence of significant added
              value with respect to the evidence already in the possession of the Commission.

     8.4.5.1. Samsung

     455.     On [*], Samsung submitted an application under the point 8 (a) of the Leniency
              Notice. On 23 November 2006, the Commission granted Samsung conditional
              immunity.

     456.     Samsung cooperated fully and on a continuous and expeditious basis throughout the
              procedure [*]. It remained at the disposal of the Commission to provide explanations
              and clarifications.

     457.     There are no indications that Samsung continued its involvement in the cartel after
              its first submission of evidence, in compliance with point 11 of the Leniency Notice.

     458.     No evidence shows that Samsung took any steps to coerce other undertakings to
              participate in the infringement.

     459.     Samsung should therefore be granted immunity from any fines that would otherwise
              have been imposed on it.

     8.4.5.2. LPL

     460.      On [*] LPL submitted an immunity/leniency application [*]. On 23 November 2006,
              the Commission rejected LPL's request for immunity.

     461.     [*]. It continuously cooperated         during   the   investigation   and   submitted
              contemporaneous evidence [*].[*].

     462.      There are no indications that LPL continued its involvement in the cartel after its
              first submission of evidence, in compliance with point 21 of the Leniency Notice.

     463.     LPL is therefore the first undertaking to satisfy point 21 of the Leniency Notice.
              Considering the significant value of its contribution to this case and in particular the
              quantity and quality of the evidence and explanations submitted and the early stage at
              which it provided that contribution, the fine that would otherwise have been imposed
              on LPL should be reduced by 50%.

     464.     According to the last paragraph of point 23 of the Leniency Notice, if an undertaking
              provides evidence "relating to facts previously unknown to the Commission" with a



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               direct bearing on the duration of the suspected cartel, the Commission will not take
               those elements into account when setting the fine to be imposed on the undertaking
               which provided that evidence ("partial immunity").

     465.       On [*] LPL submitted a supplementary response to the SO in which it claimed
               "partial immunity" for its participation in the cartel in [*] 2006. [*].

     466.       [*]

     467.       The claim of LPL should be partly admitted. As is clear from point 22 and 23 of the
               Leniency Notice, for the last paragraph of point 23 to be applicable, the evidence
               submitted has to be sufficient in itself to establish the existence of certain facts that
               were previously unknown to the Commission and that have a direct bearing on the
               duration of the suspected cartel.410 [*], can only be regarded as fulfilling the
               threshold of the last paragraph of point 23 of the Leniency Notice with respect to the
               beginning of 2006.

     468.       Taking this into account, LPL should be treated as if it had only participated in the
               cartel from 5 October 2001 to 31 December 2005 for the purpose of determining the
               fine to be imposed on it.

     8.4.5.3. AUO

     469.       On [*], some 3 months after having received a first request for information in these
               proceedings, AUO filed a leniency application [*]. Its corporate statement also
               contains [*]. Moreover, the evidence and the explanations provided by AUO
               reinforce [*] evidence regarding the duration of the infringement. That evidence
               strengthens the Commission's ability to prove the facts for the period from 2001 to
               2006.

     470.      On the other hand, AUO did not show a spirit of cooperation allowing the
               Commission to establish the infringement with less difficulty and its cooperation was
               not genuine in the sense that it did not cooperate sincerely, in good faith, by
               providing accurate and complete information that was not misleading.411 Through
               misinterpretation it tries to unduly minimise the content and meaning of the available
               evidence by insisting that the information exchanged during the meetings was
               unsuitable for any infringement of the kind alleged by the Commission (see recital
               259 and Section 5.3.1.3), that there was no intention to reach an agreement, referring
               to the alleged discrepancy between the English words used by non native speakers
               and their actual intentions (see recital 294 and 309), and that the only conclusion
               which can be drawn from the evidence is that the market was highly competitive and
               that that effective competition is incompatible with the finding of an agreement to fix
               prices or limit production (see recitals 91-92, 259 and 294 and Section 5.3.3.3). The
               Commission therefore considers that AUO is therefore entitled to a reduction of 20%

     410
              See also recital 208 of Commission Decision of 23 January 2008 in Case COMP 38.628 Nitrile
              Butadiene Rubber, OJ C 86, 15.4.2009, p. 7.
     411
              See for instance Case C-301/04 P, Commission v SGL Carbon AG a.o. [2006] ECR I-5915, paragraph
              66-80; and Joined Cases C-189/02 P, C-202/02 P and C-213/02 P, Dansk Rorindustri A/S a.o. v
              Commission [2005] ECR I-5425, paragraphs 395 and 399.



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               of the fine that would otherwise have been imposed on it, within the available range
               of 20-30% of the fine imposed on it.

     8.4.5.4. CPT

     471.      According to settled practice, undertakings which do not formally apply for
               reduction of the fine under the Leniency Notice may still be eligible for a reduction
               if, by the time a final decision is taken, it appears that they voluntarily supplied the
               Commission with evidence which represents significant added value as referred to in
               point 21 of the 2002 Leniency Notice. Though not formally applying for leniency,
               CPT voluntarily provided self-incriminating evidence in reply to requests for
               information, which to a certain extent went beyond the scope of the questionnaire.
               [*]. Some of those details were provided on the basis of information from CPT's staff
               and went beyond the information that is obvious from the contemporaneous
               documents submitted. [*]. Having regard to the added value of those pieces of
               evidence, CPT should be granted a reduction of 5% of the fine that would otherwise
               have been imposed on it.

     8.4.5.5. CMO

     472.      In reply to requests for information, CMO has also submitted [*]. The Commission
               already had contemporaneous evidence [*]. Whilst the submission constitutes added
               value, it is not considered to be of a significant nature. Moreover, the Commission
               also takes into account that CMO did not continue to cooperate with the Commission
               in the spirit of the Notice after the date of its submission and did not come forward
               with further evidence, either on its own initiative or in reply to requests for
               information. It also did not provide explanations or translations of the documents
               submitted. Furthermore, the documents were submitted in reply to the request for
               information sent to CMO Taiwan pursuant to Article 18(2) of Regulation (EC) No
               1/2003 and to the European subsidiaries pursuant to Article 18(3) of Regulation (EC)
               No 1/2003. This is an additional element that puts into question the voluntary nature
               of CMO's co-operation. In the light of the foregoing, no reduction should be granted
               to CMO.

     8.4.5.6. Conclusion on the Application of the Leniency Notice

     473.      The fines to be imposed on the addresses of this Decision following the application
               of the Leniency Notice should be as follows:

     Table 7: Final amount of the fines per undertaking (before inability to pay claims)
              Reduction         Fine                                    Addressees
      1.        100%           EUR 0         Samsung Electronics Co Ltd and Samsung Electronics Taiwan Co Ltd
      2.         50%       EUR 215 000 000         LG Display Co., Ltd. and LG Display Taiwan Co., Ltd.
      3.         20%       EUR 116 800 000                       AU Optronics Corporation
      4.         0%        EUR 300 000 000                      Chimei InnoLux Corporation
      5.         5%         EUR 9 025 000                      Chunghwa Picture Tubes, Ltd.
      6.         0%         EUR 8 100 000                      HannStar Display Corporation




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     8.4.6.    Inability to pay

     474.       According to point 35 of the Guidelines on fines, '…the Commission may, upon
               request, take account of the undertaking's inability to pay in a specific social and
               economic context. It will not base any reduction granted for this reason in the fine on
               the mere finding of an adverse or loss-making financial situation. A reduction could
               be granted solely on the basis of objective evidence that the imposition of the fine as
               provided for in the Decision would irretrievably jeopardise the economic viability of
               the undertaking concerned and cause its assets to lose all their value."

     475.       In exercising its discretion under point 35 of the Guidelines on fines, the
               Commission carries out an overall assessment of the undertaking's financial situation,
               with the primary focus on the undertaking's capacity to pay the fine in a specific
               social and economic context.

     476.       Two of the parties have invoked their 'inability to pay' ("ITP") under point 35 of the
               Guidelines on fines: [*] and [*]. The Commission has considered those claims and
               carefully analysed the available financial data on those undertakings. Requests for
               information have been addressed to both undertakings, asking them to submit details
               about their individual financial situation and their specific social and economic
               context.

     477.       Insofar as the undertakings argue that the expected fine would have a negative
               impact on their financial situation, without adducing credible evidence demonstrating
               their inability to pay the expected fine, there is settled case law according to which
               the Commission is not required, when determining the amount of the fine to be
               imposed, to take into account the poor financial situation of an undertaking, since
               recognition of such an obligation would be tantamount to giving unjustified
               competitive advantages to undertakings least well adapted to the conditions of the
               market.412

     478.       The assessment of the financial situation of the two undertakings should be based on
               their respective financial situation at the time the Decision is adopted and on the
               basis of the financial data and information submitted by the undertakings.

     479.       In assessing the undertakings' financial situation, the Commission considers the
               financial statements (annual reports, consisting of a balance sheet, an income
               statement, a statement of changes in equity, a cash-flow statement and notes) of the
               last (usually five) financial years, as well as their projections for 2010-2012. The
               Commission takes into account and relies upon a number of financial ratios
               measuring the solidity (in this case, the proportion which the expected fine would
               represent of the undertakings' equity and assets), their profitability, solvency and
               liquidity, all of which are commonly used when evaluating risks of bankruptcy. In
               addition, the Commission takes into account relations with outside financial partners
     412
              See Joined Cases 96/82 to 102/82, 104/82, 105/82, 108/82 and 110/82, IAZ International Belgium and
              Others v Commission [1983] ECR 3369, paragraphs 54 and 55, and Joined Cases C-189/02 P, C-202/02
              P, C-205/02 P to C-208/02 P and C-213/02 P, Dansk Rørindustri and Others v Commission [2005] ECR
              I-5425, paragraph 327 and Case C-308/04 P, SGL Carbon AG v Commission [2006] ECR I-5977,
              paragraph 105.



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              such as banks, on the basis of copies of contracts concluded with those partners in
              order to assess the undertakings' access to finance and, in particular, the scope of any
              undrawn credit facilities they may have. The Commission also includes in its
              analysis the relations with shareholders in order to assess their confidence in the
              undertakings' economic viability (shareholder relations may be illustrated by recent
              dividend payments and other outflows of cash paid to the shareholders), as well as
              the ability of those shareholders to assist the undertakings concerned financially.
              Attention is paid both to the equity and profitability of the undertakings and, above
              all, to their solvency, liquidity and cash flow. The analysis is, in other words, both
              prospective and retrospective but with a focus on the present and immediate future of
              the undertaking. The analysis is not purely static but rather dynamic, whilst taking
              into account consistency over time of the submitted projections. The analysis takes
              into account possible restructuring plans and their state of implementation.

     8.4.6.1. [*] […]

     480.     [CONFIDENTIAL] The ITP claim of [*] should therefore be rejected.

     8.4.6.2. [*] […]

     481.     [CONFIDENTIAL] The ITP claim of [*] should therefore also be rejected.

     8.5.     Conclusion: final amount of individual fines

     482.      The fines to be imposed pursuant to Article 23(2) of Regulation (EC) No 1/2003
              should therefore be as follows:

     Table 8: Final amount of the fines per undertaking (after inability to pay claims)
              Fine                   Addressees
        1.    EUR 0                  Samsung Electronics Co Ltd and Samsung Electronics Taiwan Co Ltd
        2.    EUR 215 000 000        LG Display Co., Ltd. and LG Display Taiwan Co., Ltd.
        3.    EUR 116 800 000        AU Optronics Corporation
        4.    EUR 300 000 000        Chimei InnoLux Corporation
        5.    EUR 9 025 000          Chunghwa Picture Tubes, Ltd.
        6.    EUR 8 100 000          HannStar Display Corporation




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     HAS ADOPTED THIS DECISION:

                                                   Article 1


     The following undertakings infringed Article 101 of the Treaty and Article 53 of the EEA
     Agreement by participating, during the periods indicated, in a single and continuous
     agreement and concerted practice in the sector of Liquid Crystal Display panels for TV,
     notebook and monitor application:
             (1)    Samsung Electronics Co Ltd and Samsung Electronics Taiwan Co Ltd, from
                    5 October 2001 until 1 February 2006,

             (2)    LG Display Co., Ltd. and LG Display Taiwan Co., Ltd., from 5 October 2001
                    until 1 February 2006,

             (3)    AU Optronics Corporation, from 5 October 2001 until 1 February 2006,

             (4)    Chimei InnoLux Corporation, from 5 October 2001 until 1 February 2006,

             (5)    Chunghwa Picture Tubes, Ltd., from 5 October 2001 until 1 February 2006,

             (6)    HannStar Display Corporation, from 5 October 2001 until 6 January 2006,


                                                   Article 2

     For the infringement referred to in Article 1, the following fines are imposed:

     EUR 0                           Jointly and severally on Samsung Electronics Co Ltd and
                                     Samsung Electronics Taiwan Co Ltd
     EUR 215 000 000                 Jointly and severally on LG Display Co., Ltd. and
                                     LG Display Taiwan Co., Ltd.
     EUR 116 800 000                 on AU Optronics Corporation
     EUR 300 000 000                 on Chimei InnoLux Corporation
     EUR 9 025 000                   on Chunghwa Picture Tubes, Ltd.
     EUR 8 100 000                   on HannStar Display Corporation



     The fines shall be paid in euro, within three months of the date of notification of this Decision, to
     the following account held in the name of the European Commission:

     BANQUE ET CAISSE D'EPARGNE DE L'ETAT
     1–2, Place de Metz
     L-1930 Luxembourg

     IBAN: LU02 0019 3155 9887 1000
     BIC: BCEELULL


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     After the expiry of that period, interest shall automatically be payable at the interest rate applied
     by the European Central Bank to its main refinancing operations on the first day of the month in
     which this Decision is adopted, plus 3.5 percentage points.

     Where an undertaking referred to in Article 1 lodges an appeal, that undertaking shall cover
     the fine by the due date by either providing an acceptable bank guarantee or making a
     provisional payment of the fine in accordance with Article 85a(1) of Commission Regulation
     (EC, Euratom) No 2342/2002.413


                                                   Article 3


     The undertakings listed in Article 1 shall immediately bring to an end the infringement
     referred to in that Article, insofar as they have not already done so.
     They shall refrain from repeating any act or conduct described in that Article, and from any act
     or conduct having the same or similar object or effect.

                                                   Article 4

     This Decision is addressed to:

                   • Samsung Electronics               •       38th Fl. Samsung Electronics Bldg.
                     Co Ltd                                    1320-10, Seocho 2-dong, Seocho-gu
                                                               Seoul
                                                               Korea 137-857

                   • Samsung Electronics               •       10F, No.399 Rui Guang Road
                     Taiwan Co Ltd                             Nei Hu Dist
                                                               Taipei
                                                               Taiwan, Republic of China

                   • LG Display Co., Ltd.              •       13th Fl., LG U+building
                                                               65-228, Hangangro, 3-ga, Yongsan-gu
                                                               Seoul, 140-716, Korea
                   • LG Display Taiwan                 •       9F, No. 89, Sec. 2
                     Co., Ltd.                                 Tiding Blvd.
                                                               Neihu District
                                                               Taipei City 114
                                                               Taiwan, Republic of China



     413
              OJ L 357, 31.12.2002, p. 1.



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                • AU Optronics                      •    No. l, Li-Hsin Road. 2, Hsinchu
                  Corporation                            Science Park
                                                         Hsinchu, Taiwan
                                                         Republic of China

                • Chimei InnoLux                    •    No. 160, Kesyue Road
                  Corporation                            Jhunan Science Park
                                                         Miaoli County 35053
                                                         Taiwan, Republic of China
                • Chunghwa Picture                  •    1127, Heping Road
                  Tubes, Ltd.                            Bade City
                                                         Taoyuan, Taiwan
                                                         Republic of China

                • HannStar Display                  •    4F, No. 48, Wucyuan Road
                  Corporation                            Wugu Industrial Zone
                                                         Taipei County 248
                                                         Taiwan, Republic of China


     This Decision shall be enforceable pursuant to Article 299 of the Treaty and Article 110 of the
     EEA Agreement.




     Done at Brussels, 8.12.2010

                                                                  For the Commission



                                                                  Joaquín ALMUNIA
                                                                    Vice-President




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